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 9
                              UNITED STATES DISTRICT COURT
10
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
11

12

13    SARAH ANOKE, CATHERINE BONN,
      ISABELLE CANNELL, MELANIE
14    EUSEBIO, SAMANTHA FESTEJO,                         Case No.: 3:23-cv-02217-SI
      CARLOS MOISES ORTIZ GOMEZ,
15    DAWN HOSIE, WAYNE KRUG,                            DECLARATION OF AKIVA M. COHEN
      LAURENT LUCE, PATRICK                              IN SUPPORT OF MOTION TO
16    O’CONNELL, JENNIFER RYAN, JAIME                    REMAND AND FOR FEES AND COSTS
      SENA, JAMES SHOBE, KARYN                           PURSUANT TO 28 U.S.C. § 1447(c)
17
      THOMPSON, AND CRISTIAN ZAPATA,
                                                         Hon. Susan Illston
18                                                       Date: June 16, 2023
                                  Petitioners,
                                                         Time: 10:00 AM
19
              vs.
                                                                       Ctrm: 1, 17th Floor
20
      TWITTER, INC., X HOLDINGS I, INC., X
21    HOLDINGS CORP, X CORP, AND ELON
      MUSK,
22
                                  Respondents.
23

24
            I, Akiva M. Cohen, declare as follows:
25
            1.      I am a partner at Kamerman, Uncyk, Soniker & Klein, P.C., counsel of record for
26
     Petitioners in their respective arbitrations against Twitter. I am licensed to practice in the state of
27
     New York. I submit this declaration in support of Petitioners’ Motion to Remand in the above-
28
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            MOTION TO REMAND AND FOR FEES AND COSTS – DECLARATION OF AKIVA M. COHEN
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 1 captioned case. I have personal knowledge of the facts set forth in this declaration and, if necessary,

 2 I could and would competently testify to those facts.

 3          2.      I currently represent over a hundred former Twitter employees who are pursuing

 4 arbitration or litigation against Respondents due to Twitter’s failures to pay promised compensation.

 5 We have commenced arbitrations on behalf of many of these former employees before JAMS. I

 6 have also made it a habit to monitor public filings in related court cases.

 7          3.      Many of my clients did not opt out of the Dispute Resolution Agreements (“DRAs”)

 8 that Twitter drafted and required them to execute as a condition of employment, and are therefore

 9 pursuing their claims in arbitration. Respondents, in turn, have attempted to delay the progress of
10 the arbitration as much as possible.

11          4.      For example, where employees have filed court actions, Twitter has rapidly located
12 copies of those employees’ DRAs and moved to compel their cases to arbitration. And, in doing so,

13 it has represented to the Court that it maintains an employment file for each of its former employees

14 in which Twitter maintains a copy of the employee’s DRA.

15          5.      Despite that, for former employees who did not personally maintain a copy of their
16 DRA, Respondents have objected to arbitration even where Twitter did execute an arbitration

17 agreement, insisting that arbitration should not proceed until the employee can obtain a copy of

18 their DRA from Twitter. Attached as Exhibit 1 is a copy of correspondence with JAMS in which

19 Twitter raised this argument in connection with the claim of Dina Lynch Eisenberg, a client of mine

20 who was eventually able to locate her DRA. Because Twitter could – by its own representations to

21 this Court – easily have checked its own files to confirm the existence of the DRA, and the only

22 practical outcome of the objection would have been the delay imposed by requiring Ms. Eisenberg

23 (and others in her situation) to ask Twitter for copies of the DRAs from those very files, it is clear

24 that Respondents filed that objection (and they has done so in multiple arbitrations) for no purpose

25 other than delay.

26          6.      This is not the only delaying tactic Respondents have employed. Although JAMS
27 issues invoices that are due upon receipt, as required by Cal. Code Civ. Proc. § 1281.97(a)(2),

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            MOTION TO REMAND AND FOR FEES AND COSTS – DECLARATION OF AKIVA M. COHEN
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 1 Respondents have not paid any invoice in an arbitration I am involved until at least several weeks

 2 after they received it.

 3          7.      This delays the arbitration, because under JAMS’ rules, JAMS will not proceed with

 4 arbitration while fees are unpaid. In this manner, Twitter has added months to the course of

 5 arbitration for some former employees. For example, Ms. Eisenberg’s arbitration, Twitter delayed

 6 payment of the initial case management fees for almost 30 full days, and then, when a fee deposit

 7 invoice was issued after the parties agreed on the arbitrator, waited another roughly 30 days to pay

 8 that invoice. The result is that an arbitration filed on February 1, 2023 is only now able to truly

 9 commence, more than three months later. Petitioners’ proceedings, filed in late February, are still
10 awaiting arbitrator selection because Respondents delayed paying the initial filing fee until early

11 May, roughly 60 days after the claims were initially filed.

12          8.      This pattern of delay is no accident. Twitter similarly delayed paying its share of the
13 arbitration fees for claims filed by Shannon Liss-Riordan, another attorney representing former

14 Twitter employees with similar claims, preventing those arbitrations from proceeding during the

15 delay. When Ms. Liss-Riordan noted that the invoices were due on receipt and that Twitter was

16 violating the rules of its own chosen arbitral forum by refusing to make timely payment, Twitter’s

17 counsel responded by declaring that Twitter had a statutory right to delay its payment for up to 30

18 days:

19          Although JAMS states that the invoice is “due immediately”, the deadline for
            payment is actually thirty (30) days from issuance . . . You may wish to impose your
20          own unilateral “deadlines” for payment, but Twitter will comply with the actual
            statutory deadlines.
21

22 A true and correct copy of this email, which I obtained from the PACER system as Dkt. No. 36 in

23 Rodriguez v. Twitter, N.D. Cal. Case No. 3:22-cv-07222-JD, is attached as Exhibit 2.

24          9.      The only “statutory deadline” Respondents’ counsel could be referring to here was

25 the 30-day grace period of Section 1281.97 of the California Code of Civil Procedure; no other

26 statute of which Petitioners are aware, or that Respondents have identified, provides any such

27 “deadline.” To be clear, nothing in Section 1281.97 entitles Respondents to delay payment of fees;

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 1 that section merely provides that California courts will not sanction Respondents with the particular

 2 sanctions imposed by that law unless the delay is greater than 30 days.

 3          10.     All of that said, Respondents have never contested the validity of Petitioners’

 4 arbitration agreements. To the contrary, Respondents have appeared in Petitioners’ arbitrations,

 5 answered their arbitration demands, participated in an administrative conference discussing how

 6 JAMS would administer the proceedings, and now, finally, paid the case initiation fees.

 7          11.     Attached hereto as Exhibit 3 is the Declaration of Fidelma Callaghan in Cornet v.

 8 Twitter, Inc., N.D. Cal. Case No. 3:22-cv-06857-JD, Dkt. No. 18-1.

 9          12.     Attached hereto as Exhibit 4 is the Notice of Removal in Serv. Emp. Int’l Union,
10 Loc. 1021 v. Priv. Indus. Council of Solano Cnty, Inc,. E.D. Cal. Case No. 2:13-cv-01670-WBS-

11 EFB, Dkt. No. 2.

12          13.     Attached hereto as Exhibit 5 is the First Amended Complaint in Serv. Emp. Int’l
13 Union, Loc. 1021 v. Priv. Indus. Council of Solano Cnty, Inc,. E.D. Cal. Case No. 2:13-cv-01670-

14 WBS-EFB, Dkt. No. 12.

15          I declare under penalty of perjury under the laws of the State of California and the United
16 States that the foregoing is true and correct.

17          Executed this 12th day of May 2023 in Oceanside, NY.
18

19

20

21                                       ______________________________________
                                                       Akiva M. Cohen
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            MOTION TO REMAND AND FOR FEES AND COSTS – DECLARATION OF AKIVA M. COHEN
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EXHIBIT 1
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                    11   Attorneys for Respondent
                         TWITTER, INC.
                    12

                    13
                                                       IN ARBITRATION BEFORE JAMS
                    14

                    15   Eisenberg, Dina vs. Twitter, Inc.               JAMS Ref. No. 1345002152
                    16                                                   RESPONDENT TWITTER, INC.’S
                                                                         RESPONSE TO CLAIMANT DINA
                    17                                                   EISENBERG’S DEMAND FOR
                                                                         ARBITRATION
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                     1            Respondent Twitter, Inc. (“Respondent” or “Twitter”), by and through its undersigned

                     2   counsel, hereby timely responds to the Demand for Arbitration submitted by Claimant Dina

                     3   Eisenberg (“Claimant”) as follows:

                     4                                           GENERAL DENIAL

                     5            Pursuant to Rule 9 of the JAMS Employment Arbitration Rules & Procedures and Section

                     6   431.30(d) of the California Code of Civil Procedure, Twitter timely denies, generally and

                     7   specifically, each and every allegation in Claimant’s unverified Demand for Arbitration. Twitter

                     8   further denies that Claimant has been damaged in any sum or sums, or at all, or that Claimant has

                     9   suffered, incurred or will suffer or incur any injury, damage or loss by reason of any act, omission
                    10   to act, or any conduct, whether negligent, intentional, or otherwise, on the part of Twitter.

                    11                                                DEFENSES

                    12            Twitter has not completed its investigation of the facts of this case, has not completed

                    13   discovery, and has not completed its preparation for arbitration. Twitter asserts the following

                    14   defenses based on its current knowledge, information, and belief at this time, and without waiver

                    15   of any applicable attorney-client privileges and/or work product doctrine protections. Twitter

                    16   reserves the right to modify, amend, and/or supplement any defense at a later time. Without

                    17   conceding that Twitter bears the burden of proof or persuasion as to any one of them, Twitter

                    18   asserts the following separate defenses to Claimant’s Demand for Arbitration:

                    19                                   FIRST AFFIRMATIVE DEFENSE
                    20                                        (Failure to State a Claim)

                    21            1.     Claimant’s Demand fails to state a cause of action upon which relief can be

                    22   granted.

                    23                                 SECOND AFFIRMATIVE DEFENSE

                    24                                         (Statute of Limitations)

                    25            2.     Claimant’s claims are barred in whole or in part by all applicable statutes of

                    26   limitations, including, but not limited to California Code of Civil Procedure §§ 335.1, 337, 338,

                    27   339, and 343, and California Labor Code § 203, Government Code §§ 12960 and 12965, and the

                    28   statutes of limitation applicable under New York law, North Carolina law, and any other
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                     1   jurisdictions in which Claimant purports to reside and/or apply.

                     2                                   THIRD AFFIRMATIVE DEFENSE

                     3                                               (De Minimis)

                     4            3.     Claimant’s claims are barred, in whole or in part, by the de minimis doctrine.

                     5                                FOURTH AFFIRMATIVE DEFENSE

                     6                                        (Substantial Compliance)

                     7            4.     The claimed violations as to Claimant are barred, in whole or in part, because

                     8   Twitter complied with its statutory obligations, if any, and to the extent it is determined that there

                     9   was non-compliance, Twitter substantially complied with its obligations.
                    10                                   FIFTH AFFIRMATIVE DEFENSE

                    11                                   (Collateral Estoppel / Res Judicata)

                    12            5.     Claimant’s claims may be barred, in whole or in part, by the doctrine of collateral

                    13   estoppel and/or res judicata.

                    14                                   SIXTH AFFIRMATIVE DEFENSE

                    15                                            (One Satisfaction)

                    16            6.     Claimant cannot properly recover damages under multiple or different theories or

                    17   causes of action for the same or similar alleged acts/conduct/omissions.

                    18                                SEVENTH AFFIRMATIVE DEFENSE

                    19                                                 (Release)
                    20            7.     Claimant cannot maintain the claims against Twitter because and to the extent the

                    21   claims that are the subject of this matter have been settled and/or released.

                    22                                   EIGHTH AFFIRMATIVE DEFENSE

                    23                                           (Statute of Frauds)

                    24            8.     Claimant’s claims are barred by the statute of frauds, including the provisions

                    25   contained in California Civil Code § 1624 and in the applicable laws of any other jurisdictions in

                    26   which Claimant purports to reside and/or apply.

                    27                                   NINTH AFFIRMATIVE DEFENSE

                    28                                     (Lack/Failure of Consideration)
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                     1            9.       Any recovery by Claimant is barred on the ground that, as to each and every oral,

                     2   implied or other contract alleged, there was a failure of consideration and/or lack of mutual

                     3   consent.

                     4                                   TENTH AFFIRMATIVE DEFENSE

                     5                                              (Excessive Fines)

                     6            10.      To the extent Claimant seeks to recover civil penalties that are disproportionate to

                     7   the actual harm suffered, if any, an award of civil penalties under the circumstances of this case

                     8   would constitute an excessive fine and otherwise would be in violation of Twitter’s due process

                     9   and other rights under the United States and California and New York and North Carolina
                    10   Constitutions and statutes.

                    11                                 ELEVENTH AFFIRMATIVE DEFENSE

                    12                                 (Unforeseeable Business Circumstances)

                    13            11.      Twitter’s conduct did not violate the WARN Act because any layoffs were caused

                    14   by business circumstances that were not reasonably foreseeable as of the time that any notice

                    15   would have been required.

                    16                                 TWELFTH AFFIRMATIVE DEFENSE

                    17                                            (Privileged Conduct)

                    18            12.      Twitter is not responsible for Claimant’s alleged harm and damages, if any,

                    19   because Twitter’s conduct was permissible and privileged.
                    20                               THIRTEENTH AFFIRMATIVE DEFENSE

                    21                 (Failure to Exhaust Statutory/Administrative/Contractual Requirements)

                    22            13.      Claimant’s claims are barred, in whole or in part, to the extent Claimant failed to

                    23   satisfy the statutory prerequisites to suit, and/or failed to timely and/or properly exhaust

                    24   administrative and/or contractual remedies including with the appropriate administrative agencies

                    25   of the State of California, the State of New York, the State of North Carolina, and of the United

                    26   States, as required by the California Fair Employment and Housing Act, the New York Human

                    27   Rights Act, the North Carolina Equal Employment Practices Act, Title VII of the Civil Rights

                    28   Act, and the California Labor Code, as well as all other applicable statutes and/or regulations.
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                     1                             FOURTEENTH AFFIRMATIVE DEFENSE

                     2                          (Arbitral – Judicial Comity – Stay of Proceedings)

                     3            14.    Claimant’s claims should be stayed, in whole or in part, because of the existence

                     4   of previously filed and pending class action lawsuits in which Claimant is a member of the

                     5   alleged putative class(es) and the claims alleged (and/or defenses asserted) with respect to the

                     6   putative class(es) are the same as or substantially overlap with the claims alleged by Claimant,

                     7   and “[i]t is black letter law that, when a federal action has been filed covering the same subject

                     8   matter as is involved in a California action, the California court [or arbitral body] has the

                     9   discretion […] to stay the state court action.” Caiafa Prof. L. Corp. v. State Farm Fire & Cas.
                    10   Co., 15 Cal. App. 4th 800, 804 (1993). A court or arbitral body “should consider a number of

                    11   factors, including . . . the importance of avoiding unseemly conflicts with the federal court.”

                    12   Benitez v. Williams, 219 Cal. App. 4th 270, 276-77 (2013) (citing Farmland Irr. Co. v.

                    13   Dopplmaier, 48 Cal. 2d 208, 215 (1957)). Factors include “the importance of discouraging

                    14   multiple litigation . . . .” Farmland Irr. Co., 48 Cal. 2d at 215. A stay is appropriate where

                    15   similarity with pending federal litigation creates a risk of inconsistent rulings. See, e.g., Caiafa

                    16   Prof. L. Corp., 15 Cal. App. 4th at 803, 806-807.

                    17                               FIFTEENTH AFFIRMATIVE DEFENSE

                    18                               (Legitimate, Non-Discriminatory Reasons)

                    19            15.    Any and all employment actions taken with respect to Claimant were not based on
                    20   any protected characteristic/trait(s), including but not limited to age, race, gender, ethnicity,

                    21   ancestry, national origin, disability, involvement in any protected activity, or any other improper

                    22   or illegal consideration, but rather were based solely on one or more legitimate, non-

                    23   discriminatory and non-retaliatory reasons.

                    24                               SIXTEENTH AFFIRMATIVE DEFENSE

                    25                                       (After-Acquired Evidence)

                    26            16.    To the extent that Twitter acquires any evidence of wrongdoing by Claimant

                    27   during the course of this arbitration, which wrongdoing would have materially affected the terms

                    28   and conditions of Claimant’s employment or would have resulted in Claimant either being
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                     1   demoted, disciplined, or terminated, such after-acquired evidence shall bar and/or limit the

                     2   amount of damages Claimant can recover on these claims, assuming arguendo, Claimant is able

                     3   to establish liability.

                     4                             SEVENTEENTH AFFIRMATIVE DEFENSE

                     5                                    (Mixed-Motives/Same Decision)

                     6            17.    To the extent that discrimination and/or retaliation were a motivating factor in the

                     7   employment decisions affecting Claimant’s employment, which Twitter denies, Twitter alleges

                     8   that legitimate reasons, standing alone, would have induced Twitter to make the same

                     9   employment decisions.
                    10                              EIGHTEENTH AFFIRMATIVE DEFENSE

                    11                                            (At-Will Employee)

                    12            18.    Twitter alleges that Claimant was an at-will employee of Twitter pursuant to

                    13   Section 2922 of the California Labor Code and/or any other applicable state statutes and/or case

                    14   law, including New York and North Carolina laws.

                    15                              NINETEENTH AFFIRMATIVE DEFENSE

                    16                             (Good Faith Defense to Violation of WARN Act)

                    17            19.    Twitter’s conduct did not violate the WARN Act because Twitter had an honest

                    18   intention to ascertain and follow the requirements of the WARN Act, and Twitter had reasonable

                    19   grounds for believing that its conduct fully complied with the statute, and Twitter acted in good
                    20   faith at all times.

                    21                               TWENTIETH AFFIRMATIVE DEFENSE

                    22                                        (Accord and Satisfaction)

                    23            20.    The claimed violations as to Claimant are barred, in whole or in part, by the

                    24   principles of accord and satisfaction.

                    25

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                     1                            TWENTY-FIRST AFFIRMATIVE DEFENSE

                     2                            (Failure to Mitigate / Avoidable Consequences)

                     3            21.    Claimant’s claims are barred, in whole or in part, because Claimant has not

                     4   appropriately or adequately mitigated their alleged harm/damages, if any. Further, the sought-

                     5   after damages/harm and penalties, if any, as to Claimant must be reduced because Claimant failed

                     6   to take advantage of any preventative or corrective safeguards or otherwise to avoid harm.

                     7                          TWENTY-SECOND AFFIRMATIVE DEFENSE

                     8                                         (No Malice/Good Faith)

                     9            22.    At all times and places mentioned in the Demand, Twitter acted without malice
                    10   and with a good faith belief in the propriety of its conduct.

                    11                           TWENTY-THIRD AFFIRMATIVE DEFENSE

                    12                                            (Unclean Hands)

                    13            23.    The claims of Claimant are barred, in whole or in part, by the doctrine of unclean

                    14   hands.

                    15                          TWENTY-FOURTH AFFIRMATIVE DEFENSE

                    16                                     (Waiver and Estoppel/Laches)

                    17            24.    Claimant’s claims are barred in whole or in part by the doctrines of waiver,

                    18   estoppel (including equitable estoppel), and/or laches.

                    19                            TWENTY-FIFTH AFFIRMATIVE DEFENSE
                    20                                        (Setoff and Recoupment)

                    21            25.    If any damages and/or penalties are recovered by Claimant, although entitlement

                    22   to such is expressly denied, Twitter is entitled under the equitable doctrine of setoff and

                    23   recoupment to offset all overpayments and/or all other obligations of Claimant owed to Twitter

                    24   against any damages and/or penalties that may be awarded against Twitter.

                    25                            TWENTY-SIXTH AFFIRMATIVE DEFENSE

                    26                   (Unjust, Arbitrary, and Oppressive, or Confiscatory Penalties)

                    27            26.    Claimant is not entitled to recover any statutory penalties against Twitter. If

                    28   penalties are awarded, such penalties should be reduced because, under the circumstances of this
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                     1   case, any such recovery would be unjust, arbitrary, oppressive, and/or confiscatory.

                     2                            TWENTY-SEVENTH AFFIRMATIVE DEFENSE

                     3                                      (Outside of Scope of Authority)

                     4             27.     Twitter alleges that any unlawful or other wrongful acts of any person(s) employed

                     5   by Twitter were outside of the scope of their authority and such acts, if any, were not authorized,

                     6   ratified, or condoned by Twitter, nor did Twitter know or have reason to be aware of such alleged

                     7   conduct.

                     8                            TWENTY-EIGHTH AFFIRMATIVE DEFENSE

                     9                   (No Willful Violation – Bona Fide and Good Faith Belief and Dispute)
                    10            28.      If Twitter is found to have failed to pay Claimant any wages due, which

                    11   allegations Twitter expressly denies, then Twitter acted, at all relevant times, on the basis of an

                    12   objectively and subjectively bona fide good faith and reasonable belief that it had complied fully

                    13   with wage-related laws. Consequently, Twitter’s conduct was not willful within the meaning of

                    14   any applicable statutes, including but not limited to the California Labor Code and the North

                    15   Carolina Wage and Hour Act and New York laws, and Twitter cannot be held liable for purported

                    16   liquidated damages or any extended limitations period or penalties pursuant to any applicable

                    17   statutes, including but not limited to California Labor Code Section 203 and North Carolina

                    18   General Statute Section 95-25.22 and New York law, based upon this bona fide and good faith

                    19   dispute that any wages are due to Claimant.
                    20                             TWENTY-NINTH AFFIRMATIVE DEFENSE

                    21                                           (Good Faith Reliance)

                    22            29.      Claimant’s claims are barred to the extent Twitter acted in good faith reliance on

                    23   an administrative regulation, order, ruling and/or interpretation of a state or federal government

                    24   agency, including but not limited to the United States Department of Labor, the North Carolina

                    25   Department of Labor, all New York administrative agencies, and the California Industrial

                    26   Welfare Commission and/or Division of Labor Standards Enforcement.

                    27                                THIRTIETH AFFIRMATIVE DEFENSE

                    28                                             (Lack of Standing)
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                     1            30.    Claimant lacks standing as to some or all of the claims alleged.

                     2                            THIRTY-FIRST AFFIRMATIVE DEFENSE

                     3                                     (Contract Formation at Issue)

                     4            31.    Any recovery by Claimant is barred on the ground that, as to each and every oral,

                     5   implied or other contract alleged, there are defects in the formation of the alleged contract at

                     6   issue, and in fact, no enforceable contract was formed between Twitter and Claimant.

                     7                           THIRTY-SECOND AFFIRMATIVE DEFENSE

                     8                                              (Ratification)

                     9            32.    Claimant’s claims are barred pursuant to California Civil Code section 2310 and
                    10   the doctrine of ratification under the laws of any other jurisdictions in which Claimant purports to

                    11   reside and/or apply.

                    12                            THIRTY-THIRD AFFIRMATIVE DEFENSE

                    13                                          (Unjust Enrichment)

                    14            33.    Claimant’s claims are barred pursuant to the doctrine of unjust enrichment.

                    15                           THIRTY-FOURTH AFFIRMATIVE DEFENSE

                    16                                           (Quantum Meruit)

                    17            34.    Claimant’s claims are barred pursuant to the doctrine of quantum meruit.

                    18                            THIRTY-FIFTH AFFIRMATIVE DEFENSE

                    19                                         (Parol Evidence Rule)
                    20            35.    Claimant’s breach of contract-based and promissory estoppel claims are barred

                    21   pursuant to the parol evidence rule, which “generally prohibits the introduction of any extrinsic

                    22   evidence, whether oral or written, to vary, alter or add to the terms of an integrated written

                    23   instrument.” Casa Herrera, Inc. v. Beydoun, 32 Cal. 4th 336, 343 (2004).

                    24                            THIRTY-SIXTH AFFIRMATIVE DEFENSE

                    25                                (Comparative Fault and/or Negligence)

                    26            36.    Without admitting that Claimant suffered any damages and/or is entitled to any

                    27   recovery, Twitter alleges that any recovery to which Claimant might be entitled must be reduced

                    28   by reason of Claimant’s own fault and/or comparative and/or contributory negligence.
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 BOCKIUS LLP
 ATTORNEYS AT LAW                                                        -9-
  SAN FRANCISCO
                         DB2/ 45142750                RESPONSE TO DEMAND FOR ARBITRATION
                          Case 3:23-cv-02217-SI Document 24-1 Filed 05/12/23 Page 15 of 134



                     1                            THIRTY-SEVENTH AFFIRMATIVE DEFENSE

                     2                   (Contributory Negligence and/or Comparative Fault of Third Parties)

                     3             37.     Without admitting that Claimant suffered any damages and/or is entitled to any

                     4   recovery, Twitter alleges that any recovery to which Claimant might be entitled must be reduced

                     5   by reason of the fault and/or negligence of third parties.

                     6                             THIRTY-EIGHTH AFFIRMATIVE DEFENSE

                     7                                                  (Illegality)

                     8             38.     Claimant’s breach of contract-based and promissory estoppel claims are barred

                     9   pursuant to the doctrine of illegality.
                    10                              THIRTY-NINTH AFFIRMATIVE DEFENSE

                    11                                   (Recission or Mutual Abandonment)

                    12             39.     Claimant’s breach of contract-based and promissory estoppel claims are barred

                    13   pursuant to the doctrine of recission or mutual abandonment.

                    14                                       RESERVATION OF RIGHTS

                    15   Twitter reserves the right to assert such additional defenses that may appear and prove applicable

                    16   during the course of this arbitration.

                    17                                            PRAYER FOR RELIEF

                    18             WHEREFORE, Twitter prays for judgment as follows:

                    19             1.      Claimant take nothing by reason of the Demand for Arbitration;
                    20             2.      An arbitration award be entered in favor of Twitter and against Claimant on all

                    21   claims for relief;

                    22             3.      Twitter be awarded its costs of suit and attorneys’ fees according to proof; and

                    23             4.      Twitter be awarded such other and further relief as the Arbitrator deems just and

                    24   proper.

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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                          - 10 -
  SAN FRANCISCO
                         DB2/ 45142750                  RESPONSE TO DEMAND FOR ARBITRATION
                          Case 3:23-cv-02217-SI Document 24-1 Filed 05/12/23 Page 16 of 134



                     1   Dated: February 16, 2023                     MORGAN, LEWIS & BOCKIUS LLP

                     2

                     3                                                By    /s/ Eric Meckley
                                                                           Eric Meckley
                     4                                                     Brian D. Berry
                                                                           Ashlee N. Cherry
                     5                                                     Kassia Stephenson
                                                                           Attorneys for Respondent
                     6                                                     TWITTER, INC.
                     7

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MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW                                                 - 11 -
  SAN FRANCISCO
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     Case
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                    Fax:    +1.415.442.1001

                    Attorneys for
                    Attorneys for Defendant
                                  Defendant
                7
                    TWITTER,    INC.
                    TWITTER, INC.

                8
                8
                                                  UNITED STATES
                                                  UNITED        DISTRICT COURT
                                                         STATES DISTRICT COURT
                9
                9
                                               NORTHERN DISTRICT
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                                                                 OF CALIFORNIA
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                                                         SAN FRANCISCO DIVISION
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                1   EMMANUEL       CORNET, JUSTINE
                    EMMANUEL CORNET,          JUSTINE DE DE            Case No.
                                                                       Case No. 3:22-cv-06857-JD
                                                                                3:22-cv-06857-JD
                    CAIRES, GRAE
                    CAIRES,  GRAE KINDEL,
                                     KINDEL, ALEXIS
                                                 ALEXIS
                1   CAMACHO, AND
                    CAMACHO,      AND JESSICA
                                       JESSICA PAN,PAN, on
                                                         on behalf
                                                             behalf    DECLARATION OF
                                                                       DECLARATION  OF FIDELMA
                                                                                       FIDELMA
                    of themselves
                    of themselves and
                                  and all
                                      all others
                                          others similarly
                                                 similarly situated,
                                                           situated,   CALLAGHAN
                                                                       CALLAGHAN IN
                                                                                  IN SUPPORT  OF
                                                                                     SUPPORT OF
                1                                                      DEFENDANT TWITTER,
                                                                       DEFENDANT TWITTER, INC.’S
                                                                                            INC.'S
                                           Plaintiffs,
                                           Plaintiffs,                 MOTION TO
                                                                       MOTION    COMPEL INDIVIDUAL
                                                                              TO COMPEL   INDIVIDUAL
                                                                       ARBITRATION AND
                                                                       ARBITRATION AND DISMISS
                                                                                        DISMISS CLASS
                                                                                                 CLASS
                2                  vs.
                                   VS.                                 CLAIMS
                                                                       CLAIMS

                1   TWITTER, INC.,
                    TWITTER, INC.,

                                           Defendant.
                                           Defendant.
                3
                3

                1

                4

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                5
                5
                                                                                     DECLARATION OF
                                                                                     DECLARATION  OF FIDELMA
                                                                                                     FIDELMA
MORGAN, LEWIS
MORGAN, LEWIS &                                                               CALLAGHAN IN
                                                                              CALLAGHAN IN SUPPORT OF MOTION
                                                                                           SUPPORT OF MOTION
  BOCKIUS LLP
  BOCKLUS LLP   1
 ATTORNEYS AT LAW
 ATTORNEYS    LAW
                                                                                TO COMPEL ARBITRATION
                                                                                TO COMPEL ARBITRATION 3:22-cv-
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   SAN FRANCISCO
       FRANCISCO
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                1
                                            DECLARATION OF
                                            DECLARATION OF FIDELMA
                                                           FIDELMA CALLAGHAN
                                                                   CALLAGHAN

                2          I, Fidelma Callaghan,
                           I, Fidelma Callaghan, do hereby state
                                                 do hereby state and
                                                                 and declare as follows:
                                                                     declare as follows:

                3          1.
                           1.      II have
                                      have worked
                                           worked at
                                                  at Twitter
                                                     Twitter for almost two
                                                             for almost two years.
                                                                            years. Currently,
                                                                                   Currently, II hold
                                                                                                 hold the
                                                                                                      the title
                                                                                                          title of
                                                                                                                of

                4   Director of
                    Director of Global
                                Global People
                                       People Services.
                                              Services. II have
                                                           have held
                                                                held this
                                                                     this position
                                                                          position since
                                                                                   since March
                                                                                         March 2021.
                                                                                               2021. Prior
                                                                                                     Prior to
                                                                                                           to that,
                                                                                                              that, II

                    worked for
                    worked for another
                               another company
                                       company in
                                               in aa similar
                                                     similar capacity.
                                                             capacity.
                5
                5
                           2.
                           2.      As part
                                   As part of
                                           of my
                                              my job
                                                 job duties,
                                                     duties, II have
                                                                have personal
                                                                     personal knowledge
                                                                              knowledge of
                                                                                        of Twitter's
                                                                                           Twitter’s current
                                                                                                     current processes
                                                                                                             processes
                6
                6
                    and practices,
                    and practices, and
                                   and its historical processes
                                       its historical processes and
                                                                and practices
                                                                    practices dating back at
                                                                              dating back at least
                                                                                             least to
                                                                                                   to September 2017,
                                                                                                      September 2017,
                7
                7
                    for onboarding new
                    for onboarding new employees,
                                       employees, including how Twitter
                                                  including how         presents applicants
                                                                Twitter presents applicants for
                                                                                            for U.S.
                                                                                                U.S. positions
                                                                                                     positions with
                                                                                                               with

                8
                8   an offer
                    an offer letter
                             letter and
                                    and aa Dispute
                                           Dispute Resolution
                                                   Resolution Agreement,
                                                              Agreement, the
                                                                         the process
                                                                             process for
                                                                                     for applicants
                                                                                         applicants to
                                                                                                    to review,
                                                                                                       review, sign,
                                                                                                               sign, and
                                                                                                                     and

                9
                9   submit documentation
                    submit documentation relating to their
                                         relating to their prospective
                                                           prospective employment,
                                                                       employment, and
                                                                                   and Twitter’s
                                                                                       Twitter's record-keeping
                                                                                                 record-keeping

                1   systems related
                    systems related to
                                    to the
                                       the applicant's
                                           applicant’s execution
                                                       execution of
                                                                 of the
                                                                    the offer
                                                                        offer letter
                                                                              letter and
                                                                                     and Dispute
                                                                                         Dispute Resolution
                                                                                                 Resolution Agreement
                                                                                                            Agreement

                    and submission
                    and submission of
                                   of aa request,
                                         request, if any, to
                                                  if any, to opt
                                                             opt out
                                                                 out of
                                                                     of the
                                                                        the Agreement,
                                                                            Agreement, all
                                                                                       all of
                                                                                           of which
                                                                                              which Twitter
                                                                                                    Twitter maintains
                                                                                                            maintains in
                                                                                                                      in
                0
                0
                    the ordinary
                    the ordinary course
                                 course of
                                        of business.
                                           business. My
                                                     My knowledge
                                                        knowledge of
                                                                  of Twitter's
                                                                     Twitter’s practices
                                                                               practices is
                                                                                         is based
                                                                                            based on
                                                                                                  on information
                                                                                                     information II
                1
                    have learned
                    have         in the
                         learned in the course
                                        course of
                                               of my
                                                  my work,
                                                     work, including through my
                                                           including through my review
                                                                                review of
                                                                                       of Twitter
                                                                                          Twitter documents
                                                                                                  documents and
                                                                                                            and
                1
                    my understanding
                    my understanding of
                                     of its
                                        its systems.
                                            systems. If
                                                     If called
                                                        called to
                                                               to testify
                                                                  testify regarding
                                                                          regarding the
                                                                                    the facts
                                                                                        facts set
                                                                                              set forth in this
                                                                                                  forth in this

                1   declaration, II could
                    declaration,    could and
                                          and would
                                              would testify
                                                    testify competently
                                                            competently thereto.
                                                                        thereto.

                2          3.
                           3.      Since at least
                                   Since at least September 2017, when
                                                  September 2017, when Twitter offers aa job
                                                                       Twitter offers    job to
                                                                                             to an
                                                                                                an applicant
                                                                                                   applicant for
                                                                                                             for aa

                1   position in
                    position in the
                                the United
                                    United States,
                                           States, aa member
                                                      member of
                                                             of Twitter’s Global People
                                                                Twitter's Global People Services team prepares
                                                                                        Services team prepares an
                                                                                                               an

                    offer packet
                    offer packet in
                                 in Twitter's
                                    Twitter’s internal
                                              internal OWL
                                                       OWL system,
                                                           system, which
                                                                   which is
                                                                         is Twitter's
                                                                            Twitter’s system
                                                                                      system for
                                                                                             for generating
                                                                                                 generating
                3
                    onboarding documents
                    onboarding documents for
                                         for new
                                             new employees,
                                                 employees, including an offer
                                                            including an offer letter
                                                                               letter and
                                                                                      and onboarding
                                                                                          onboarding packet.
                                                                                                     packet.
                1
                    When the
                    When the offer
                             offer is
                                   is accepted,
                                      accepted, the
                                                the new
                                                    new hire
                                                        hire record—which
                                                             record—which includes
                                                                          includes the
                                                                                   the offer
                                                                                       offer letter
                                                                                             letter and
                                                                                                    and onboarding
                                                                                                        onboarding
                4
                    packet—is then
                    packet—is then transferred
                                   transferred to
                                               to aa different
                                                     different system
                                                               system called
                                                                      called Workday
                                                                             Workday where
                                                                                     where an
                                                                                           an employee
                                                                                              employee file
                                                                                                       file is
                                                                                                            is

                1   created. The
                    created.     offer packet
                             The offer packet includes the applicant's
                                              includes the applicant’s offer
                                                                       offer letter and aa Dispute
                                                                             letter and    Dispute Resolution
                                                                                                   Resolution

                5
                                                                                           DECLARATION OF
                                                                                           DECLARATION  OF FIDELMA
                                                                                                           FIDELMA
                                                                                    CALLAGHAN IN
                                                                                    CALLAGHAN IN SUPPORT OF MOTION
                                                                                                 SUPPORT OF MOTION
MORGAN, LEWIS
MORGAN,
  Boaaus
        LEWIS &
  BOCKIUS LLP
            LLP 1                                                     22              TO COMPEL ARBITRATION
                                                                                      TO COMPEL ARBITRATION 3:22-cv-
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 ATTORNEYS AT LAW
 ATTORNEYS    LAW
   SAN FRANCISCO
       FRANCISCO
   SAN
                                                                                                            06857-JD
                                                                                                            06857-JD

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                     Case
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                1
                    Agreement, among
                    Agreement, among other
                                     other things.
                                           things. Twitter
                                                   Twitter sends
                                                           sends the
                                                                 the applicant's
                                                                     applicant’s offer
                                                                                 offer packet
                                                                                       packet to
                                                                                              to the
                                                                                                 the applicant
                                                                                                     applicant using
                                                                                                               using

                2   the email
                    the email address
                              address that
                                      that the
                                           the applicant
                                               applicant provided
                                                         provided during
                                                                  during the
                                                                         the application
                                                                             application process,
                                                                                         process, or
                                                                                                  or the
                                                                                                     the employee's
                                                                                                         employee’s

                3   @twitter.com email address
                    @twitter.com email address if the offer
                                               if the offer packet
                                                            packet was
                                                                   was generated
                                                                       generated during the conversion
                                                                                 during the conversion from
                                                                                                       from an
                                                                                                            an

                4   independent contractor
                    independent contractor position
                                           position to
                                                    to aa position
                                                          position as
                                                                   as aa full-time
                                                                         full-time employee.
                                                                                   employee.

                           4.
                           4.      An applicant's
                                   An applicant’s offer
                                                  offer letter explains the
                                                        letter explains the steps
                                                                            steps the
                                                                                  the applicant
                                                                                      applicant needs
                                                                                                needs to
                                                                                                      to take
                                                                                                         take to
                                                                                                              to accept
                                                                                                                 accept
                5
                5
                    the offer,
                    the offer, which
                               which includes
                                     includes signing
                                              signing the
                                                      the offer
                                                          offer letter
                                                                letter and
                                                                       and the
                                                                           the other
                                                                               other documents
                                                                                     documents in
                                                                                               in the
                                                                                                  the offer
                                                                                                      offer packet,
                                                                                                            packet,
                6
                6
                    including the
                    including the Dispute
                                  Dispute Resolution
                                          Resolution Agreement,
                                                     Agreement, and
                                                                and returning
                                                                    returning them
                                                                              them to
                                                                                   to Twitter by aa specific
                                                                                      Twitter by    specific date
                                                                                                             date on
                                                                                                                  on
                7
                7
                    which the
                    which the offer
                              offer expires.
                                    expires.

                8
                8          5.
                           5.      Based on
                                   Based on my
                                            my experience
                                               experience and
                                                          and job
                                                              job responsibilities at Twitter,
                                                                  responsibilities at Twitter, II am
                                                                                                  am familiar
                                                                                                     familiar with
                                                                                                              with how
                                                                                                                   how

                9
                9   applicants use
                    applicants use the
                                   the secure
                                       secure electronic
                                              electronic signature
                                                         signature system
                                                                   system to
                                                                          to electronically sign documents
                                                                             electronically sign documents in
                                                                                                           in the
                                                                                                              the offer
                                                                                                                  offer

                1   packet. By
                    packet. By clicking
                               clicking on
                                        on aa link
                                              link in
                                                   in an
                                                      an email
                                                         email that
                                                               that the
                                                                    the applicant
                                                                        applicant receives,
                                                                                  receives, the
                                                                                            the internet-based
                                                                                                internet-based Adobe
                                                                                                               Adobe

                    Sign program launches
                    Sign program          and prompts
                                 launches and prompts the
                                                      the applicant
                                                          applicant to
                                                                    to sign
                                                                       sign the
                                                                            the document,
                                                                                document, allowing
                                                                                          allowing the
                                                                                                   the applicant
                                                                                                       applicant the
                                                                                                                 the
                0
                0
                    choice of
                    choice of typing,
                              typing, drawing,
                                      drawing, or
                                               or taking
                                                  taking aa picture
                                                            picture of
                                                                    of their
                                                                       their signature.
                                                                             signature. The
                                                                                        The Adobe
                                                                                            Adobe Sign program then
                                                                                                  Sign program then
                1
                    presents the
                    presents the applicant
                                 applicant with
                                           with the
                                                the complete offer packet
                                                    complete offer packet in
                                                                          in PDF
                                                                             PDF format and allows
                                                                                 format and allows the
                                                                                                   the applicant
                                                                                                       applicant to
                                                                                                                 to
                1
                    scroll up
                    scroll up and
                              and down to review
                                  down to        the materials
                                          review the materials on
                                                               on aa computer screen. The
                                                                     computer screen. The program
                                                                                          program identifies
                                                                                                  identifies the
                                                                                                             the

                1   parts of
                    parts of the
                             the documents
                                 documents that
                                           that require
                                                require an
                                                        an applicant's
                                                           applicant’s signature
                                                                       signature or
                                                                                 or initials, and it
                                                                                    initials, and    allows the
                                                                                                  it allows the applicant
                                                                                                                applicant

                2   to apply
                    to apply their
                             their electronic
                                   electronic signature
                                              signature or
                                                        or initials
                                                           initials by
                                                                    by clicking on prompts
                                                                       clicking on prompts that
                                                                                           that say
                                                                                                say "Click
                                                                                                    “Click to
                                                                                                           to Sign Here”
                                                                                                              Sign Here"

                1   in the
                    in the parts
                           parts of
                                 of the
                                    the documents
                                        documents with
                                                  with blanks
                                                       blanks indicating
                                                              indicating that
                                                                         that aa signature
                                                                                 signature or
                                                                                           or initials
                                                                                              initials are
                                                                                                       are required.
                                                                                                           required.

                    When the
                    When the applicant
                             applicant has
                                       has completed
                                           completed reviewing
                                                     reviewing and
                                                               and signing
                                                                   signing the
                                                                           the documents, the applicant
                                                                               documents, the applicant is
                                                                                                        is
                3
                    prompted to
                    prompted to click
                                click aa button,
                                         button, and
                                                 and then
                                                     then aa message
                                                             message pops
                                                                     pops up
                                                                          up that
                                                                             that says
                                                                                  says "you're
                                                                                       “you’re all
                                                                                               all set.
                                                                                                   set. You
                                                                                                        You finished
                                                                                                            finished
                1
                    signing [document
                    signing [document title]
                                      title] document.
                                             document. We
                                                       We will
                                                          will email the agreement
                                                               email the agreement to
                                                                                   to all
                                                                                      all parties.
                                                                                          parties. You
                                                                                                   You can
                                                                                                       can also
                                                                                                           also
                4
                    download aa copy
                    download    copy of
                                     of what
                                        what you
                                             you just
                                                 just signed."
                                                      signed.” The screen also
                                                               The screen also provides
                                                                               provides aa hyperlink
                                                                                           hyperlink to
                                                                                                     to the
                                                                                                        the document
                                                                                                            document

                1   for the employee
                    for the employee to
                                     to download.
                                        download.

                5
                                                                                           DECLARATION OF
                                                                                           DECLARATION  OF FIDELMA
                                                                                                           FIDELMA
                                                                                    CALLAGHAN IN
                                                                                    CALLAGHAN IN SUPPORT OF MOTION
                                                                                                 SUPPORT OF MOTION
MORGAN, LEWIS
MORGAN,
  Boaaus
        LEWIS &
  BOCKIUS LLP
            LLP 1                                                      3
                                                                       3              TO COMPEL ARBITRATION
                                                                                      TO COMPEL ARBITRATION 3:22-cv-
                                                                                                             3:22-CV-
 ATTORNEYS AT LAW
 ATTORNEYS    LAW
   SAN FRANCISCO
       FRANCISCO
   SAN
                                                                                                            06857-JD
                                                                                                            06857-JD

                6
                     Case
                      Case3:23-cv-02217-SI
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                1
                           6.
                           6.      Based on
                                   Based on my
                                            my experience
                                               experience and
                                                          and job
                                                              job responsibilities at Twitter,
                                                                  responsibilities at Twitter, II am
                                                                                                  am familiar
                                                                                                     familiar with
                                                                                                              with how
                                                                                                                   how

                2   Twitter receives and
                    Twitter receives and maintains
                                         maintains executed
                                                   executed offer
                                                            offer packets
                                                                  packets from applicants. After
                                                                          from applicants. After the
                                                                                                 the applicant
                                                                                                     applicant

                3   submits the
                    submits the executed
                                executed documents through Adobe
                                         documents through Adobe Sign, an automatic
                                                                 Sign, an automatic email notification is
                                                                                    email notification    sent to
                                                                                                       is sent to

                4   People Services
                    People          and the
                           Services and the recruiter. Also, the
                                            recruiter. Also, the signed
                                                                 signed letter
                                                                        letter is
                                                                               is automatically
                                                                                  automatically uploaded
                                                                                                uploaded into
                                                                                                         into Twitter’s
                                                                                                              Twitter's

                    OWL system.
                    OWL system. The Adobe Sign
                                The Adobe      system also
                                          Sign system also sends
                                                           sends aa copy
                                                                    copy of
                                                                         of the
                                                                            the signed
                                                                                signed offer
                                                                                       offer packet
                                                                                             packet to
                                                                                                    to the
                                                                                                       the
                5
                5
                    applicant’s email
                    applicant's       address. The
                                email address.     system has
                                               The system has aa "hire
                                                                 “hire sync"
                                                                       sync” feature
                                                                             feature that
                                                                                     that refreshes
                                                                                          refreshes every
                                                                                                    every thirty-
                                                                                                          thirty-
                6
                6
                    minutes and
                    minutes and uploads
                                uploads any
                                        any new
                                            new electronic
                                                electronic signatures
                                                           signatures into
                                                                      into OWL
                                                                           OWL and
                                                                               and identifies
                                                                                   identifies people
                                                                                              people who
                                                                                                     who have
                                                                                                         have
                7
                7
                    accepted the
                    accepted the offer
                                 offer and
                                       and are
                                           are ready
                                               ready to
                                                     to onboard.
                                                        onboard. The
                                                                 The feature also triggers
                                                                     feature also triggers automatic
                                                                                           automatic creation
                                                                                                     creation of
                                                                                                              of new
                                                                                                                 new

                8
                8   Workday profiles
                    Workday profiles as
                                     as well.
                                        well.

                9
                9          7.
                           7.      Each of the
                                   Each of the five Plaintiffs in
                                               five Plaintiffs in this
                                                                  this lawsuit electronically signed
                                                                       lawsuit electronically signed their
                                                                                                     their offer
                                                                                                           offer packet
                                                                                                                 packet

                1   documents, including
                    documents,           their offer
                               including their offer letter
                                                     letter and
                                                            and aa Dispute
                                                                   Dispute Resolution
                                                                           Resolution Agreement
                                                                                      Agreement as
                                                                                                as follows:
                                                                                                   follows:

                                a. Grae
                                a. Grae Kindel.
                                        Kindel. II have reviewed the
                                                   have reviewed the personnel
                                                                     personnel records
                                                                               records for Plaintiff Grae
                                                                                       for Plaintiff Grae Kindel,
                                                                                                          Kindel,
                0
                0
                    which contains
                    which contains aa signed
                                      signed offer
                                             offer letter and aa Dispute
                                                   letter and    Dispute Resolution
                                                                         Resolution Agreement
                                                                                    Agreement bearing
                                                                                              bearing Kindel's
                                                                                                      Kindel’s
                1
                    signature and
                    signature and dated
                                  dated September 14, 2017.
                                        September 14, 2017. Attached
                                                            Attached hereto
                                                                     hereto as
                                                                            as Exhibit A is
                                                                               Exhibit A is aa true
                                                                                               true and
                                                                                                    and correct
                                                                                                        correct copy
                                                                                                                copy
                1
                    of Kindel's
                    of Kindel’s signed
                                signed offer
                                       offer letter
                                             letter and
                                                    and Dispute
                                                        Dispute Resolution
                                                                Resolution Agreement,
                                                                           Agreement, which
                                                                                      which are
                                                                                            are maintained
                                                                                                maintained in their
                                                                                                           in their

                1   personnel records
                    personnel         in the
                              records in the ordinary
                                             ordinary course
                                                      course of
                                                             of business.
                                                                business. II have
                                                                             have also
                                                                                  also reviewed
                                                                                       reviewed the
                                                                                                the OWL
                                                                                                    OWL entries
                                                                                                        entries

                2   relating to
                    relating to Kindel's
                                Kindel’s offer
                                         offer packet
                                               packet and
                                                      and the
                                                          the audit
                                                              audit trail
                                                                    trail recorded
                                                                          recorded to
                                                                                   to Adobe
                                                                                      Adobe Sign when Kindel
                                                                                            Sign when Kindel

                1   completed the
                    completed the offer
                                  offer packet.
                                        packet. Based
                                                Based on
                                                      on my
                                                         my review
                                                            review of
                                                                   of those
                                                                      those materials,
                                                                            materials, on
                                                                                       on September 14, 2017,
                                                                                          September 14, 2017,

                    Twitter sent the
                    Twitter sent the offer
                                     offer packet
                                           packet to
                                                  to Kindel.
                                                     Kindel. Kindel's
                                                             Kindel’s offer
                                                                      offer packet
                                                                            packet included
                                                                                   included aa Dispute
                                                                                               Dispute Resolution
                                                                                                       Resolution
                3
                    Agreement. On
                    Agreement. On September 14, 2017,
                                  September 14, 2017, Kindel
                                                      Kindel signed
                                                             signed the
                                                                    the documents enclosed in
                                                                        documents enclosed in the
                                                                                              the offer
                                                                                                  offer packet,
                                                                                                        packet,
                1
                    including the
                    including the Dispute
                                  Dispute Resolution
                                          Resolution Agreement,
                                                     Agreement, via
                                                                via Adobe
                                                                    Adobe Sign. A PDF
                                                                          Sign. A PDF copy of the
                                                                                      copy of the signed
                                                                                                  signed offer
                                                                                                         offer
                4
                    packet, which
                    packet, which included
                                  included aa signed
                                              signed copy of the
                                                     copy of the Dispute
                                                                 Dispute Resolution
                                                                         Resolution Agreement,
                                                                                    Agreement, was
                                                                                               was sent
                                                                                                   sent to
                                                                                                        to Kindel's
                                                                                                           Kindel’s

                1   personal email
                    personal       address.
                             email address.

                5
                                                                                          DECLARATION OF
                                                                                          DECLARATION  OF FIDELMA
                                                                                                          FIDELMA
                                                                                   CALLAGHAN IN
                                                                                   CALLAGHAN IN SUPPORT OF MOTION
                                                                                                SUPPORT OF MOTION
MORGAN, LEWIS
MORGAN,
  Boaaus
        LEWIS &
  BOCKIUS LLP
            LLP 1                                                     4
                                                                      4              TO COMPEL ARBITRATION
                                                                                     TO COMPEL ARBITRATION 3:22-cv-
                                                                                                            3:22-CV-
 ATTORNEYS AT LAW
 ATTORNEYS    LAW
   SAN FRANCISCO
       FRANCISCO
   SAN
                                                                                                           06857-JD
                                                                                                           06857-JD

                6
                     Case
                      Case3:23-cv-02217-SI
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                1
                               b. Alexis
                               b. Alexis Camacho.
                                         Camacho. II have
                                                     have reviewed
                                                          reviewed the
                                                                   the personnel
                                                                       personnel records for Plaintiff
                                                                                 records for Plaintiff Alexis
                                                                                                       Alexis

                2   Camacho, which
                    Camacho, which contains
                                   contains an
                                            an offer
                                               offer letter and aa Dispute
                                                     letter and    Dispute Resolution
                                                                           Resolution Agreement
                                                                                      Agreement bearing
                                                                                                bearing Camacho's
                                                                                                        Camacho’s

                3   signature and
                    signature and dated
                                  dated June 12, 2018.
                                        June 12, 2018. Attached
                                                       Attached hereto
                                                                hereto as
                                                                       as Exhibit
                                                                          Exhibit B
                                                                                  B is
                                                                                    is aa true
                                                                                          true and
                                                                                               and correct
                                                                                                   correct copy
                                                                                                           copy of
                                                                                                                of

                4   Camacho’s signed
                    Camacho's signed offer
                                     offer letter and Dispute
                                           letter and Dispute Resolution
                                                              Resolution Agreement,
                                                                         Agreement, which
                                                                                    which are
                                                                                          are maintained
                                                                                              maintained in
                                                                                                         in their
                                                                                                            their

                    personnel file
                    personnel file in the ordinary
                                   in the ordinary course of business.
                                                   course of business. II have
                                                                          have also
                                                                               also reviewed the OWL
                                                                                    reviewed the OWL entries relating
                                                                                                     entries relating
                5
                5
                    to Camacho's
                    to Camacho’s offer
                                 offer packet
                                       packet and
                                              and the
                                                  the audit
                                                      audit trail
                                                            trail recorded
                                                                  recorded to
                                                                           to Adobe
                                                                              Adobe Sign when Camacho
                                                                                    Sign when Camacho completed
                                                                                                      completed
                6
                6
                    the offer
                    the offer packet.
                              packet. Based
                                      Based on
                                            on my
                                               my review
                                                  review of
                                                         of those
                                                            those materials,
                                                                  materials, on
                                                                             on June 11, 2018,
                                                                                June 11, 2018, Twitter sent the
                                                                                               Twitter sent the offer
                                                                                                                offer
                7
                7
                    packet to
                    packet to Camacho.
                              Camacho. Camacho's
                                       Camacho’s offer
                                                 offer packet
                                                       packet included
                                                              included aa Dispute
                                                                          Dispute Resolution
                                                                                  Resolution Agreement.
                                                                                             Agreement. On
                                                                                                        On June
                                                                                                           June

                8
                8   12, 2018,
                    12, 2018, Camacho
                              Camacho signed
                                      signed the
                                             the documents
                                                 documents enclosed
                                                           enclosed in the offer
                                                                    in the offer packet,
                                                                                 packet, including
                                                                                         including the
                                                                                                   the offer
                                                                                                       offer letter
                                                                                                             letter

                9
                9   and Dispute
                    and Dispute Resolution
                                Resolution Agreement,
                                           Agreement, via
                                                      via Adobe
                                                          Adobe Sign. A PDF
                                                                Sign. A PDF copy
                                                                            copy of
                                                                                 of the
                                                                                    the signed
                                                                                        signed offer
                                                                                               offer packet,
                                                                                                     packet,

                1   which included
                    which included aa signed
                                      signed copy
                                             copy of
                                                  of the
                                                     the Dispute
                                                         Dispute Resolution
                                                                 Resolution Agreement,
                                                                            Agreement, was
                                                                                       was sent
                                                                                           sent to
                                                                                                to Camacho's
                                                                                                   Camacho’s

                    personal email
                    personal       address.
                             email address.
                0
                0
                               c. Justine
                               c. Justine De
                                          De Caires.
                                             Caires. II have
                                                        have reviewed
                                                             reviewed the
                                                                      the personnel
                                                                          personnel records
                                                                                    records for
                                                                                            for Plaintiff
                                                                                                Plaintiff Justine de
                                                                                                          Justine de
                1
                    Caires, which
                    Caires, which contains
                                  contains an
                                           an offer
                                              offer letter and aa Dispute
                                                    letter and    Dispute Resolution
                                                                          Resolution Agreement
                                                                                     Agreement bearing
                                                                                               bearing De
                                                                                                       De Caires
                                                                                                          Caires
                1
                    signature and
                    signature and dated
                                  dated October
                                        October 7, 2018. Attached
                                                7, 2018. Attached hereto
                                                                  hereto as
                                                                         as Exhibit
                                                                            Exhibit C is aa true
                                                                                    C is    true and
                                                                                                 and correct
                                                                                                     correct copy
                                                                                                             copy of
                                                                                                                  of

                1   De Caires'
                    De Caires’ signed
                               signed offer
                                      offer letter
                                            letter and
                                                   and Dispute
                                                       Dispute Resolution
                                                               Resolution Agreement,
                                                                          Agreement, which
                                                                                     which are
                                                                                           are maintained
                                                                                               maintained in their
                                                                                                          in their

                2   personnel records
                    personnel         in the
                              records in the ordinary
                                             ordinary course
                                                      course of
                                                             of business.
                                                                business. II have
                                                                             have also
                                                                                  also reviewed
                                                                                       reviewed the
                                                                                                the OWL
                                                                                                    OWL entries
                                                                                                        entries

                1   relating to
                    relating to De
                                De Caires'
                                   Caires’ offer
                                           offer packet
                                                 packet and
                                                        and the
                                                            the audit
                                                                audit trail
                                                                      trail recorded
                                                                            recorded to
                                                                                     to Adobe
                                                                                        Adobe Sign when De
                                                                                              Sign when De Caires
                                                                                                           Caires

                    completed the
                    completed the offer
                                  offer packet.
                                        packet. Based
                                                Based on
                                                      on my
                                                         my review
                                                            review of
                                                                   of those
                                                                      those materials,
                                                                            materials, on
                                                                                       on October
                                                                                          October 4,
                                                                                                  4, 2018,
                                                                                                     2018, Twitter
                                                                                                           Twitter
                3
                    sent the
                    sent the offer
                             offer packet
                                   packet to
                                          to De
                                             De Caires.
                                                Caires. De
                                                        De Caires'
                                                           Caires’ offer
                                                                   offer packet
                                                                         packet included
                                                                                included aa Dispute
                                                                                            Dispute Resolution
                                                                                                    Resolution
                1
                    Agreement. On
                    Agreement. On October
                                  October 7, 2018, De
                                          7, 2018, De Caires
                                                      Caires signed
                                                             signed the
                                                                    the documents
                                                                        documents enclosed in the
                                                                                  enclosed in the offer
                                                                                                  offer packet,
                                                                                                        packet,
                4
                    including the
                    including the Dispute
                                  Dispute Resolution
                                          Resolution Agreement,
                                                     Agreement, via
                                                                via Adobe
                                                                    Adobe Sign. A PDF
                                                                          Sign. A PDF copy of the
                                                                                      copy of the signed
                                                                                                  signed offer
                                                                                                         offer

                1   packet, which
                    packet, which included
                                  included aa signed
                                              signed copy of the
                                                     copy of the Dispute
                                                                 Dispute Resolution
                                                                         Resolution Agreement,
                                                                                    Agreement, was
                                                                                               was sent
                                                                                                   sent to
                                                                                                        to De
                                                                                                           De

                5
                                                                                        DECLARATION OF
                                                                                        DECLARATION  OF FIDELMA
                                                                                                        FIDELMA
                                                                                 CALLAGHAN IN
                                                                                 CALLAGHAN IN SUPPORT OF MOTION
                                                                                              SUPPORT OF MOTION
MORGAN, LEWIS
MORGAN,
  Boaaus
        LEWIS &
  BOCKIUS LLP
            LLP 1                                                    55            TO COMPEL ARBITRATION
                                                                                   TO COMPEL ARBITRATION 3:22-cv-
                                                                                                          3:22-CV-
 ATTORNEYS AT LAW
 ATTORNEYS    LAW
   SAN FRANCISCO
       FRANCISCO
   SAN
                                                                                                         06857-JD
                                                                                                         06857-JD

                6
                     Case
                      Case3:23-cv-02217-SI
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                1
                    Caires’ personal
                    Caires' personal email address.
                                     email address.

                2              d. Jessica
                               d. Jessica Pan.
                                          Pan. II have
                                                  have reviewed
                                                       reviewed the
                                                                the personnel
                                                                    personnel records
                                                                              records for Plaintiff Jessica
                                                                                      for Plaintiff         Pan,
                                                                                                    Jessica Pan,

                3   which contains
                    which contains an
                                   an offer
                                      offer letter and aa Dispute
                                            letter and    Dispute Resolution
                                                                  Resolution Agreement
                                                                             Agreement bearing
                                                                                       bearing Pan's
                                                                                               Pan’s signature
                                                                                                     signature and
                                                                                                               and

                4   dated November
                    dated November 18,
                                   18, 2019.
                                       2019. Attached
                                             Attached hereto as Exhibit
                                                      hereto as         D is
                                                                Exhibit D is aa true
                                                                                true and
                                                                                     and correct
                                                                                         correct copy of Pan's
                                                                                                 copy of Pan’s

                    signed offer
                    signed offer letter
                                 letter and
                                        and Dispute
                                            Dispute Resolution
                                                    Resolution Agreement,
                                                               Agreement, which
                                                                          which are
                                                                                are maintained
                                                                                    maintained in
                                                                                               in their
                                                                                                  their personnel
                                                                                                        personnel
                5
                5
                    records in
                    records in the
                               the ordinary
                                   ordinary course
                                            course of
                                                   of business.
                                                      business. II have
                                                                   have also
                                                                        also reviewed the OWL
                                                                             reviewed the OWL entries
                                                                                              entries relating
                                                                                                      relating to
                                                                                                               to
                6
                6
                    Pan’s offer
                    Pan's offer packet
                                packet and
                                       and the
                                           the audit
                                               audit trail
                                                     trail recorded
                                                           recorded to
                                                                    to Adobe
                                                                       Adobe Sign when Pan
                                                                             Sign when Pan completed
                                                                                           completed the
                                                                                                     the offer
                                                                                                         offer
                7
                7
                    packet. Based
                    packet. Based on
                                  on my
                                     my review
                                        review of
                                               of those
                                                  those materials,
                                                        materials, on
                                                                   on November
                                                                      November 18,
                                                                               18, 2019,
                                                                                   2019, Twitter
                                                                                         Twitter sent
                                                                                                 sent the
                                                                                                      the offer
                                                                                                          offer

                8
                8   packet to
                    packet to Pan.
                              Pan. Pan's
                                   Pan’s offer
                                         offer packet
                                               packet included
                                                      included aa Dispute
                                                                  Dispute Resolution
                                                                          Resolution Agreement.
                                                                                     Agreement. On
                                                                                                On November
                                                                                                   November 18,
                                                                                                            18,

                9
                9   2019, Pan
                    2019, Pan signed
                              signed the
                                     the documents
                                         documents enclosed
                                                   enclosed in the offer
                                                            in the offer packet,
                                                                         packet, including the Dispute
                                                                                 including the Dispute Resolution
                                                                                                       Resolution

                1   Agreement, via
                    Agreement, via Adobe
                                   Adobe Sign. A PDF
                                         Sign. A PDF copy
                                                     copy of
                                                          of the
                                                             the signed
                                                                 signed offer
                                                                        offer packet,
                                                                              packet, which
                                                                                      which included
                                                                                            included aa signed
                                                                                                        signed

                    copy of
                    copy of the
                            the Dispute
                                Dispute Resolution
                                        Resolution Agreement,
                                                   Agreement, was
                                                              was sent
                                                                  sent to
                                                                       to Pan's
                                                                          Pan’s personal
                                                                                personal email address.
                                                                                         email address.
                0
                0
                               e. Emmanuel
                               e.          Cornet. II have
                                  Emmanuel Cornet.    have reviewed
                                                           reviewed the
                                                                    the personnel
                                                                        personnel records
                                                                                  records for Plaintiff
                                                                                          for Plaintiff
                1
                    Emmanuel Cornet, which
                    Emmanuel Cornet, which contains
                                           contains an
                                                    an offer
                                                       offer letter
                                                             letter and
                                                                    and aa Dispute
                                                                           Dispute Resolution
                                                                                   Resolution Agreement
                                                                                              Agreement bearing
                                                                                                        bearing
                1
                    Cornet’s signature
                    Cornet's signature and
                                       and dated
                                           dated April
                                                 April 23,
                                                       23, 2021.
                                                           2021. Attached
                                                                 Attached hereto as Exhibit
                                                                          hereto as         E is
                                                                                    Exhibit E is aa true
                                                                                                    true and
                                                                                                         and correct
                                                                                                             correct

                1   copy of
                    copy of Cornet's
                            Cornet’s signed
                                     signed offer
                                            offer letter and Dispute
                                                  letter and Dispute Resolution
                                                                     Resolution Agreement,
                                                                                Agreement, which
                                                                                           which are
                                                                                                 are maintained
                                                                                                     maintained in
                                                                                                                in

                2   his personnel
                    his personnel records
                                  records in
                                          in the
                                             the ordinary
                                                 ordinary course
                                                          course of
                                                                 of business.
                                                                    business. II have
                                                                                 have also
                                                                                      also reviewed the OWL
                                                                                           reviewed the OWL entries
                                                                                                            entries

                1   relating to
                    relating to Cornet's
                                Cornet’s offer
                                         offer packet
                                               packet and
                                                      and the
                                                          the audit
                                                              audit trail
                                                                    trail recorded
                                                                          recorded to
                                                                                   to Adobe
                                                                                      Adobe Sign when Cornet
                                                                                            Sign when Cornet

                    completed the
                    completed the offer
                                  offer packet.
                                        packet. Based
                                                Based on
                                                      on my
                                                         my review
                                                            review of
                                                                   of those
                                                                      those materials,
                                                                            materials, on
                                                                                       on April
                                                                                          April 23,
                                                                                                23, 2021,
                                                                                                    2021, Twitter
                                                                                                          Twitter
                3
                    sent the
                    sent the offer
                             offer packet
                                   packet to
                                          to Cornet.
                                             Cornet. Cornet's
                                                     Cornet’s offer
                                                              offer packet
                                                                    packet included
                                                                           included aa Dispute
                                                                                       Dispute Resolution
                                                                                               Resolution Agreement.
                                                                                                          Agreement.
                1
                    On April
                    On April 23,
                             23, 2021,
                                 2021, Cornet
                                       Cornet signed
                                              signed the
                                                     the documents enclosed in
                                                         documents enclosed in the
                                                                               the offer
                                                                                   offer packet,
                                                                                         packet, including the
                                                                                                 including the
                4
                    Dispute Resolution
                    Dispute Resolution Agreement,
                                       Agreement, via
                                                  via Adobe
                                                      Adobe Sign. A PDF
                                                            Sign. A PDF copy
                                                                        copy of
                                                                             of the
                                                                                the signed
                                                                                    signed offer
                                                                                           offer packet,
                                                                                                 packet, which
                                                                                                         which

                1   included aa signed
                    included    signed copy
                                       copy of
                                            of the
                                               the Dispute
                                                   Dispute Resolution
                                                           Resolution Agreement,
                                                                      Agreement, was
                                                                                 was sent
                                                                                     sent to
                                                                                          to Cornet's
                                                                                             Cornet’s personal
                                                                                                      personal email
                                                                                                               email

                5
                                                                                        DECLARATION OF
                                                                                        DECLARATION  OF FIDELMA
                                                                                                        FIDELMA
                                                                                 CALLAGHAN IN
                                                                                 CALLAGHAN IN SUPPORT OF MOTION
                                                                                              SUPPORT OF MOTION
MORGAN, LEWIS
MORGAN,
  Boaaus
        LEWIS &
  BOCKIUS LLP
            LLP 1                                                   66             TO COMPEL ARBITRATION
                                                                                   TO COMPEL ARBITRATION 3:22-cv-
                                                                                                          3:22-CV-
 ATTORNEYS AT LAW
 ATTORNEYS    LAW
   SAN FRANCISCO
       FRANCISCO
   SAN
                                                                                                         06857-JD
                                                                                                         06857-JD

                6
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                1
                    address.
                    address.

                2          8.
                           8.      Based on
                                   Based on my
                                            my experience
                                               experience and
                                                          and job
                                                              job responsibilities at Twitter,
                                                                  responsibilities at Twitter, II know
                                                                                                  know that
                                                                                                       that if an
                                                                                                            if an

                3   employee submits
                    employee submits aa Dispute
                                        Dispute Resolution
                                                Resolution Agreement
                                                           Agreement Opt
                                                                     Opt Out
                                                                         Out Form,
                                                                             Form, it
                                                                                   it would
                                                                                      would be
                                                                                            be retained
                                                                                               retained in
                                                                                                        in that
                                                                                                           that

                4   employee’s personnel
                    employee's personnel records
                                         records in the ordinary
                                                 in the ordinary course
                                                                 course of
                                                                        of business.
                                                                           business. II have
                                                                                        have reviewed
                                                                                             reviewed each
                                                                                                      each of
                                                                                                           of the
                                                                                                              the

                    Plaintiffs’ personnel
                    Plaintiffs' personnel files
                                          files and
                                                and confirmed that none
                                                    confirmed that none of
                                                                        of the
                                                                           the Plaintiffs
                                                                               Plaintiffs submitted
                                                                                          submitted aa Dispute
                                                                                                       Dispute
                5
                5
                    Resolution Agreement
                    Resolution Agreement Opt
                                         Opt Out
                                             Out Form
                                                 Form to
                                                      to Twitter’s Human Resources
                                                         Twitter's Human Resources department
                                                                                   department within
                                                                                              within 30 days
                                                                                                     30 days
                6
                6
                    of receiving
                    of receiving the
                                 the Dispute
                                     Dispute Resolution
                                             Resolution Agreement
                                                        Agreement (or
                                                                  (or at
                                                                      at any
                                                                         any time
                                                                             time thereafter).
                                                                                  thereafter). II have
                                                                                                  have also
                                                                                                       also confirmed
                                                                                                            confirmed
                7
                7
                    that each
                    that each of
                              of them
                                 them remained
                                      remained employed at Twitter
                                               employed at Twitter for
                                                                   for more
                                                                       more than
                                                                            than 30
                                                                                 30 days
                                                                                    days after
                                                                                         after receiving
                                                                                               receiving the
                                                                                                         the Dispute
                                                                                                             Dispute

                8
                8   Resolution Agreement.
                    Resolution Agreement.

                9
                9          II declare
                              declare under penalty of
                                      under penalty of perjury
                                                       perjury under
                                                               under the
                                                                     the laws
                                                                         laws of
                                                                              of California
                                                                                 California and
                                                                                            and the
                                                                                                the United
                                                                                                    United States of
                                                                                                           States of

                1   America that
                    America that the
                                 the foregoing
                                     foregoing is
                                               is true
                                                  true and
                                                       and correct.
                                                           correct. Signed on November
                                                                    Signed on November 21,
                                                                                       21, 2022
                                                                                           2022 in
                                                                                                in Dublin,
                                                                                                   Dublin, Ireland.
                                                                                                           Ireland.


                0
                0

                1

                1

                1                                                           FIDELMA CALLAGHAN
                                                                            FIDELMA CALLAGHAN


                2

                1

                3

                1

                4

                1

                5
                                                                                          DECLARATION OF
                                                                                          DECLARATION  OF FIDELMA
                                                                                                          FIDELMA
                                                                                   CALLAGHAN IN
                                                                                   CALLAGHAN IN SUPPORT OF MOTION
                                                                                                SUPPORT OF MOTION
MORGAN, LEWIS
MORGAN,
  Boaaus
        LEWIS &
  BOCKIUS LLP
            LLP 1                                                     7
                                                                      7              TO COMPEL ARBITRATION
                                                                                     TO COMPEL ARBITRATION 3:22-cv-
                                                                                                            3:22-CV-
 ATTORNEYS AT LAW
 ATTORNEYS    LAW
   SAN FRANCISCO
       FRANCISCO
   SAN
                                                                                                           06857-JD
                                                                                                           06857-JD

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             EXHIBIT A
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September 14,
September 14, 2017
              2017


Greg Kindel
Greg Kindel
23 West Street
23 West  Street #2
                #2
Medford,
Medford, MA
          MA 02155
              02155
greg.kindel@gmail.com
greg.kindel@gmail.com


Dear Greg,
Dear Greg,

Twitter, Inc.,
Twitter, Inc., aa Delaware
                  Delaware corporation
                           corporation (the
                                       (the “Company”),
                                            "Company"), is
                                                        is pleased
                                                           pleased to
                                                                   to offer you employment
                                                                      offer you employment
on
on the
   the following
       following terms:
                 terms:

1. Position. Your
1. Position. Your job
                  job title will be
                      title will    Sr. Software
                                 be Sr. Software Engineer. You will
                                                 Engineer. You will report
                                                                    report at
                                                                           at the
                                                                              the start
                                                                                  start of your
                                                                                        of your
   employment to
   employment to Bryan
                 Bryan Bonczek,
                       Bonczek, Manager, Software Engineering.
                                Manager, Software Engineering. You
                                                               You will
                                                                   will be
                                                                        be aa regular,
                                                                              regular,
   full-time employee.
   full-time employee.

2. Start Date.
2. Start Date. Your
               Your employment will commence
                    employment will commence on October 9,
                                             on October 9, 2017. You will
                                                           2017. You will be
                                                                          be providing
                                                                             providing
   services
   services from
            from the Company’s Cambridge,
                 the Company's Cambridge, MA location. (You
                                          MA location. (You may
                                                            may be required to
                                                                be required    travel as
                                                                            to travel as
   one
   one part
       part of your duties.)
            of your duties.)

3. Cash
3. Cash Compensation
        Compensation.. The
                       The Company
                           Company will
                                   will pay you a
                                        pay you a gross
                                                  gross starting
                                                        starting salary at an
                                                                 salary at an annualized
                                                                              annualized
   rate of
   rate of                                                       , payable in accordance
                                                                   payable in accordance with
                                                                                         with
   the
   the Company’s
       Company's standard
                 standard payroll
                          payroll schedule. This salary
                                  schedule. This        will be
                                                 salary will be subject
                                                                subject to
                                                                        to adjustment from
                                                                           adjustment from
   time
   time to
        to time in accordance
           time in accordance with
                              with the
                                   the employee
                                       employee compensation
                                                compensation policies
                                                             policies then in effect.
                                                                      then in         This
                                                                              effect. This
   is an
   is an exempt
         exempt position, and your
                position, and your salary
                                   salary is intended to
                                          is intended to cover all hours
                                                         cover all hours worked.
                                                                         worked.

4. Performance
4. Performance Bonus
               Bonus Plan.
                     Plan. You
                           You may
                               may be
                                   be eligible to earn
                                      eligible to earn a
                                                       a discretionary performance
                                                         discretionary performance
   bonus
   bonus award in accordance
         award in            with the
                  accordance with the Company’s
                                      Company's discretionary Performance Bonus
                                                discretionary Performance Bonus Plan
                                                                                Plan as
                                                                                     as
   it may
   it may exist
          exist and/or
                and/or be
                       be amended
                          amended from
                                  from time
                                       time to
                                            to time. Currently, for
                                               time. Currently, for the
                                                                    the Performance
                                                                        Performance Bonus
                                                                                    Bonus
   Plan Year
   Plan Year that extends from
             that extends      January 1,
                          from January 1, 2017
                                          2017 to
                                               to December
                                                  December 31,
                                                           31, 2017, you have
                                                               2017, you have been
                                                                              been
   assigned
   assigned aa Performance
               Performance Bonus Plan target
                           Bonus Plan target of
                                             of [10.00]%
                                                [10.001% of your annual
                                                         of your annual base
                                                                        base salary, which
                                                                             salary, which
   will be
   will be paid
           paid pursuant to the
                pursuant to the terms
                                terms and
                                      and conditions in the
                                          conditions in the Performance
                                                            Performance Bonus Plan.
                                                                        Bonus Plan.

5. Employee Benefits.
5. Employee Benefits.     As a
                          As   regular employee
                             a regular employee of
                                                of the
                                                   the Company,
                                                       Company, you
                                                                you will
                                                                    will be
                                                                         be eligible
                                                                            eligible to
                                                                                     to
   participate in Company-sponsored
   participate in Company-sponsored benefits
                                    benefits in
                                             in accordance with the
                                                accordance with the terms of the
                                                                    terms of the
   applicable benefit
   applicable benefit plans.
                      plans.




                                              kr
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6. Equity Compensation.
6. Equity Compensation. Subject
                        Subject to
                                to the
                                   the approval
                                       approval of
                                                of the Company’s Board
                                                   the Company's       of Directors,
                                                                 Board of            you
                                                                          Directors, you
   will be
   will be granted
           granted Fifteen Thousand [15,000]
                   Fifteen Thousand [15,000] restricted
                                             restricted stock units ("RSUs")
                                                        stock units (“RSUs”) of
                                                                             of the Company.
                                                                                the Company.
    The RSUs
    The RSUs will
             will be
                  be subject to the
                     subject to the terms
                                    terms and
                                          and conditions
                                              conditions set forth in
                                                         set forth in the
                                                                      the Company's
                                                                          Company’s 2013
                                                                                    2013
   equity plan.
   equity       You will
          plan. You      vest in
                    will vest in 25%
                                 25% of
                                     of the
                                        the RSUs
                                            RSUs on
                                                 on the first year
                                                    the first year anniversary
                                                                   anniversary of
                                                                               of the
                                                                                  the first
                                                                                      first
   day
   day of
       of the month following
          the month           your start
                    following your start date,
                                         date, provided you have
                                               provided you have been
                                                                 been continuously
                                                                      continuously
   employed by
   employed    Twitter during
            by Twitter during that time, and
                              that time, and the
                                             the balance
                                                 balance quarterly
                                                         quarterly over
                                                                   over the next three
                                                                        the next three
   years of
   years of continuous
            continuous service,
                       service, as
                                as described in the
                                   described in the equity
                                                    equity plan.
                                                           plan. Please note that
                                                                 Please note that the terms
                                                                                  the terms
   of the
   of     Company’s equity
      the Company's equity plans are reviewed
                           plans are reviewed periodically, and subject
                                              periodically, and subject to revision at
                                                                        to revision at the
                                                                                       the
   Company’s sole
   Company's sole discretion.
                  discretion.

7. Employee Invention
7. Employee Invention Assignment
                      Assignment and
                                 and Confidentiality Agreement. You
                                     Confidentiality Agreement. You will
                                                                    will be
                                                                         be required,
                                                                            required,
   as
   as aa condition of your
         condition of your employment
                           employment with
                                      with the Company, to
                                           the Company, to sign
                                                           sign the Company’s standard
                                                                the Company's standard
   Employee Invention
   Employee Invention Assignment
                      Assignment        and
                                        and   Confidentiality Agreement
                                              Confidentiality Agreement      (“Confidentiality
                                                                             ("Confidentiality
   Agreement”). A
   Agreement"). A copy of the
                  copy of the Confidentiality
                              Confidentiality Agreement
                                              Agreement is
                                                        is enclosed with this
                                                           enclosed with      letter.
                                                                         this letter.

8. Employment Relationship.
8. Employment Relationship. Employment
                            Employment with
                                       with the
                                            the Company is for
                                                Company is for no
                                                               no specific
                                                                  specific period
                                                                           period of
                                                                                  of
   time. Your employment
   time. Your            with the
              employment with     Company will
                              the Company will be “at will,"
                                               be "at will,” meaning
                                                             meaning that either you
                                                                     that either you or
                                                                                     or
   the Company may
   the Company may terminate your employment
                   terminate your employment at
                                             at any
                                                any time and for
                                                    time and for any reason, with
                                                                 any reason, with or
                                                                                  or
   without cause.
   without        This is
           cause. This is the
                          the full
                              full and
                                   and complete agreement between
                                       complete agreement         you and
                                                          between you and the Company
                                                                          the Company
   regarding the
   regarding the duration
                 duration of
                          of the
                             the employment relationship. Although
                                 employment relationship. Although your
                                                                   your job
                                                                        job duties,
                                                                            duties, title,
                                                                                    title,
   compensation
   compensation and
                and benefits, as well
                    benefits, as well as
                                      as the Company’s personnel
                                         the Company's personnel policies
                                                                 policies and
                                                                          and procedures
                                                                              procedures
   may change
   may change from time to
              from time to time,
                           time, the “at will"
                                 the "at will” nature
                                               nature of your employment,
                                                      of your employment, may
                                                                          may only
                                                                              only be
                                                                                   be
   changed
   changed through
           through an express written
                   an express written agreement
                                      agreement signed
                                                signed by you and
                                                       by you and the Company’s Chief
                                                                  the Company's Chief
   Executive Officer.
   Executive Officer.

9. Outside
9.         Activities. While
   Outside Activities. While you
                             you render
                                 render services
                                        services to
                                                 to the Company, you
                                                    the Company, you will
                                                                     will not
                                                                          not engage
                                                                              engage in
                                                                                     in
   any other
   any other employment,
             employment, consulting,
                         consulting, or other business
                                     or other business activity
                                                       activity that
                                                                that would
                                                                     would create
                                                                           create aa conflict
                                                                                     conflict
   of interest
   of          with the
      interest with     Company, which
                    the Company, which includes engaging in
                                       includes engaging in any
                                                            any work
                                                                work that
                                                                     that is
                                                                          is competitive
                                                                             competitive in
                                                                                         in
   nature. While
   nature. While you
                 you render
                     render services to the
                            services to     Company, you
                                        the Company, you also will not
                                                         also will not assist
                                                                       assist any
                                                                              any person
                                                                                  person or
                                                                                         or
   entity in
   entity in competing with the
             competing with     Company, in
                            the Company, in preparing
                                            preparing to
                                                      to compete with the
                                                         compete with the Company,
                                                                          Company, or
                                                                                   or in
                                                                                      in
   hiring any
   hiring any employees
              employees or
                        or consultants
                           consultants of
                                       of the Company. In
                                          the Company. In addition,
                                                          addition, for
                                                                    for aa period of one
                                                                           period of one
   (1) year
   (1) year after
            after the
                  the termination
                      termination of
                                  of your
                                     your services, you will
                                          services, you will not
                                                             not solicit either directly
                                                                 solicit either directly or
                                                                                         or
   indirectly, any
   indirectly, any employee
                   employee of
                            of the
                               the Company
                                   Company to leave the
                                           to leave the Company for other
                                                        Company for other employment
                                                                          employment
   or
   or assist any person
      assist any person or entity in
                        or entity in doing
                                     doing the
                                           the same.
                                               same.




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10. Background Check.
10. Background        This offer
               Check. This offer is
                                 is contingent on successful
                                    contingent on successful completion
                                                             completion of
                                                                        of aa background
                                                                              background
   check regarding your
   check regarding your employment
                        employment experience, educational credentials,
                                   experience, educational credentials, criminal history
                                                                        criminal history
   and the
   and     like. This
       the like. This offer
                      offer may
                            may be
                                be withdrawn in the
                                   withdrawn in the sole
                                                    sole discretion
                                                         discretion of
                                                                    of the Company based
                                                                       the Company based
   on its review
   on its review of
                 of the
                    the background
                        background check results. Your
                                   check results. Your acceptance
                                                       acceptance of
                                                                  of this
                                                                     this offer of
                                                                          offer of
   employment will
   employment will be
                   be complete when you
                      complete when you have
                                        have initiated
                                             initiated authorization
                                                       authorization to
                                                                     to perform
                                                                        perform aa
   background
   background check,
              check, as instructed by
                     as instructed by our Human Resources
                                      our Human Resources Department.
                                                          Department.

11. Verification
11. Verification of Employability. This
                 of Employability. This offer
                                        offer is
                                              is contingent upon your
                                                 contingent upon your providing
                                                                      providing legal
                                                                                legal proof
                                                                                      proof
   of your
   of your identity
           identity and
                    and authorization
                        authorization to work in
                                      to work    the United
                                              in the        States within
                                                     United States within three
                                                                          three (3)
                                                                                (3) days
                                                                                    days of
                                                                                         of
   the
   the commencement
       commencement of your employment.
                    of your employment.

12. Taxes.
12.        All forms
    Taxes. All       of compensation
               forms of compensation that
                                     that are
                                          are subject
                                              subject to income or
                                                      to income or payroll
                                                                   payroll taxes will be
                                                                           taxes will be
   reduced to
   reduced to reflect
              reflect applicable income tax
                      applicable income     withholding and
                                        tax withholding and payroll
                                                            payroll taxes. Any form
                                                                    taxes. Any form of
                                                                                    of
   compensation
   compensation that
                that is
                     is subject
                        subject to income or
                                to income or payroll
                                             payroll taxes and that
                                                     taxes and      is not
                                                               that is not paid in cash
                                                                           paid in      will
                                                                                   cash will
   result in
   result in aa reduction
                reduction in
                          in cash
                             cash compensation
                                  compensation to reflect applicable
                                               to reflect applicable income
                                                                     income tax
                                                                            tax withholding
                                                                                withholding
   and payroll
   and payroll taxes.
               taxes.

13. Dispute Resolution.
13. Dispute Resolution. We
                        We sincerely hope that
                           sincerely hope      no dispute
                                          that no         will arise
                                                  dispute will       between us.
                                                               arise between     If a
                                                                             us. If a
   dispute
   dispute should arise, it
           should arise, it can
                            can be
                                be resolved
                                   resolved through
                                            through the Company’s Dispute
                                                    the Company's Dispute Resolution
                                                                          Resolution
   Policy. A
   Policy. A copy
             copy of
                  of the Dispute Resolution
                     the Dispute Resolution Policy
                                            Policy is enclosed with
                                                   is enclosed with this
                                                                    this letter.
                                                                         letter.

14. Entire Agreement
14. Entire Agreement. This
                      This letter
                           letter agreement
                                  agreement supersedes
                                            supersedes and
                                                       and replaces
                                                           replaces any
                                                                    any prior
                                                                        prior agreements,
                                                                              agreements,
   representations or
   representations    understandings, whether
                   or understandings, whether written,
                                              written, oral or implied,
                                                       oral or implied, between you and
                                                                        between you and
   the Company.
   the Company.

Please
Please do not make
       do not      any change
              make any        in your
                       change in your present living or
                                      present living    employment circumstances
                                                     or employment               until all
                                                                   circumstances until all
of the
of the conditions
       conditions to
                  to this offer, including
                     this offer, including successful
                                           successful completion of the
                                                      completion of the background
                                                                        background check
                                                                                   check
and, if
and, if applicable,
        applicable, acquisition
                    acquisition of
                                of aa visa,
                                      visa, have
                                            have been
                                                 been satisfied. Any questions
                                                      satisfied. Any           regarding your
                                                                     questions regarding your
satisfaction
satisfaction of
             of these
                these conditions
                      conditions should be directed
                                 should be          to Sonny
                                           directed to Sonny Yuen
                                                             Yuen at
                                                                  at
sonnyyuen@twitter.com.
sonnyyuen@twitter.com.

By signing
By         this letter
   signing this letter agreement,
                       agreement, you
                                  you confirm
                                      confirm to
                                              to the
                                                 the Company
                                                     Company that
                                                             that you
                                                                  you have
                                                                      have no
                                                                           no
contractual commitments
contractual commitments or
                        or other
                           other legal
                                 legal obligations
                                       obligations that
                                                   that would
                                                        would prohibit you from
                                                              prohibit you from
performing your duties
performing your duties for
                       for the
                           the Company.
                               Company.




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We hope
We hope that
        that you
             you will
                 will accept our offer
                      accept our offer to
                                       to join
                                          join the
                                               the Company.
                                                   Company. To
                                                            To indicate
                                                               indicate your
                                                                        your acceptance
                                                                             acceptance
of this
of this offer, please initiate
        offer, please initiate the
                               the authorization
                                   authorization of
                                                 of your
                                                    your background check, and
                                                         background check, and sign and date
                                                                               sign and date
the enclosed
the enclosed duplicate
             duplicate original of this
                       original of this letter
                                        letter agreement,
                                               agreement, the
                                                          the enclosed Confidentiality
                                                              enclosed Confidentiality
Agreement, and
Agreement, and the
               the enclosed
                   enclosed Dispute Resolution Policy
                            Dispute Resolution Policy and
                                                      and return
                                                          return them
                                                                 them to
                                                                      to Sonny. This
                                                                         Sonny. This
offer will
offer      expire if
      will expire if the
                     the signed
                         signed documents are not
                                documents are not returned to me
                                                  returned to me by
                                                                 by the
                                                                    the end of the
                                                                        end of the day on
                                                                                   day on
September 20, 2017.
September 20, 2017.

                                                Very
                                                Vet)/ truly yours,
                                                      truly yours,
                                               Twitter, Inc.
                                               Twitter, Inc.


                                                By
                                                By
                                                     Laura
                                                     Laura Brady, VP, Total
                                                           Brady, VP, Total Rewards
                                                                            Rewards


II have read, understood
   have read,            and accept
              understood and accept all the provisions
                                    all the            of this
                                            provisions of this offer
                                                               offer of
                                                                     of employment:
                                                                        employment:




Greg
grel Kindel
     Kinie‘
Greg Kindel
     thee( (Sep 14,2017)
                14, 2017)




Greg Kindel
Greg Kindel


Sep 14, 2017

Date
Date




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                              DISPUTE RESOLUTION AGREEMENT

This Dispute Resolution Agreement is a contract and covers important issues relating to your
rights. It is your sole responsibility to read it and understand it. You are free to seek assistance
from independent advisors of your choice outside the Company or to refrain from doing so if that
is your choice.

1. How This Agreement Applies

This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a
transaction involving commerce. This Agreement applies to any dispute arising out of or related to
Employee's employment with Twitter, Inc. or one of its affiliates, successor, subsidiaries or parent
companies ("Company") or termination of employment and survives after the employment relationship
terminates. Nothing contained in this Agreement shall be construed to prevent or excuse Employee or the
Company from utilizing the Company's existing internal procedures for resolution of complaints, and this
Agreement is not intended to be a substitute for the utilization of such procedures.

Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that
otherwise would be resolved in a court of law or before a forum other than arbitration. This Agreement
requires all such disputes to be resolved only by an arbitrator through final and binding arbitration and not
by way of court or jury trial. Such disputes include without limitation disputes arising out of or relating to
interpretation or application of this Agreement, including the enforceability, revocability or validity of the
Agreement or any portion of the Agreement.

Except as it otherwise provides, this Agreement also applies, without limitation, to disputes regarding the
employment relationship, trade secrets, unfair competition, compensation, breaks and rest periods,
termination, or harassment and claims arising under the Uniform Trade Secrets Act, Civil Rights Act of
1964, Americans With Disabilities Act, Age Discrimination in Employment Act, Family Medical Leave Act,
Fair Labor Standards Act, Employee Retirement Income Security Act (except for claims for employee
benefits under any benefit plan sponsored by the Company and covered by the Employee Retirement
Income Security Act of 1974 or funded by insurance), Genetic Information Non-Discrimination Act, and
state statutes, if any, addressing the same or similar subject matters, and all other state statutory and
common law claims.

2. Limitations On How This Agreement Applies

This Agreement does not apply to claims for workers compensation, state disability insurance and
unemployment insurance benefits.

Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded
by an administrative agency if applicable law permits access to such an agency notwithstanding the
existence of an agreement to arbitrate. Such administrative claims include without limitation claims or
charges brought before the Equal Employment Opportunity Commission (www.eeoc.gov), the U.S.
Department of Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of
Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing in this Agreement shall be
deemed to preclude or excuse a party from bringing an administrative claim before any agency in order to
fulfill the party's obligation to exhaust administrative remedies before making a claim in arbitration.

Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall
Street Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this
Agreement.
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3. Selecting The Arbitrator

The Arbitrator shall be selected by mutual agreement of the Company and the Employee. Unless the
Employee and Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice
in the location where the arbitration proceeding will be conducted or a retired federal or state judicial
officer who presided in the jurisdiction where the arbitration will be conducted. If for any reason the parties
cannot agree to an Arbitrator, either party may apply to a court of competent jurisdiction with authority
over the location where the arbitration will be conducted for appointment of a neutral Arbitrator. The court
shall then appoint an arbitrator, who shall act under this Agreement with the same force and effect as if
the parties had selected the arbitrator by mutual agreement. The location of the arbitration proceeding
shall be no more than 45 miles from the place where the Employee reported to work for the Company,
unless each party to the arbitration agrees in writing otherwise.

4. Starting The Arbitration

All claims in arbitration are subject to the same statutes of limitation that would apply in court. The party
bringing the claim must demand arbitration in writing and deliver the written demand by hand or first class
mail to the other party within the applicable statute of limitations period. The demand for arbitration shall
include identification of the parties, a statement of the legal and factual basis of the claim(s), and a
specification of the remedy sought. Any demand for arbitration made to the Company shall be provided to
the attention of the Company's Legal Department, Twitter, Inc., 1355 Market Street, Suite 900, San
Francisco, CA 94103. The arbitrator shall resolve all disputes regarding the timeliness or propriety of the
demand for arbitration. A party may apply to a court of competent jurisdiction for temporary or preliminary
injunctive relief in connection with an arbitrable controversy, but only upon the ground that the award to
which that party may be entitled may be rendered ineffectual without such provisional relief.

5. How Arbitration Proceedings Are Conducted

In arbitration, the parties will have the right to conduct adequate civil discovery, bring dispositive motions,
and present witnesses and evidence as needed to present their cases and defenses, and any disputes in
this regard shall be resolved by the Arbitrator.

You and the Company agree to bring any dispute in arbitration on an individual basis only, and
not on a class, collective, or private attorney general representative action basis. Accordingly:

    (a) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
    class action ("Class Action Waiver"). The Class Action Waiver shall not be severable from
    this Agreement in any case in which (1) the dispute is filed as a class action and (2) a civil
    court of competent jurisdiction finds the Class Action Waiver is unenforceable. In such
    instances, the class action must be litigated in a civil court of competent jurisdiction.

    (b) There will be no right or authority for any dispute to be brought, heard or arbitrated as
    a collective action ("Collective Action Waiver"). The Collective Action Waiver shall not be
    severable from this Agreement in any case in which (1) the dispute is filed as a collective
    action and (2) a civil court of competent jurisdiction finds the Collective Action Waiver is
    unenforceable. In such instances, the collective action must be litigated in a civil court of
    competent jurisdiction.

    (c) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
    private attorney general representative action ("Private Attorney General Waiver"). The
    Private Attorney General Waiver shall be severable from this Agreement in any case in
    which a civil court of competent jurisdiction finds the Private Attorney General Waiver is
    unenforceable. In such instances and where the claim is brought as a private attorney
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    general, such private attorney general claim must be litigated in a civil court of competent
    jurisdiction.

Although an Employee will not be retaliated against, disciplined or threatened with discipline as a result of
his or her exercising his or her rights under Section 7 of the National Labor Relations Act by the filing of or
participation in a class, collective or representative action in any forum, the Company may lawfully seek
enforcement of this Agreement and the Class Action Waiver, Collective Action Waiver and Private
Attorney General Waiver under the Federal Arbitration Act and seek dismissal of such class, collective or
representative actions or claims. Notwithstanding any other clause contained in this Agreement, any
claim that all or part of the Class Action Waiver, Collective Action Waiver or Private Attorney General
Waiver is invalid, unenforceable, unconscionable, void or voidable may be determined only by a court of
competent jurisdiction and not by an arbitrator.

The Class Action Waiver, Collective Action Waiver and Private Attorney General Waiver shall be
severable in any case in which the dispute is filed as an individual action and severance is necessary to
ensure that the individual action proceeds in arbitration.

6. Paying For The Arbitration

Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
may later be entitled under applicable law. However, in all cases where required by law, the Company will
pay the Arbitrator's and arbitration fees. If under applicable law the Company is not required to pay all of
the Arbitrator's and/or arbitration fees, such fee(s) will be apportioned between the parties in accordance
with said applicable law, and any disputes in that regard will be resolved by the Arbitrator.

7. The Arbitration Hearing And Award

The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding the
conduct of the hearing and resolve any disputes the parties may have in that regard. Within 30 days of
the close of the arbitration hearing, any party will have the right to prepare, serve on the other party and
file with the Arbitrator a brief. The Arbitrator may award any party any remedy to which that party is
entitled under applicable law, but such remedies shall be limited to those that would be available to a
party in his or her individual capacity in a court of law for the claims presented to and decided by the
Arbitrator, and no remedies that otherwise would be available to an individual in a court of law will be
forfeited by virtue of this Agreement. The Arbitrator will issue a decision or award in writing, stating the
essential findings of fact and conclusions of law. Except as may be permitted or required by law, as
determined by the Arbitrator, neither a party nor an Arbitrator may disclose the existence, content, or
results of any arbitration hereunder without the prior written consent of all parties. A court of competent
jurisdiction shall have the authority to enter a judgment upon the award made pursuant to the arbitration.

8. An Employee's Right To Opt Out Of Arbitration

                                              Employee’s employment at the Company, and
Arbitration is not a mandatory condition of Employee's
therefore an Employee may submit a form stating that the Employee wishes to opt out and not be
subject to this Agreement. The Employee must submit a signed and dated statement on a "Dispute
Resolution Agreement Opt Out Form" ("Form") that can be obtained from the Company's Human
Resources Department at hr@twitter.com. In order to be effective, the signed and dated Form must be
returned to the Human Resources Department within 30 days of the Employee's receipt of this
Agreement. An Employee who timely opts out as provided in this paragraph will not be subject to any
adverse employment action as a consequence of that decision and may pursue available legal remedies
without regard to this Agreement. Should an Employee not opt out of this Agreement within 30 days of the
Employee's receipt of this Agreement, continuing the Employee's employment constitutes mutual
acceptance of the terms of this Agreement by Employee and the Company. An Employee has the right to
consult with counsel of the Employee's choice concerning this Agreement.
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9. Non-Retaliation

It is against Company policy for any Employee to be subject to retaliation if he or she exercises his or her
right to assert claims under this Agreement. If any Employee believes that he or she has been retaliated
against by anyone at the Company, the Employee should immediately report this to the Human
Resources Department.

10. Enforcement Of This Agreement

This Agreement is the full and complete agreement relating to the formal resolution of employment-
related disputes. Except as stated in paragraph 5, above, in the event any portion of this Agreement is
deemed unenforceable, the remainder of this Agreement will be enforceable. If the Class Action Waiver,
Collective Action Waiver or Private Attorney General Waiver is deemed to be unenforceable, the
Company and Employee agree that this Agreement is otherwise silent as to any party's ability to bring a
class, collective or representative action in arbitration.


AGREED:




Laura Brady, VP, Total Rewards

TWITTER, INC.




AGREED:
                                 Greg Kindel
EMPLOYEE NAME PRINTED            ______________________________________


                                Greg Kindel
                                     ididW
EMPLOYEE SIGNATURE               ______________________________________
                                Greg Kindel
                                       ndel (Sep 14, 2017)




Date:                            Sep 14, 2017
                                 ______________________________________




	  
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June 11,
June 11, 2018
         2018


Alex Camacho
Alex Camacho
2691 79th Ave
2691 79th Ave Oakland,
              Oakland, CA
                       CA 94605
                          94605
acamacho@twitter.com
acamacho@twitter.com


Dear Alex,
Dear Alex,

Twitter, Inc.,
Twitter, Inc., aa Delaware
                  Delaware corporation
                           corporation (the
                                       (the “Company”),
                                            "Company"), is
                                                        is pleased
                                                           pleased to
                                                                   to offer you employment
                                                                      offer you employment
on
on the
   the following
       following terms:
                 terms:

1. Position. Your
1. Position. Your job
                  job title will be
                      title will be Security
                                    Security Engineer I. You
                                             Engineer I. You will
                                                             will report
                                                                  report at
                                                                         at the
                                                                            the start
                                                                                start of your
                                                                                      of your
   employment to
   employment    Joe Stevensen,
              to Joe            Sr. Mgr.,
                     Stevensen, Sr. Mgr., Security Engineering. You
                                          Security Engineering. You will
                                                                    will be
                                                                         be aa regular,
                                                                               regular, full-
                                                                                        full-
   time
   time employee.
        employee.

2. Start Date.
2. Start Date. Your
               Your employment will commence
                    employment will commence on June 18,
                                             on June 18, 2018. You will
                                                         2018. You will be providing
                                                                        be providing
   services
   services from
            from the Company’s San
                 the Company's San Francisco,
                                   Francisco, CA
                                              CA location.
                                                 location. (You
                                                           (You may
                                                                may be required to
                                                                    be required to travel
                                                                                   travel
   as
   as one
      one part
          part of your duties.)
               of your duties.)

3. Cash
3. Cash Compensation
        Compensation.. The
                       The Company
                           Company will
                                   will pay you a
                                        pay you a gross
                                                  gross starting
                                                        starting salary at an
                                                                 salary at an annualized
                                                                              annualized
   rate of
   rate of                                                          , payable in accordance
                                                                      payable in accordance
   with the
   with     Company’s standard
        the Company's standard payroll
                               payroll schedule. This salary
                                       schedule. This        will be
                                                      salary will be subject
                                                                     subject to adjustment
                                                                             to adjustment
   from time
   from time to
             to time in accordance
                time in accordance with
                                   with the
                                        the employee
                                            employee compensation
                                                     compensation policies
                                                                  policies then in effect.
                                                                           then in effect.
   This is
   This is an
           an exempt
              exempt position,
                     position, and your salary
                               and your        is intended
                                        salary is intended to
                                                           to cover all hours
                                                              cover all hours worked.
                                                                              worked.

4. Performance
4. Performance Bonus
               Bonus Plan
                     Plan .. If
                             If your
                                your start
                                     start date is on
                                           date is on or
                                                      or before September 30
                                                         before September    th
                                                                          30th  of the
                                                                                of the
   Performance Bonus
   Performance Bonus Plan year, you
                     Plan year, you may
                                    may be
                                        be eligible
                                           eligible to
                                                    to earn
                                                       earn aa discretionary
                                                               discretionary performance
                                                                             performance
   bonus
   bonus award in accordance
         award in            with the
                  accordance with the Company’s
                                      Company's discretionary Performance Bonus
                                                discretionary Performance Bonus Plan as
                                                                                Plan as
   it may
   it may exist
          exist and/or
                and/or be
                       be amended
                          amended from
                                  from time
                                       time to
                                            to time. Currently, for
                                               time. Currently, for the
                                                                    the Performance
                                                                        Performance Bonus
                                                                                    Bonus
   Plan Year
   Plan Year that extends from
             that extends      January 1,
                          from January 1, 2018
                                          2018 to
                                               to December
                                                  December 31,
                                                           31, 2018, you have
                                                               2018, you have been
                                                                              been
   assigned
   assigned aa Performance
               Performance Bonus Plan target
                           Bonus Plan        of 10.00%
                                      target of 10.00% of
                                                       of your
                                                          your annual
                                                               annual base
                                                                      base salary, which
                                                                           salary, which
   will be
   will be paid
           paid pursuant to the
                pursuant to the terms
                                terms and
                                      and conditions in the
                                          conditions in the Performance
                                                            Performance Bonus
                                                                        Bonus Plan.
                                                                              Plan.




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5. Employee Benefits.
5. Employee Benefits.     As a
                          As   regular employee
                             a regular employee of
                                                of the
                                                   the Company,
                                                       Company, you
                                                                you will
                                                                    will be
                                                                         be eligible
                                                                            eligible to
                                                                                     to
   participate in Company-sponsored
   participate in Company-sponsored benefits
                                    benefits in
                                             in accordance with the
                                                accordance with the terms of the
                                                                    terms of the
   applicable benefit
   applicable benefit plans.
                      plans.

6. Equity Compensation.
6. Equity               Subject to
          Compensation. Subject to the approval of
                                   the approval    the Compensation
                                                of the Compensation Committee
                                                                    Committee of
                                                                              of the
                                                                                 the
   Company’s Board
   Company's       of Directors
             Board of Directors (or
                                (or an
                                    an authorized
                                       authorized subcommittee), you will
                                                  subcommittee), you will be
                                                                          be granted
                                                                             granted aa
   specified number of
   specified number of restricted
                       restricted stock units of
                                  stock units of the Company ("RSUs").
                                                 the Company (“RSUs”). The
                                                                       The number
                                                                           number of RSUs
                                                                                  of RSUs
   that
   that are
        are granted
            granted to you, if
                    to you, if approved, will be
                               approved, will be determined
                                                 determined by
                                                            by dividing
                                                               dividing
                     by the
                     by the prevailing
                            prevailing RSU
                                       RSU conversion rate in
                                           conversion rate in effect
                                                              effect during
                                                                     during the month in
                                                                            the month in
   which your
   which your employment role commences
              employment role           under the
                              commences under the terms of this
                                                  terms of this offer letter. (Note:
                                                                offer letter. (Note: for
                                                                                     for
   the
   the purposes
       purposes of
                of RSU
                   RSU grant under this
                       grant under this paragraph, your employment
                                        paragraph, your employment commencement
                                                                   commencement date
                                                                                date
   is anticipated
   is             to be
      anticipated to    your Start
                     be your Start Date
                                   Date as
                                        as set out above,
                                           set out above, unless
                                                          unless delayed or deferred
                                                                 delayed or deferred for
                                                                                     for any
                                                                                         any
   reason. In
   reason. In the
              the event you have
                  event you have been
                                 been previously
                                      previously engaged
                                                 engaged by
                                                         by the Company in
                                                            the Company in any
                                                                           any capacity
                                                                               capacity
   under a
   under a different role or
           different role or arrangement,
                             arrangement, such
                                          such prior
                                               prior service will not
                                                     service will not count
                                                                      count for
                                                                            for the
                                                                                the purposes
                                                                                    purposes
   of your
   of your RSU
           RSU grant).
               grant).


   The RSUs
   The      will be
       RSUs will be subject
                    subject to
                            to the
                               the terms
                                   terms of
                                         of the Company’s 2013
                                            the Company's      Equity Incentive
                                                          2013 Equity Incentive Plan
                                                                                Plan and
                                                                                     and
   its form
   its      of RSU
       form of     agreement (the
               RSU agreement (the "Equity
                                  “Equity Documents”). You will
                                          Documents"). You      vest in
                                                           will vest in 25%
                                                                        25% of
                                                                            of the
                                                                               the RSUs
                                                                                   RSUs
   on
   on the
      the first year anniversary
          first year anniversary of
                                 of the
                                    the first
                                        first day of the
                                              day of the month
                                                         month following
                                                               following your
                                                                         your Start
                                                                              Start Date,
                                                                                    Date,
   provided you have
   provided you have continued
                     continued to
                               to provide
                                  provide services
                                          services to the Company
                                                   to the Company until
                                                                  until that
                                                                        that date, and
                                                                             date, and
   the
   the balance will vest
       balance will vest over your next
                         over your next three years of
                                        three years of continuous
                                                       continuous service with the
                                                                  service with     Company,
                                                                               the Company,
   as
   as will
      will be further described
           be further described in
                                in the
                                   the equity
                                       equity documents.
                                              documents. Be advised that
                                                         Be advised that the
                                                                         the calculation
                                                                             calculation
   used to
   used to determine
           determine the number of
                     the number of RSUs
                                   RSUs granted
                                        granted is
                                                is determined in the
                                                   determined in the sole
                                                                     sole discretion
                                                                          discretion of
                                                                                     of
   the Company and
   the Company     will not
               and will not correlate
                            correlate to any published
                                      to any           stock price
                                             published stock price on your date
                                                                   on your date of
                                                                                of hire
                                                                                   hire
   and, furthermore,
   and, furthermore, does not denote,
                     does not         nor can
                              denote, nor     it predict,
                                          can it          the future
                                                 predict, the future value
                                                                     value of
                                                                           of any
                                                                              any RSUs.
                                                                                  RSUs.
   Stock price
   Stock       are by
         price are    nature volatile,
                   by nature volatile, and
                                       and there
                                           there is no way
                                                 is no way to
                                                           to predict
                                                              predict the value of
                                                                      the value    your future
                                                                                of your future
   shares, if and
   shares, if     when they
              and when they vest.
                            vest.

7. Employee Invention
7. Employee Invention Assignment
                      Assignment and
                                 and Confidentiality Agreement. You
                                     Confidentiality Agreement. You will
                                                                    will be
                                                                         be required,
                                                                            required,
   as
   as aa condition of your
         condition of your employment with the
                           employment with     Company, to
                                           the Company, to sign the Company's
                                                           sign the Company’s standard
                                                                              standard
   Employee Invention
   Employee Invention Assignment
                      Assignment         and
                                         and   Confidentiality Agreement
                                               Confidentiality Agreement     (“Confidentiality
                                                                             ("Confidentiality
   Agreement”). A
   Agreement"). A copy
                  copy of
                       of the
                          the Confidentiality Agreement is
                              Confidentiality Agreement is enclosed with this
                                                           enclosed with      letter.
                                                                         this letter.

8. Employment Relationship.
8. Employment Relationship. Employment
                            Employment with
                                       with the Company is
                                            the Company is for
                                                           for no
                                                               no specific
                                                                  specific period of
                                                                           period of
   time. Your employment
   time. Your            with the
              employment with     Company will
                              the Company will be “at will,"
                                               be "at will,” meaning
                                                             meaning that either you
                                                                     that either you or
                                                                                     or


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   the Company may
   the Company may terminate your employment
                   terminate your employment at
                                             at any
                                                any time and for
                                                    time and for any
                                                                 any reason, with or
                                                                     reason, with or
   without cause.
   without        This is
           cause. This is the
                          the full
                              full and
                                   and complete agreement between
                                       complete agreement         you and
                                                          between you and the Company
                                                                          the Company
   regarding the
   regarding the duration
                 duration of
                          of the
                             the employment relationship. Although
                                 employment relationship. Although your
                                                                   your job
                                                                        job duties,
                                                                            duties, title,
                                                                                    title,
   compensation
   compensation and
                and benefits,
                    benefits, as well as
                              as well as the Company’s personnel
                                         the Company's personnel policies
                                                                 policies and
                                                                          and procedures
                                                                              procedures
   may change
   may change from time to
              from time to time,
                           time, the “at will”
                                 the "at       nature of
                                         will" nature of your
                                                         your employment, may only
                                                              employment, may only be
                                                                                   be
   changed
   changed through
           through an express written
                   an express written agreement
                                      agreement signed
                                                signed by you and
                                                       by you and the Company’s Chief
                                                                  the Company's Chief
   Executive Officer.
   Executive Officer.

9. Outside
9.         Activities. While
   Outside Activities. While you
                             you render
                                 render services
                                        services to
                                                 to the Company, you
                                                    the Company, you will
                                                                     will not
                                                                          not engage
                                                                              engage in
                                                                                     in
   any other
   any other employment,
             employment, consulting,
                         consulting, or
                                     or other
                                        other business activity that
                                              business activity that would
                                                                     would create
                                                                           create aa conflict
                                                                                     conflict
   of interest
   of          with the
      interest with     Company, which
                    the Company, which includes engaging in
                                       includes engaging in any
                                                            any work
                                                                work that
                                                                     that is
                                                                          is competitive in
                                                                             competitive in
   nature. While
   nature. While you
                 you render
                     render services to the
                            services to     Company, you
                                        the Company, you also will not
                                                         also will not assist
                                                                       assist any
                                                                              any person
                                                                                  person or
                                                                                         or
   entity in
   entity in competing with the
             competing with     Company, in
                            the Company, in preparing
                                            preparing to
                                                      to compete with the
                                                         compete with the Company,
                                                                          Company, or
                                                                                   or in
                                                                                      in
   hiring any
   hiring any employees
              employees or
                        or consultants
                           consultants of
                                       of the Company. In
                                          the Company. In addition,
                                                          addition, for
                                                                    for aa period of one
                                                                           period of one
   (1) year
   (1) year after
            after the
                  the termination
                      termination of
                                  of your
                                     your services, you will
                                          services, you will not
                                                             not solicit either directly
                                                                 solicit either directly or
                                                                                         or
   indirectly, any
   indirectly, any employee
                   employee of
                            of the
                               the Company
                                   Company to leave the
                                           to leave the Company for other
                                                        Company for other employment
                                                                          employment
   or
   or assist any person
      assist any person or entity in
                        or entity in doing
                                     doing the
                                           the same.
                                               same.

10. Background Check.
10. Background        This offer
               Check. This offer is
                                 is contingent on successful
                                    contingent on successful completion
                                                             completion of
                                                                        of aa background
                                                                              background
   check regarding your
   check regarding your employment
                        employment experience,
                                   experience, educational
                                               educational credentials,
                                                           credentials, criminal history
                                                                        criminal history
   and the
   and     like. This
       the like. This offer
                      offer may
                            may be
                                be withdrawn in the
                                   withdrawn in the sole
                                                    sole discretion
                                                         discretion of
                                                                    of the Company based
                                                                       the Company based
   on its review
   on its review of
                 of the
                    the background
                        background check results. Your
                                   check results. Your acceptance
                                                       acceptance of
                                                                  of this offer of
                                                                     this offer of
   employment will
   employment will be
                   be complete when you
                      complete when you have
                                        have initiated
                                             initiated authorization to perform
                                                       authorization to perform aa
   background
   background check,
              check, as instructed by
                     as instructed by our Human Resources
                                      our Human Resources Department.
                                                          Department.

11  Acknowledgement re:
11. Acknowledgement re: Compensation. You acknowledge
                        Compensation. You acknowledge and
                                                      and agree
                                                          agree that if during
                                                                that if        the
                                                                        during the
   recruiting process,
   recruiting process, to
                       to the
                          the extent you disclosed
                              extent you           your current
                                         disclosed your current or
                                                                or past
                                                                   past salary to Twitter,
                                                                        salary to Twitter, such
                                                                                           such
   disclosure was made
   disclosure was made voluntarily
                       voluntarily and without prompting.
                                   and without prompting. You
                                                          You further acknowledge and
                                                              further acknowledge and
   agree that
   agree      Twitter may
         that Twitter may consider and verify
                          consider and verify any
                                              any such
                                                  such compensation information you've
                                                       compensation information you’ve
   disclosed, including disclosure
   disclosed, including disclosure of
                                   of compensation
                                      compensation that you would
                                                   that you would forfeit
                                                                  forfeit by
                                                                          by leaving your
                                                                             leaving your
   current employment.
   current employment.

12. Verification
12. Verification of Employability. This
                 of Employability. This offer
                                        offer is
                                              is contingent upon your
                                                 contingent upon your providing
                                                                      providing legal
                                                                                legal proof
                                                                                      proof
   of your
   of your identity
           identity and
                    and authorization
                        authorization to work in
                                      to work in the United States
                                                 the United        within three
                                                            States within       (3) days
                                                                          three (3)      of
                                                                                    days of
   the
   the commencement
       commencement of your employment.
                    of your employment.



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13. Taxes.
13.        All forms
    Taxes. All       of compensation
               forms of compensation that
                                     that are
                                          are subject
                                              subject to income or
                                                      to income or payroll
                                                                   payroll taxes will be
                                                                           taxes will be
   reduced to
   reduced to reflect
              reflect applicable income tax
                      applicable income     withholding and
                                        tax withholding and payroll
                                                            payroll taxes. Any form
                                                                    taxes. Any form of
                                                                                    of
   compensation
   compensation that
                that is
                     is subject
                        subject to
                                to income
                                   income or payroll taxes
                                          or payroll taxes and
                                                           and that
                                                               that is not paid
                                                                    is not paid in
                                                                                in cash will
                                                                                   cash will
   result in
   result in aa reduction
                reduction in
                          in cash
                             cash compensation
                                  compensation to reflect applicable
                                               to reflect applicable income
                                                                     income tax
                                                                            tax withholding
                                                                                withholding
   and payroll
   and payroll taxes.
               taxes.

14. Dispute Resolution.
14. Dispute Resolution. We
                        We sincerely hope that
                           sincerely hope      no dispute
                                          that no         will arise
                                                  dispute will arise between us. If
                                                                     between us. If a
                                                                                    a
   dispute
   dispute should arise, it
           should arise, it can
                            can be
                                be resolved
                                   resolved through
                                            through the Company’s Dispute
                                                    the Company's Dispute Resolution
                                                                          Resolution
   Policy. A
   Policy. A copy
             copy of
                  of the Dispute Resolution
                     the Dispute Resolution Policy
                                            Policy is enclosed with
                                                   is enclosed with this
                                                                    this letter.
                                                                         letter.

15. Entire Agreement
15. Entire Agreement. This
                      This letter
                           letter agreement
                                  agreement supersedes
                                            supersedes and
                                                       and replaces
                                                           replaces any
                                                                    any prior
                                                                        prior agreements,
                                                                              agreements,
   representations or
   representations    understandings, whether
                   or understandings, whether written,
                                              written, oral or implied,
                                                       oral or implied, between you and
                                                                        between you and
   the Company.
   the Company.

Please
Please do not make
       do not make any
                   any change in your
                       change in your present living or
                                      present living or employment
                                                        employment circumstances until all
                                                                   circumstances until all
of the
of the conditions
       conditions to
                  to this offer, including
                     this offer, including successful
                                           successful completion
                                                      completion of
                                                                 of the
                                                                    the background
                                                                        background check
                                                                                   check
and, if
and, if applicable,
        applicable, acquisition
                    acquisition of
                                of aa visa,
                                      visa, have
                                            have been
                                                 been satisfied. Any questions
                                                      satisfied. Any questions regarding your
                                                                               regarding your
satisfaction
satisfaction   of
               of these
                  these    conditions
                           conditions   should
                                        should   be
                                                 be   directed
                                                      directed   to Valerie
                                                                 to Valerie VanderLinden
                                                                            VanderLinden at
                                                                                         at
valeriewolf@twitter.com.
valeriewolf@twitter.com.

By signing
By         this letter
   signing this letter agreement,
                       agreement, you
                                  you confirm
                                      confirm to
                                              to the
                                                 the Company
                                                     Company that
                                                             that you
                                                                  you have
                                                                      have no
                                                                           no
contractual commitments
contractual commitments or
                        or other
                           other legal
                                 legal obligations
                                       obligations that
                                                   that would
                                                        would prohibit you from
                                                              prohibit you from
performing your duties
performing your duties for
                       for the
                           the Company.
                               Company.

We hope
We hope that you will
        that you will accept
                      accept our
                             our offer to join
                                 offer to join the
                                               the Company. To indicate
                                                   Company. To          your acceptance
                                                               indicate your acceptance
of this
of      offer, please
   this offer,        initiate the
               please initiate the authorization of your
                                   authorization of your background
                                                         background check,
                                                                    check, and
                                                                           and sign
                                                                               sign and
                                                                                    and date
                                                                                        date
the
the enclosed
    enclosed duplicate original of
             duplicate original of this
                                   this letter agreement, the
                                        letter agreement, the enclosed Confidentiality
                                                              enclosed Confidentiality
Agreement, and
Agreement, and the
               the enclosed
                   enclosed Dispute Resolution Policy
                            Dispute Resolution Policy and return them
                                                      and return      to Valerie.
                                                                 them to Valerie. This
                                                                                  This
offer
offer will
      will expire if the
           expire if the signed
                         signed documents
                                documents are not returned
                                          are not returned to
                                                           to me
                                                              me by
                                                                 by the end of
                                                                    the end of the
                                                                               the day on
                                                                                   day on
June 13,
June 13, 2018.
         2018.




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                                                     Very
                                                     Vet), truly yours,
                                                           truly yours,
                                                    Twitter, Inc.
                                                    Twitter, Inc.



                                                     By
                                                     By
                                                          Leslie Berland,
                                                          Leslie Berland, Head
                                                                          Head of
                                                                               of People
                                                                                  People


    II have
       have read,
            read, understood
                  understood and accept all
                             and accept all the
                                            the provisions
                                                provisions of
                                                           of this
                                                              this offer
                                                                   offer of
                                                                         of employment:
                                                                            employment:



Alex Camacho           2018)
     Carnacho (Jun 12, 2014




    Alex Camacho
    Alex Camacho
     12, 2018
 Jun 12,2018

    Date
    Date




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                              DISPUTE RESOLUTION AGREEMENT

This Dispute Resolution Agreement is a contract and covers important issues relating to your
rights. It is your sole responsibility to read it and understand it. You are free to seek assistance
from independent advisors of your choice outside the Company or to refrain from doing so if that
is your choice.

1. How This Agreement Applies

This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a
transaction involving commerce. This Agreement applies to any dispute arising out of or related to
Employee's employment with Twitter, Inc. or one of its affiliates, successor, subsidiaries or parent
companies ("Company") or termination of employment and survives after the employment relationship
terminates. Nothing contained in this Agreement shall be construed to prevent or excuse Employee or the
Company from utilizing the Company's existing internal procedures for resolution of complaints, and this
Agreement is not intended to be a substitute for the utilization of such procedures.

Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that
otherwise would be resolved in a court of law or before a forum other than arbitration. This Agreement
requires all such disputes to be resolved only by an arbitrator through final and binding arbitration and not
by way of court or jury trial. Such disputes include without limitation disputes arising out of or relating to
interpretation or application of this Agreement, including the enforceability, revocability or validity of the
Agreement or any portion of the Agreement.

Except as it otherwise provides, this Agreement also applies, without limitation, to disputes regarding the
employment relationship, trade secrets, unfair competition, compensation, breaks and rest periods,
termination, or harassment and claims arising under the Uniform Trade Secrets Act, Civil Rights Act of
1964, Americans With Disabilities Act, Age Discrimination in Employment Act, Family Medical Leave Act,
Fair Labor Standards Act, Employee Retirement Income Security Act (except for claims for employee
benefits under any benefit plan sponsored by the Company and covered by the Employee Retirement
Income Security Act of 1974 or funded by insurance), Genetic Information Non-Discrimination Act, and
state statutes, if any, addressing the same or similar subject matters, and all other state statutory and
common law claims.

2. Limitations On How This Agreement Applies

This Agreement does not apply to claims for workers compensation, state disability insurance and
unemployment insurance benefits.

Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded
by an administrative agency if applicable law permits access to such an agency notwithstanding the
existence of an agreement to arbitrate. Such administrative claims include without limitation claims or
charges brought before the Equal Employment Opportunity Commission (www.eeoc.gov), the U.S.
Department of Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of
Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing in this Agreement shall be
deemed to preclude or excuse a party from bringing an administrative claim before any agency in order to
fulfill the party's obligation to exhaust administrative remedies before making a claim in arbitration.

Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall
Street Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this
Agreement.
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3. Selecting The Arbitrator

The Arbitrator shall be selected by mutual agreement of the Company and the Employee. Unless the
Employee and Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice
in the location where the arbitration proceeding will be conducted or a retired federal or state judicial
officer who presided in the jurisdiction where the arbitration will be conducted. If for any reason the parties
cannot agree to an Arbitrator, either party may apply to a court of competent jurisdiction with authority
over the location where the arbitration will be conducted for appointment of a neutral Arbitrator. The court
shall then appoint an arbitrator, who shall act under this Agreement with the same force and effect as if
the parties had selected the arbitrator by mutual agreement. The location of the arbitration proceeding
shall be no more than 45 miles from the place where the Employee reported to work for the Company,
unless each party to the arbitration agrees in writing otherwise.

4. Starting The Arbitration

All claims in arbitration are subject to the same statutes of limitation that would apply in court. The party
bringing the claim must demand arbitration in writing and deliver the written demand by hand or first class
mail to the other party within the applicable statute of limitations period. The demand for arbitration shall
include identification of the parties, a statement of the legal and factual basis of the claim(s), and a
specification of the remedy sought. Any demand for arbitration made to the Company shall be provided to
the attention of the Company's Legal Department, Twitter, Inc., 1355 Market Street, Suite 900, San
Francisco, CA 94103. The arbitrator shall resolve all disputes regarding the timeliness or propriety of the
demand for arbitration. A party may apply to a court of competent jurisdiction for temporary or preliminary
injunctive relief in connection with an arbitrable controversy, but only upon the ground that the award to
which that party may be entitled may be rendered ineffectual without such provisional relief.

5. How Arbitration Proceedings Are Conducted

In arbitration, the parties will have the right to conduct adequate civil discovery, bring dispositive motions,
and present witnesses and evidence as needed to present their cases and defenses, and any disputes in
this regard shall be resolved by the Arbitrator.

You and the Company agree to bring any dispute in arbitration on an individual basis only, and
not on a class, collective, or private attorney general representative action basis. Accordingly:

    (a) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
    class action ("Class Action Waiver"). The Class Action Waiver shall not be severable from
    this Agreement in any case in which (1) the dispute is filed as a class action and (2) a civil
    court of competent jurisdiction finds the Class Action Waiver is unenforceable. In such
    instances, the class action must be litigated in a civil court of competent jurisdiction.

    (b) There will be no right or authority for any dispute to be brought, heard or arbitrated as
    a collective action ("Collective Action Waiver"). The Collective Action Waiver shall not be
    severable from this Agreement in any case in which (1) the dispute is filed as a collective
    action and (2) a civil court of competent jurisdiction finds the Collective Action Waiver is
    unenforceable. In such instances, the collective action must be litigated in a civil court of
    competent jurisdiction.

    (c) There will be no right or authority for any dispute to be brought, heard or arbitrated as a
    private attorney general representative action ("Private Attorney General Waiver"). The
    Private Attorney General Waiver shall be severable from this Agreement in any case in
    which a civil court of competent jurisdiction finds the Private Attorney General Waiver is
    unenforceable. In such instances and where the claim is brought as a private attorney
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                              DISPUTE RESOLUTION AGREEMENT

    general, such private attorney general claim must be litigated in a civil court of competent
    jurisdiction.

Although an Employee will not be retaliated against, disciplined or threatened with discipline as a result of
his or her exercising his or her rights under Section 7 of the National Labor Relations Act by the filing of or
participation in a class, collective or representative action in any forum, the Company may lawfully seek
enforcement of this Agreement and the Class Action Waiver, Collective Action Waiver and Private
Attorney General Waiver under the Federal Arbitration Act and seek dismissal of such class, collective or
representative actions or claims. Notwithstanding any other clause contained in this Agreement, any
claim that all or part of the Class Action Waiver, Collective Action Waiver or Private Attorney General
Waiver is invalid, unenforceable, unconscionable, void or voidable may be determined only by a court of
competent jurisdiction and not by an arbitrator.

The Class Action Waiver, Collective Action Waiver and Private Attorney General Waiver shall be
severable in any case in which the dispute is filed as an individual action and severance is necessary to
ensure that the individual action proceeds in arbitration.

6. Paying For The Arbitration

Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
may later be entitled under applicable law. However, in all cases where required by law, the Company will
pay the Arbitrator's and arbitration fees. If under applicable law the Company is not required to pay all of
the Arbitrator's and/or arbitration fees, such fee(s) will be apportioned between the parties in accordance
with said applicable law, and any disputes in that regard will be resolved by the Arbitrator.

7. The Arbitration Hearing And Award

The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding the
conduct of the hearing and resolve any disputes the parties may have in that regard. Within 30 days of
the close of the arbitration hearing, any party will have the right to prepare, serve on the other party and
file with the Arbitrator a brief. The Arbitrator may award any party any remedy to which that party is
entitled under applicable law, but such remedies shall be limited to those that would be available to a
party in his or her individual capacity in a court of law for the claims presented to and decided by the
Arbitrator, and no remedies that otherwise would be available to an individual in a court of law will be
forfeited by virtue of this Agreement. The Arbitrator will issue a decision or award in writing, stating the
essential findings of fact and conclusions of law. Except as may be permitted or required by law, as
determined by the Arbitrator, neither a party nor an Arbitrator may disclose the existence, content, or
results of any arbitration hereunder without the prior written consent of all parties. A court of competent
jurisdiction shall have the authority to enter a judgment upon the award made pursuant to the arbitration.

8. An Employee's Right To Opt Out Of Arbitration

                                               Employee’s employment at the Company, and
Arbitration is not a mandatory condition of Employee's
therefore an Employee may submit a form stating that the Employee wishes to opt out and not be
subject to this Agreement. The Employee must submit a signed and dated statement on a "Dispute
Resolution Agreement Opt Out Form" ("Form") that can be obtained from the Company's Human
                           hr@twitter.com. In order to be effective, the signed and dated Form must be
Resources Department at hr@twittercom.
returned to the Human Resources Department within 30 days of the Employee's receipt of this
Agreement. An Employee who timely opts out as provided in this paragraph will not be subject to any
adverse employment action as a consequence of that decision and may pursue available legal remedies
without regard to this Agreement. Should an Employee not opt out of this Agreement within 30 days of the
Employee's receipt of this Agreement, continuing the Employee's employment constitutes mutual
acceptance of the terms of this Agreement by Employee and the Company. An Employee has the right to
consult with counsel of the Employee's choice concerning this Agreement.
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9. Non-Retaliation

It is against Company policy for any Employee to be subject to retaliation if he or she exercises his or her
right to assert claims under this Agreement. If any Employee believes that he or she has been retaliated
against by anyone at the Company, the Employee should immediately report this to the Human
Resources Department.

10. Enforcement Of This Agreement

This Agreement is the full and complete agreement relating to the formal resolution of employment-
related disputes. Except as stated in paragraph 5, above, in the event any portion of this Agreement is
deemed unenforceable, the remainder of this Agreement will be enforceable. If the Class Action Waiver,
Collective Action Waiver or Private Attorney General Waiver is deemed to be unenforceable, the
Company and Employee agree that this Agreement is otherwise silent as to any party's ability to bring a
class, collective or representative action in arbitration.


AGREED:




Leslie Berland, Head of People

TWITTER, INC.




AGREED:

EMPLOYEE NAME PRINTED            Alex Camacho
                                 ______________________________________




EMPLOYEE SIGNATURE               ______________________________________
                                 Alex Camacho (Jun 12, 2018)




Date:
                                  Jun 12, 2018
                                 ______________________________________
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October 04, 2018
October 04, 2018


Justine De
Justine    Caires
        De Caires
836 Edinburgh St, San Francisco, CA 94112
justine@minerva.kgi.edu
justine@minerva.kgi.edu


Dear Justine,
Dear Justine,

Twitter, Inc.,
Twitter, Inc., aa Delaware
                  Delaware corporation
                           corporation (the
                                       (the “Company”),
                                            "Company"), is
                                                        is pleased
                                                           pleased to
                                                                   to offer you employment
                                                                      offer you employment
on
on the
   the following
       following terms:
                 terms:

1. Position. Your
1. Position. Your job
                  job title will be
                      title will    Software Engineer
                                 be Software Engineer I.
                                                      I. You
                                                         You will
                                                             will report
                                                                  report at
                                                                         at the
                                                                            the start of your
                                                                                start of your
   employment to
   employment    Chiao Dyi,
              to Chiao Dyi, Mgr.,
                            Mgr., Software
                                  Software Engineering. You will
                                           Engineering. You will be
                                                                 be aa regular,
                                                                       regular, full-time
                                                                                full-time
   employee.
   employee.

2. Start Date.
2. Start Date. Your
               Your employment will commence
                    employment will commence on June 10,
                                             on June 10, 2019. You will
                                                         2019. You will be providing
                                                                        be providing
   services
   services from
            from the Company’s San
                 the Company's San Francisco,
                                   Francisco, CA
                                              CA location.
                                                 location. (You
                                                           (You may
                                                                may be required to
                                                                    be required to travel
                                                                                   travel
   as
   as one
      one part
          part of your duties.)
               of your duties.)

3. Cash
3. Cash Compensation
        Compensation.. The
                       The Company
                           Company will
                                   will pay you a
                                        pay you a gross
                                                  gross starting
                                                        starting salary at an
                                                                 salary at an annualized
                                                                              annualized
   rate of
   rate of                                                                         , payable in
                                                                                     payable in
   accordance with
   accordance with the
                   the Company's
                       Company’s standard
                                 standard payroll schedule. This
                                          payroll schedule. This salary will be
                                                                 salary will be subject
                                                                                subject to
                                                                                        to
   adjustment from
   adjustment      time to
              from time to time
                           time in
                                in accordance with the
                                   accordance with the employee
                                                       employee compensation
                                                                compensation policies
                                                                             policies
   then
   then in effect. This
        in effect. This is an exempt
                        is an exempt position, and your
                                     position, and your salary
                                                        salary is intended to
                                                               is intended to cover
                                                                              cover all hours
                                                                                    all hours
   worked.
   worked.

4. Sign-on Bonus.
4. Sign-on Bonus.     Additionally, you
                      Additionally, you are
                                        are eligible
                                            eligible to receive a
                                                     to receive   sign-on bonus
                                                                a sign-on bonus of
                                                                                of
                                  , less applicable taxes,
                                    less applicable taxes, as
                                                           as aa reward
                                                                 reward for joining and
                                                                        for joining     remaining
                                                                                    and remaining
   with the
   with the Company
            Company ("Sign-On
                    (“Sign-On Bonus”). To earn
                              Bonus"). To      the Sign-On
                                          earn the Sign-On Bonus, you must
                                                           Bonus, you must remain
                                                                           remain
   actively employed
   actively employed by
                     by the
                        the Company
                            Company in
                                    in good
                                       good standing
                                            standing for twelve (12)
                                                     for twelve (12) months
                                                                     months after your
                                                                            after your
   start
   start date (“Anniversary Date").
         date ("Anniversary Date”).       If at
                                          If at any time before
                                                any time before your
                                                                your Anniversary
                                                                     Anniversary Date your
                                                                                 Date your
   employment ends
   employment      for any
              ends for any reason, whether voluntary
                           reason, whether voluntary or
                                                     or involuntary, you acknowledge
                                                        involuntary, you acknowledge
   and agree
   and agree that you are
             that you are obligated
                          obligated to repay a
                                    to repay a pro-rata
                                               pro-rata portion
                                                        portion of
                                                                of the
                                                                   the Sign-On
                                                                       Sign-On Bonus upon
                                                                               Bonus upon
   Twitter’s request.
   Twitter's request. You
                      You will
                          will be
                               be paid
                                  paid the
                                       the Sign-On
                                           Sign-On Bonus
                                                   Bonus in
                                                         in aa lump
                                                               lump sum
                                                                    sum at the time
                                                                        at the time of
                                                                                    of your
                                                                                       your
   first
   first payroll
         payroll date, subject to
                 date, subject to repayment
                                  repayment as
                                            as described in this
                                               described in this paragraph.
                                                                 paragraph.
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5. Performance Bonus
5. Performance Bonus Plan
                     Plan .. Performance
                             Performance Bonus
                                         Bonus Plan.
                                               Plan.          You are
                                                              You are eligible
                                                                      eligible to
                                                                               to earn
                                                                                  earn aa
   discretionary
   discretionary performance
                 performance bonus
                             bonus award in accordance
                                   award in            with the
                                            accordance with     Company’s Global
                                                            the Company's Global
   Discretionary Performance
   Discretionary Performance Bonus Plan as
                             Bonus Plan    it may
                                        as it may exist
                                                  exist and/or
                                                        and/or be
                                                               be amended
                                                                  amended from
                                                                          from time
                                                                               time to
                                                                                    to
   time. If your
   time. If your start
                 start date is on
                       date is on or
                                  or before
                                     before September
                                            September 30,
                                                      30, 2019, you are
                                                          2019, you are eligible to
                                                                        eligible to
   participate in the
   participate in the 2019 Global Discretionary
                      2019 Global Discretionary Performance
                                                Performance Bonus Plan. Currently,
                                                            Bonus Plan. Currently, for
                                                                                   for the
                                                                                       the
   2019
   2019 Performance
        Performance Bonus
                    Bonus Plan year, the
                          Plan year, the Performance
                                         Performance Bonus Plan target
                                                     Bonus Plan        for your
                                                                target for your position
                                                                                position
   is 10.00%
   is 10.00% of
             of annual
                annual Base Salary, paid
                       Base Salary, paid pursuant
                                         pursuant to
                                                  to the
                                                     the terms
                                                         terms and
                                                               and conditions in the
                                                                   conditions in the
   applicable Performance
   applicable Performance Bonus
                          Bonus Plan.
                                Plan.

6. Employee Benefits.
6. Employee Benefits. As
                      As a regular employee
                         a regular employee of
                                            of the
                                               the Company,
                                                   Company, you
                                                            you will
                                                                will be
                                                                     be eligible
                                                                        eligible to
                                                                                 to
   participate in Company-sponsored
   participate in Company-sponsored benefits
                                    benefits in
                                             in accordance with the
                                                accordance with the terms of the
                                                                    terms of the
   applicable benefit
   applicable benefit plans.
                      plans.

7. Equity Compensation.
7. Equity               Subject to
          Compensation. Subject to the approval of
                                   the approval    the Compensation
                                                of the Compensation Committee
                                                                    Committee of
                                                                              of the
                                                                                 the
   Company’s Board
   Company's       of Directors
             Board of Directors (or
                                (or an
                                    an authorized
                                       authorized subcommittee), you will
                                                  subcommittee), you will be
                                                                          be granted
                                                                             granted aa
   specified number of
   specified number of restricted
                       restricted stock units of
                                  stock units of the Company ("RSUs").
                                                 the Company (“RSUs”). The
                                                                       The number
                                                                           number of
                                                                                  of RSUs
                                                                                     RSUs
   that
   that are
        are granted
            granted to you, if
                    to you, if approved,
                               approved, will
                                         will be
                                              be determined by dividing
                                                 determined by dividing
                                             by
                                             by the prevailing RSU
                                                the prevailing RSU conversion
                                                                   conversion rate
                                                                              rate in
                                                                                   in effect
                                                                                      effect
   during
   during the month in
          the month in which
                       which your
                             your employment
                                  employment role
                                             role commences under the
                                                  commences under the terms of this
                                                                      terms of this
   offer
   offer letter. (Note: for
         letter. (Note:     the purposes
                        for the purposes of
                                         of RSU
                                            RSU grant under this
                                                grant under this paragraph, your employment
                                                                 paragraph, your employment
   commencement
   commencement date
                date is anticipated to
                     is anticipated to be your Start
                                       be your       Date as
                                               Start Date as set out above,
                                                             set out above, unless
                                                                            unless
   delayed or deferred
   delayed or          for any
              deferred for     reason. In
                           any reason. In the
                                          the event you have
                                              event you have been
                                                             been previously
                                                                  previously engaged
                                                                             engaged by
                                                                                     by
   the
   the Company in any
       Company in any capacity under a
                      capacity under a different
                                       different role
                                                 role or
                                                      or arrangement,
                                                         arrangement, such
                                                                      such prior
                                                                           prior service
                                                                                 service
   will not
   will not count
            count for
                  for the
                      the purposes of your
                          purposes of your RSU
                                           RSU grant).
                                               grant).


   The RSUs
   The      will be
       RSUs will be subject
                    subject to
                            to the
                               the terms
                                   terms of
                                         of the Company’s 2013
                                            the Company's      Equity Incentive
                                                          2013 Equity Incentive Plan
                                                                                Plan and
                                                                                     and
   its form
   its form of
            of RSU agreement (the
               RSU agreement (the "Equity
                                  “Equity Documents”). You will
                                          Documents"). You will vest
                                                                vest in
                                                                     in 25% of the
                                                                        25% of the RSUs
                                                                                   RSUs
   on
   on the
      the first year anniversary
          first year anniversary of
                                 of the
                                    the first
                                        first day of the
                                              day of the month
                                                         month following
                                                               following your
                                                                         your Start
                                                                              Start Date,
                                                                                    Date,
   provided you have
   provided you have continued
                     continued to
                               to provide
                                  provide services
                                          services to the Company
                                                   to the Company until
                                                                  until that
                                                                        that date, and
                                                                             date, and
   the
   the balance will vest
       balance will vest over your next
                         over your next three years of
                                        three years of continuous
                                                       continuous service
                                                                  service with
                                                                          with the Company,
                                                                               the Company,
   as
   as will
      will be further described
           be further described in
                                in the
                                   the equity
                                       equity documents.
                                              documents. Be advised that
                                                         Be advised that the
                                                                         the calculation
                                                                             calculation
   used to
   used to determine
           determine the number of
                     the number of RSUs
                                   RSUs granted
                                        granted is
                                                is determined in the
                                                   determined in the sole
                                                                     sole discretion
                                                                          discretion of
                                                                                     of
   the Company and
   the Company     will not
               and will not correlate
                            correlate to any published
                                      to any published stock
                                                       stock price
                                                             price on your date
                                                                   on your date of hire
                                                                                of hire
   and, furthermore,
   and, furthermore, does not denote,
                     does not         nor can
                              denote, nor     it predict,
                                          can it          the future
                                                 predict, the future value
                                                                     value of
                                                                           of any
                                                                              any RSUs.
                                                                                  RSUs.



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   Stock price
   Stock       are by
         price are    nature volatile,
                   by nature volatile, and
                                       and there
                                           there is no way
                                                 is no way to
                                                           to predict
                                                              predict the value of
                                                                      the value    your future
                                                                                of your future
   shares, if and
   shares, if     when they
              and when they vest.
                            vest.

8. Employee Invention
8. Employee Invention Assignment
                      Assignment and
                                 and Confidentiality Agreement. You
                                     Confidentiality Agreement. You will
                                                                    will be
                                                                         be required,
                                                                            required,
   as
   as aa condition of your
         condition of your employment with the
                           employment with     Company, to
                                           the Company, to sign the Company's
                                                           sign the Company’s standard
                                                                              standard
   Employee Invention
   Employee Invention Assignment
                      Assignment         and
                                         and   Confidentiality Agreement
                                               Confidentiality Agreement      (“Confidentiality
                                                                              ("Confidentiality
   Agreement”). A
   Agreement"). A copy of the
                  copy of the Confidentiality
                              Confidentiality Agreement
                                              Agreement is
                                                        is enclosed with this
                                                           enclosed with      letter.
                                                                         this letter.

9. Employment Relationship.
9. Employment Relationship. Employment
                            Employment with
                                       with the Company is
                                            the Company is for
                                                           for no
                                                               no specific
                                                                  specific period of
                                                                           period of
   time. Your employment
   time. Your            with the
              employment with     Company will
                              the Company will be “at will,"
                                               be "at will,” meaning
                                                             meaning that either you
                                                                     that either you or
                                                                                     or
   the Company may
   the Company may terminate your employment
                   terminate your employment at
                                             at any
                                                any time and for
                                                    time and for any reason, with
                                                                 any reason, with or
                                                                                  or
   without cause.
   without        This is
           cause. This is the
                          the full
                              full and
                                   and complete agreement between
                                       complete agreement         you and
                                                          between you and the Company
                                                                          the Company
   regarding the
   regarding the duration
                 duration of
                          of the
                             the employment relationship. Although
                                 employment relationship. Although your
                                                                   your job
                                                                        job duties,
                                                                            duties, title,
                                                                                    title,
   compensation
   compensation and
                and benefits, as well
                    benefits, as well as
                                      as the Company’s personnel
                                         the Company's personnel policies
                                                                 policies and
                                                                          and procedures
                                                                              procedures
   may change
   may change from time to
              from time to time,
                           time, the “at will”
                                 the "at       nature of
                                         will" nature of your
                                                         your employment, may only
                                                              employment, may only be
                                                                                   be
   changed
   changed through
           through an express written
                   an express written agreement
                                      agreement signed
                                                signed by you and
                                                       by you and the
                                                                  the Company’s
                                                                      Company's Chief
                                                                                Chief
   Executive Officer.
   Executive Officer.

10. Outside
10.         Activities. While
    Outside Activities. While you
                              you render
                                  render services
                                         services to
                                                  to the Company, you
                                                     the Company, you will
                                                                      will not
                                                                           not engage
                                                                               engage in
                                                                                      in
   any other
   any other employment,
             employment, consulting,
                         consulting, or
                                     or other
                                        other business activity that
                                              business activity that would
                                                                     would create
                                                                           create aa conflict
                                                                                     conflict
   of interest
   of          with the
      interest with     Company, which
                    the Company, which includes engaging in
                                       includes engaging in any
                                                            any work
                                                                work that is competitive
                                                                     that is             in
                                                                             competitive in
   nature. While
   nature. While you
                 you render
                     render services to the
                            services to     Company, you
                                        the Company, you also will not
                                                         also will not assist
                                                                       assist any
                                                                              any person
                                                                                  person or
                                                                                         or
   entity in
   entity in competing with the
             competing with     Company, in
                            the Company, in preparing
                                            preparing to
                                                      to compete with the
                                                         compete with the Company,
                                                                          Company, or
                                                                                   or in
                                                                                      in
   hiring any
   hiring any employees
              employees or
                        or consultants of the
                           consultants of the Company. In addition,
                                              Company. In addition, for
                                                                    for a
                                                                        a period
                                                                          period of
                                                                                 of one
                                                                                    one
   (1) year
   (1) year after
            after the
                  the termination
                      termination of
                                  of your
                                     your services, you will
                                          services, you will not
                                                             not solicit either directly
                                                                 solicit either directly or
                                                                                         or
   indirectly, any
   indirectly, any employee
                   employee of
                            of the
                               the Company
                                   Company to leave the
                                           to leave the Company for other
                                                        Company for other employment
                                                                          employment
   or
   or assist any person
      assist any person or entity in
                        or entity in doing
                                     doing the
                                           the same.
                                               same.

11  Acknowledgement re:
11. Acknowledgement re: Compensation. You acknowledge
                        Compensation. You acknowledge and
                                                      and agree
                                                          agree that if during
                                                                that if during the
                                                                               the
   recruiting process,
   recruiting process, to
                       to the
                          the extent you disclosed
                              extent you           your current
                                         disclosed your current or
                                                                or past
                                                                   past salary to Twitter,
                                                                        salary to Twitter, such
                                                                                           such
   disclosure was made
   disclosure was made voluntarily
                       voluntarily and without prompting.
                                   and without prompting. You
                                                          You further acknowledge and
                                                              further acknowledge and
   agree that
   agree      Twitter may
         that Twitter may consider and verify
                          consider and verify any
                                              any such
                                                  such compensation information you've
                                                       compensation information you’ve
   disclosed, including disclosure
   disclosed, including disclosure of
                                   of compensation
                                      compensation that you would
                                                   that you would forfeit
                                                                  forfeit by
                                                                          by leaving your
                                                                             leaving your
   current employment.
   current employment.




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12. Verification
12. Verification of Employability. This
                 of Employability. This offer
                                        offer is
                                              is contingent
                                                 contingent upon your providing
                                                            upon your providing legal
                                                                                legal proof
                                                                                      proof
   of your
   of your identity
           identity and
                    and authorization
                        authorization to work in
                                      to work    the United
                                              in the        States within
                                                     United States within three
                                                                          three (3)
                                                                                (3) days
                                                                                    days of
                                                                                         of
   the
   the commencement
       commencement of your employment.
                    of your employment.

13. Taxes.
13.        All forms
    Taxes. All       of compensation
               forms of compensation that
                                     that are
                                          are subject
                                              subject to income or
                                                      to income or payroll
                                                                   payroll taxes will be
                                                                           taxes will be
   reduced to
   reduced to reflect
              reflect applicable income tax
                      applicable income     withholding and
                                        tax withholding and payroll
                                                            payroll taxes. Any form
                                                                    taxes. Any form of
                                                                                    of
   compensation
   compensation that
                that is
                     is subject
                        subject to
                                to income
                                   income or payroll taxes
                                          or payroll taxes and
                                                           and that
                                                               that is not paid
                                                                    is not paid in
                                                                                in cash will
                                                                                   cash will
   result in
   result in aa reduction
                reduction in
                          in cash
                             cash compensation
                                  compensation to reflect applicable
                                               to reflect applicable income
                                                                     income tax
                                                                            tax withholding
                                                                                withholding
   and payroll
   and payroll taxes.
               taxes.

14. Dispute Resolution.
14. Dispute Resolution. We
                        We sincerely hope that
                           sincerely hope      no dispute
                                          that no         will arise
                                                  dispute will       between us.
                                                               arise between     If a
                                                                             us. If a
   dispute
   dispute should arise, it
           should arise, it can
                            can be
                                be resolved
                                   resolved through
                                            through the Company’s Dispute
                                                    the Company's Dispute Resolution
                                                                          Resolution
   Policy. A
   Policy. A copy
             copy of
                  of the Dispute Resolution
                     the Dispute Resolution Policy
                                            Policy is enclosed with
                                                   is enclosed with this letter.
                                                                    this letter.

15. Entire Agreement
15. Entire Agreement. This
                      This letter
                           letter agreement
                                  agreement supersedes
                                            supersedes and
                                                       and replaces
                                                           replaces any
                                                                    any prior
                                                                        prior agreements,
                                                                              agreements,
   representations or
   representations    understandings, whether
                   or understandings, whether written,
                                              written, oral or implied,
                                                       oral or implied, between you and
                                                                        between you and
   the Company.
   the Company.

Please
Please do not make
       do not make any
                   any change in your
                       change in your present living or
                                      present living or employment
                                                        employment circumstances until all
                                                                   circumstances until all
of the
of the conditions
       conditions to
                  to this
                     this offer,
                          offer, including
                                 including successful
                                           successful completion of the
                                                      completion of the background
                                                                        background check
                                                                                   check
and, if
and, if applicable,
        applicable, acquisition
                    acquisition of
                                of aa visa, have been
                                      visa, have been satisfied. Any questions
                                                      satisfied. Any           regarding your
                                                                     questions regarding your
satisfaction
satisfaction   of
               of   these
                    these   conditions
                            conditions   should
                                         should   be
                                                  be    directed
                                                        directed   to
                                                                   to   Fariha
                                                                        Fariha     Naveed
                                                                                   Naveed   at
                                                                                            at
fnaveed@twitter.com.
fnaveed@twitter.com.

By signing
By         this letter
   signing this letter agreement,
                       agreement, you
                                  you confirm
                                      confirm to
                                              to the
                                                 the Company
                                                     Company that
                                                             that you
                                                                  you have
                                                                      have no
                                                                           no
contractual commitments
contractual commitments or
                        or other
                           other legal
                                 legal obligations
                                       obligations that
                                                   that would
                                                        would prohibit you from
                                                              prohibit you from
performing your duties
performing your duties for
                       for the
                           the Company.
                               Company.

We hope
We hope that you will
        that you will accept
                      accept our
                             our offer
                                 offer to join the
                                       to join the Company.
                                                   Company. To
                                                            To indicate your acceptance
                                                               indicate your acceptance
of this
of      offer, please
   this offer,        initiate the
               please initiate the authorization of your
                                   authorization of your background
                                                         background check,
                                                                    check, and
                                                                           and sign
                                                                               sign and
                                                                                    and date
                                                                                        date
the
the enclosed
    enclosed duplicate original of
             duplicate original of this
                                   this letter agreement, the
                                        letter agreement, the enclosed Confidentiality
                                                              enclosed Confidentiality
Agreement, and
Agreement, and the
               the enclosed
                   enclosed Dispute
                            Dispute Resolution
                                    Resolution Policy and return
                                               Policy and return them
                                                                 them to
                                                                      to Fariha. This
                                                                         Fariha. This
offer
offer will
      will expire if the
           expire if the signed
                         signed documents
                                documents are not returned
                                          are not returned to
                                                           to me
                                                              me by
                                                                 by the end of
                                                                    the end of the
                                                                               the day
                                                                                   day on
                                                                                       on
October 08, 2018.
October 08, 2018.




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                                                      Very
                                                      Vet), truly yours,
                                                            truly yours,
                                                     Twitter, Inc.
                                                     Twitter, Inc.


                                                      By
                                                      By
                                                           Leslie Berland,
                                                           Leslie Berland, Head
                                                                           Head of
                                                                                of People
                                                                                   People


    II have
       have read,
            read, understood
                  understood and accept all
                             and accept all the
                                            the provisions of this
                                                provisions of      offer of
                                                              this offer of employment:
                                                                            employment:




Justine De Calres
           Caires (Oct 7, 2018)




    Justine De
    Justine De Caires
               Caires

  Oct 7, 2018

    Date
    Date




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                              DISPUTE RESOLUTION AGREEMENT

This Dispute Resolution Agreement is a contract and covers important issues relating to your
rights. It is your responsibility to read it and understand it. You are free to seek assistance from
independent advisors of your choice outside the Company or to refrain from doing so if that is your
choice.

1. How This Agreement Applies

This Agreement is governed by the Federal Arbitration Act, 9 U.S.C. § 1 et seq. and evidences a
transaction involving commerce. If the FAA is found not to apply, then this Agreement is enforceable
                                              (“Employee”) are employed at the time you enter into this
under the laws of the state in which you ("Employee")
Agreement. This Agreement applies to any dispute arising out of or related to Employee's employment
with Twitter, Inc. or one of its affiliates, successor, subsidiaries or parent companies ("Company") or
termination of employment, and survives after the employment relationship terminates. It can only be
revoked or modified by a writing, signed by both you and Twitter, Inc.'s
                                                                       Inc.’s Chief Executive Officer, which
specifically states an intent to revoke or modify this Agreement. Nothing contained in this Agreement shall
be construed to prevent or excuse Employee or the Company from using the Company's existing internal
procedures for resolution of complaints.

Disputes covered by this Agreement include, without limitation, disputes arising out of or relating to
interpretation or application of this Agreement, including the enforceability, revocability or validity of the
Agreement or any portion of the Agreement. Except as it otherwise provides, this Agreement also applies,
without limitation, to disputes regarding the employment relationship, terms and conditions of
employment, trade secrets, unfair competition, compensation, breaks and rest periods, termination,
discrimination, harassment, or retaliation, and claims arising under the Uniform Trade Secrets Act, Title
VII of the Civil Rights Act of 1964, Americans With Disabilities Act, Age Discrimination in Employment Act,
Family Medical Leave Act, Fair Labor Standards Act, Employee Retirement Income Security Act (except
for claims for employee benefits under any benefit plan sponsored by the Company and covered by the
Employee Retirement Income Security Act of 1974 or funded by insurance), Genetic Information Non-
Discrimination Act, and state statutes, if any, addressing the same or similar subject matters, all other
state statutory and common law claims, and any other employment-related claim.

Except as it otherwise provides, this Agreement is intended to apply to the resolution of disputes that
otherwise would be resolved in a court of law or before a forum other than arbitration. This Agreement
requires all covered disputes to be resolved only by an arbitrator through final and binding arbitration and
not by way of court or jury trial. By entering into this Agreement, the parties are waiving a trial by
jury.

2. Limitations On How This Agreement Applies

This Agreement does not apply to claims for workers compensation, state disability insurance and
unemployment insurance benefits.

Regardless of any other terms of this Agreement, claims may be brought before and remedies awarded
by an administrative agency if applicable law permits access to such an agency notwithstanding the
existence of an agreement to arbitrate. Such administrative claims include, without limitation, claims or
charges brought before the Equal Employment Opportunity Commission (www.eeoc.gov), the U.S.
Department of Labor (www.dol.gov), the National Labor Relations Board (www.nlrb.gov), or the Office of
Federal Contract Compliance Programs (www.dol.gov/esa/ofccp). Nothing in this Agreement shall be
deemed to preclude or excuse a party from bringing an administrative claim before any agency in order to
fulfill the party's obligation to exhaust administrative remedies before making a claim in arbitration.

Disputes that may not be subject to predispute arbitration agreement as provided by the Dodd-Frank Wall
Street Reform and Consumer Protection Act (Public Law 111-203) are excluded from the coverage of this
Agreement.
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                              DISPUTE RESOLUTION AGREEMENT

3. Selecting The Arbitrator

The Arbitrator shall be selected by mutual agreement of the Company and the Employee. Unless the
Employee and Company mutually agree otherwise, the Arbitrator shall be an attorney licensed to practice
in the state in which the arbitration proceeding will be conducted or a retired federal or state judicial officer
who presided in the state where the arbitration will be conducted. If, however, the parties fail to agree on
an arbitrator within 30 days after the initiation of arbitration, or at the request of either party, the dispute
shall be heard by a neutral arbitrator chosen according to the procedures found in the then-current JAMS
Employment Arbitration Rules and Procedures ("JAMS (“JAMS Rules").
                                                             Rules”). The JAMS Rules may be accessed at:
https://www.jamsadr.com/rules-employment-arbitration/. Alternatively, an Employee may obtain a copy of
the JAMS Rules from Human Resources. The location of the arbitration proceeding shall be no more than
45 miles from the place where the Employee reported to work for the Company, unless each party to the
arbitration agrees in writing otherwise.

4. Starting The Arbitration

All claims in arbitration are subject to the same statutes of limitation that would apply in court. The party
bringing the claim must demand arbitration in writing and deliver the written demand by hand or first class
mail to the other party within the applicable statute of limitations period. The demand for arbitration shall
include identification of the parties, a statement of the legal and factual basis of the claim(s), and a
specification of the remedy sought. Any demand for arbitration made to the Company shall be provided to
the attention of the Company's Legal Department, Twitter, Inc., 1355 Market Street, Suite 900, San
Francisco, CA 94103. The arbitrator shall resolve all disputes regarding the timeliness or propriety of the
demand for arbitration. A party may apply to a court of competent jurisdiction for temporary or preliminary
injunctive relief in connection with an arbitrable controversy, but only upon the ground that the award to
which that party may be entitled may be rendered ineffectual without such provisional relief.

5. How Arbitration Proceedings Are Conducted

Employee and the Company agree to bring any claim in arbitration before Judicial Arbitration and
                    (“JAMS”), pursuant to the then-current JAMS Rules. In arbitration, the parties will
Mediation Services ("JAMS"),
have the right to conduct adequate civil discovery, bring dispositive motions, and present witnesses and
evidence to present their cases and defenses, and any disputes in this regard shall be resolved by the
Arbitrator. Discovery and conduct of the arbitration hearing shall be governed by the JAMS Rules
applicable to discovery and arbitration hearing procedures.

You and the Company agree to bring any dispute in arbitration on an individual basis only, and
not on a class, collective, or private attorney general representative action basis. Employee and the
Company agree that any arbitration will be limited to the claims between Employee and the Company
individually. Employee acknowledges and agrees that Employee and the Company are each waiving the
right to participate as a plaintiff or class member in any purported class action, collective action or
                                      (“Class Action Waiver").
representative action proceeding ("Class             Waiver”). This Class Action Waiver shall not apply to
California Private Attorney General Act claims brought against the Company to the extent a Class Action
Waiver is not legally enforceable as to those claims. Notwithstanding any other provision of this
Agreement or the JAMS Rules, disputes regarding the scope, applicability, enforceability or validity of the
Class Action Waiver may be resolved only by a civil court of competent jurisdiction and not by an
arbitrator. In any case in which: (1) the claim is filed as a class, collective, or representative action and (2)
there is a final judicial determination that the Class Action Waiver is unenforceable as to any claims, the
class, collective, and/or representative action on such claims must be litigated in a civil court of competent
jurisdiction, but the Class Action Waiver shall be enforced in arbitration on an individual basis as to all
other claims to the fullest extent possible and the claims to be litigated in court shall be stayed pending
the completion of the arbitration on the arbitrable claims.
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                              DISPUTE RESOLUTION AGREEMENT

6. Paying For The Arbitration

Each party will pay the fees for his, her or its own attorneys, subject to any remedies to which that party
may later be entitled under applicable law. However, in all cases where required by law, the Company will
pay the Arbitrator's and arbitration fees. If under applicable law the Company is not required to pay all of
the Arbitrator's and/or arbitration fees, such fee(s) will be apportioned between the parties in accordance
with said applicable law, and any disputes in that regard will be resolved by the Arbitrator.

7. The Arbitration Hearing And Award

The parties will arbitrate their dispute before the Arbitrator, who shall confer with the parties regarding the
conduct of the hearing and resolve any disputes the parties may have in that regard. The Arbitrator shall
apply substantive law as applicable to the claims, and may award any party any remedy to which that
party is entitled under applicable law, but such remedies shall be limited to those that would be available
to a party in his or her individual capacity in a court of law for the claims presented to and decided by the
Arbitrator; no remedies that otherwise would be available to an individual in a court of law will be forfeited
by virtue of this Agreement. Unless otherwise agreed by the parties in writing, the Arbitrator will issue a
decision or award in writing, stating the essential findings of fact and conclusions of law, within 30 days
after the date of closing of the arbitration hearing or the completion of post-hearing briefing, whichever is
later. Except as may be permitted or required by law, as determined by the Arbitrator, neither a party nor
an Arbitrator may disclose the existence, content, or results of any arbitration hereunder without the prior
written consent of all parties. A court of competent jurisdiction shall have the authority to enter a judgment
upon the award made pursuant to the arbitration.

8. An Employee's Right To Opt Out Of Arbitration

Arbitration is not a mandatory condition of Employee's
                                               Employee’s employment at the Company, and
therefore an Employee may submit a form stating that the Employee wishes to opt out and not be
subject to this Agreement. The Employee must submit a signed and dated statement on a "Dispute
Resolution Agreement Opt Out Form" ("Form") that can be obtained from the Company's Human
                           hr@twitter.com. In order to be effective, the signed and dated Form must be
Resources Department at hr@twittercom.
returned to the Human Resources Department within 30 days of the Employee's receipt of this
Agreement. An Employee who timely opts out as provided in this paragraph will not be subject to any
adverse employment action as a consequence of that decision and may pursue available legal remedies
without regard to this Agreement. Should an Employee not opt out of this Agreement within 30 days of the
Employee's receipt of this Agreement, continuing the Employee's employment constitutes mutual
acceptance of the terms of this Agreement by Employee and the Company. An Employee has the right to
consult with counsel of the Employee's choice concerning this Agreement.

9. Non-Retaliation

An employee will not be subject to retaliation if he or she exercises his or her right to assert claims under
this Agreement. If any Employee believes that he or she has been retaliated against by anyone at the
Company, the Employee should immediately report this to the Human Resources Department.

10. Enforcement Of This Agreement

This Agreement is the full and complete agreement relating to the formal resolution of covered disputes.
Except as stated in paragraph 5, above, in the event any portion of this Agreement is deemed
unenforceable, the remainder of this Agreement will be enforceable. If the Class Action Waiver, Collective
Action Waiver or Private Attorney General Waiver is deemed to be unenforceable, the Company and
Employee agree that this Agreement is otherwise silent as to any party's ability to bring a class,
collective or representative action in arbitration. Nothing in this Agreement modifies the at-will nature of
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Employee’s employment with the Company.
Employee's


AGREED:




Leslie Berland, Head of People

TWITTER, INC.




AGREED:

EMPLOYEE NAME PRINTED
                                 Justine De Caires
                                 ______________________________________


                                       1.kle.c4.5
EMPLOYEE SIGNATURE               ______________________________________
                                 Justine De Caires (Oct 7, 2018)




Date:
                                  Oct 7, 2018
                                 ______________________________________
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November 18,
November 18, 2019
             2019


Jessica Pan
Jessica Pan
1400 Carpentier
1400 Carpentier St. Apt 402
                St. Apt 402 San
                            San Leandro, CA 94577
                                Leandro, CA 94577
jessica.sj.pan@gmail.com
jessica.sj.pan@gmail.com

Dear Jessica,
Dear Jessica,


Welcome to
Welcome to the
           the Flock! We’re excited
               Flock! We're excited to
                                    to offer
                                       offer you
                                             you employment
                                                 employment with
                                                            with Twitter,
                                                                 Twitter, Inc.
                                                                          Inc. (the
                                                                               (the ‘Company’), on the
                                                                                    'Company'), on the
following terms and
following terms and conditions:
                    conditions:


     1.
     1.       Start Date.
              Start Date. Your
                          Your employment
                               employment will
                                          will commence
                                               commence on
                                                        on December
                                                           December 09,
                                                                    09, 2019 (‘Start Date').
                                                                        2019 (`Start Date’). You
                                                                                             You will
                                                                                                 will be
                                                                                                      be
     providing services from
     providing services      the Company's
                        from the Company’s San Francisco, CA
                                           San Francisco, CA location. Your Start
                                                             location. Your       Date and
                                                                            Start Date and employment
                                                                                           employment are
                                                                                                      are
     subject to
     subject to the
                the conditions
                    conditions set
                               set out
                                   out below, in the
                                       below, in the Conditions
                                                     Conditions on
                                                                on Offer
                                                                   Offer section.
                                                                         section.


     2.
     2.       Position. Your
              Position. Your job
                             job title
                                 title will
                                       will be
                                            be Sr.
                                               Sr. Software Engineer. You
                                                   Software Engineer. You will
                                                                          will report at the
                                                                               report at the start of your
                                                                                             start of your employment
                                                                                                           employment to
                                                                                                                      to
     Chiao-Yen Dyi,
     Chiao-Yen Dyi, Mgr.,
                    Mgr., Software Engineering. You
                          Software Engineering. You will
                                                    will be
                                                         be aa regular,
                                                               regular, full-time employee.
                                                                        full-time employee.

     3.
     3.       Duties. You
              Duties. You will
                          will perform the duties
                               perform the        and have
                                           duties and      the responsibilities
                                                      have the                  and authority
                                                               responsibilities and authority customarily
                                                                                              customarily performed
                                                                                                          performed
     and held
     and held by an employee
              by an employee in
                             in your
                                your position or as
                                     position or as the
                                                    the Company
                                                        Company may otherwise assign
                                                                may otherwise assign to
                                                                                     to you.
                                                                                        you. Depending
                                                                                             Depending on
                                                                                                       on
     the nature
     the        of your
         nature of your role,
                        role, the
                              the Company
                                  Company may
                                          may require
                                              require you
                                                      you to
                                                          to travel
                                                             travel from time to
                                                                    from time to time.
                                                                                 time. Without
                                                                                       Without limiting
                                                                                               limiting your
                                                                                                        your
     obligations to
     obligations to the
                    the Company,
                        Company, during
                                 during your
                                        your employment
                                             employment you
                                                        you must
                                                            must serve the Company
                                                                 serve the Company faithfully and diligently
                                                                                   faithfully and diligently
     to the
     to the best of your
            best of your ability
                         ability and
                                 and perform the duties
                                     perform the duties the
                                                        the Company
                                                            Company assigns
                                                                    assigns to
                                                                            to you
                                                                               you to
                                                                                   to the
                                                                                      the best of your
                                                                                          best of your abilities
                                                                                                       abilities
     and knowledge.
     and knowledge.

     4.
     4.       Hours. Your
              Hours. Your normal
                          normal hours of work
                                 hours of work are
                                               are 40
                                                   40 hours each week,
                                                      hours each week, excluding
                                                                       excluding a
                                                                                 a lunch
                                                                                   lunch break, to be
                                                                                         break, to    worked
                                                                                                   be worked
     primarily
     primarily during the standard
               during the standard business
                                   business hours Monday to
                                            hours Monday to Friday.
                                                            Friday. The
                                                                    The Company
                                                                        Company requires
                                                                                requires flexibility in your
                                                                                         flexibility in your
     working hours,
     working        and you
             hours, and you may
                            may be
                                be required or need
                                   required or      to work
                                               need to      additional hours
                                                       work additional       as necessary
                                                                       hours as necessary for the performance
                                                                                          for the performance
     of your
     of your role. These additional
             role. These additional hours can include
                                    hours can include hours outside normal
                                                      hours outside normal business hours, or
                                                                           business hours, or on
                                                                                              on weekends
                                                                                                 weekends and
                                                                                                          and
     public
     public holidays.
            holidays.

     5.
     5.       Base Compensation.
              Base               The Company
                   Compensation. The Company will
                                             will pay you aa gross
                                                  pay you          starting salary
                                                             gross starting salary at
                                                                                   at an
                                                                                      an annualized
                                                                                         annualized rate of
                                                                                                    rate of
                   USD,
                   USD, payable in accordance
                        payable in accordance with
                                              with the
                                                   the Company's
                                                       Company’s standard
                                                                 standard payroll
                                                                          payroll schedule,
                                                                                  schedule, less applicable
                                                                                            less applicable
     deductions. This
     deductions. This salary
                      salary will
                             will be subject to
                                  be subject to adjustment
                                                adjustment from time to
                                                           from time to time
                                                                        time in
                                                                             in accordance
                                                                                accordance with
                                                                                           with the
                                                                                                the employee
                                                                                                    employee
     compensation policies
     compensation          then in
                  policies then in effect.
                                   effect. This
                                           This is
                                                is an
                                                   an exempt
                                                      exempt position, and your
                                                             position, and your salary
                                                                                salary is
                                                                                       is intended
                                                                                          intended to
                                                                                                   to cover
                                                                                                      cover all
                                                                                                            all
     hours worked.
     hours worked.

     6.
     6.       Performance Bonus
              Performance Bonus Plan.
                                Plan. You
                                      You may
                                          may be eligible to
                                              be eligible to earn
                                                             earn a discretionary performance
                                                                  a discretionary performance bonus award in
                                                                                              bonus award in
     accordance with
     accordance with the
                     the Company's
                         Company’s discretionary
                                   discretionary Performance
                                                 Performance Bonus
                                                             Bonus Plan
                                                                   Plan as
                                                                        as it
                                                                           it may
                                                                              may exist
                                                                                  exist and/or
                                                                                        and/or be amended
                                                                                               be amended
     from time to
     from time to time.
                  time. For
                        For the
                            the current
                                current Performance
                                        Performance Bonus Plan year,
                                                    Bonus Plan year, the
                                                                     the Performance
                                                                         Performance Bonus Plan target
                                                                                     Bonus Plan target for your
                                                                                                       for your
     position
     position is
              is 20% of annual
                 20% of annual eligible
                               eligible earnings,
                                        earnings, paid
                                                  paid pursuant to the
                                                       pursuant to the terms
                                                                       terms and
                                                                             and conditions
                                                                                 conditions in
                                                                                            in the
                                                                                               the Performance
                                                                                                   Performance
     Bonus Plan.
     Bonus Plan.




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     7.
     7.       Equity Compensation.
              Equity Compensation. Subject to the
                                   Subject to the approval
                                                  approval of
                                                           of the
                                                              the Compensation
                                                                  Compensation Committee
                                                                               Committee of
                                                                                         of the
                                                                                            the Company's
                                                                                                Company’s
     Board of
     Board of Directors (or an
              Directors (or an authorized
                               authorized subcommittee),
                                          subcommittee), you
                                                         you will
                                                             will be
                                                                  be granted
                                                                     granted aa specified
                                                                                specified number
                                                                                          number of
                                                                                                 of restricted
                                                                                                    restricted
     stock units
     stock units of
                 of the
                    the Company
                        Company (`RSUs').
                                (‘RSUs’). The
                                          The number of RSUs
                                              number of      that are
                                                        RSUs that are granted
                                                                      granted to
                                                                              to you,
                                                                                 you, if
                                                                                      if approved,
                                                                                         approved, will
                                                                                                   will be
                                                                                                        be
     determined by
     determined by dividing
                   dividing                  USD
                                             USD by the prevailing
                                                 by the            RSU conversion
                                                        prevailing RSU conversion rate in effect
                                                                                  rate in effect during the month
                                                                                                 during the       in
                                                                                                            month in
     which your
     which your employment
                employment role
                           role commences
                                commences under
                                          under the
                                                the terms
                                                    terms of
                                                          of this
                                                             this offer
                                                                  offer letter. (Note: for
                                                                        letter. (Note:     the purposes
                                                                                       for the          of the
                                                                                               purposes of the
     RSU grant
     RSU grant under
               under this
                     this paragraph, your employment
                          paragraph, your employment commencement
                                                     commencement date
                                                                  date is
                                                                       is anticipated
                                                                          anticipated to
                                                                                      to be your Start
                                                                                         be your       Date
                                                                                                 Start Date
     as set
     as     out above,
        set out above, unless
                       unless delayed or deferred
                              delayed or deferred for any reason.
                                                  for any         In the
                                                          reason. In the event
                                                                         event you
                                                                               you have
                                                                                   have been
                                                                                        been previously engaged
                                                                                             previously engaged
     by the Company
     by the Company in
                    in any
                       any capacity
                           capacity under
                                    under aa different
                                             different role or arrangement,
                                                       role or arrangement, such
                                                                            such prior
                                                                                 prior service
                                                                                       service will not count
                                                                                               will not count for
                                                                                                              for
     the purposes
     the          of your
         purposes of your RSU
                          RSU grant).
                              grant).


     The RSUs
     The RSUs will
              will be subject to
                   be subject to the
                                 the terms
                                     terms of
                                           of the
                                              the Company's
                                                  Company’s 2013 Equity Incentive
                                                            2013 Equity Incentive Plan and its
                                                                                  Plan and its form
                                                                                               form of
                                                                                                    of RSU
                                                                                                       RSU
     agreement (the
     agreement (the ‘Equity Documents’). You
                    `Equity Documents'). You will
                                             will vest
                                                  vest in
                                                       in 25% of the
                                                          25% of the RSUs on the
                                                                     RSUs on the first year anniversary
                                                                                 first year anniversary of
                                                                                                        of the
                                                                                                           the
     first
     first day of the
           day of the month
                      month following
                            following your
                                      your Start Date, provided
                                           Start Date,          you have
                                                       provided you      continued to
                                                                    have continued to provide services to
                                                                                      provide services to the
                                                                                                          the
     Company until
     Company until that
                   that date, and over
                        date, and over your
                                       your next three years
                                            next three years of
                                                             of continuous
                                                                continuous service
                                                                           service with
                                                                                   with the
                                                                                        the Company
                                                                                            Company you
                                                                                                    you will
                                                                                                        will
     vest 6.25%
     vest 6.25% per
                per quarter, as will
                    quarter, as will be further described
                                     be further described in
                                                          in the
                                                             the Equity
                                                                 Equity Documents.
                                                                        Documents. Be advised that
                                                                                   Be advised that the
                                                                                                   the calculation
                                                                                                       calculation
     used to
     used to determine
             determine the
                       the number of RSUs
                           number of RSUs granted is determined
                                          granted is            in the
                                                     determined in the sole
                                                                       sole discretion
                                                                            discretion of
                                                                                       of the
                                                                                          the Company
                                                                                              Company and
                                                                                                      and
     will not
     will not correlate to any
              correlate to any published
                               published stock
                                         stock price on your
                                               price on your date of hire
                                                             date of      and, furthermore,
                                                                     hire and, furthermore, does
                                                                                            does not denote, nor
                                                                                                 not denote, nor
     can it
     can it predict, the future
            predict, the future value
                                value of
                                      of any
                                         any RSUs.
                                             RSUs. Stock
                                                   Stock price are by
                                                         price are by nature volatile, and
                                                                      nature volatile, and there
                                                                                           there is
                                                                                                 is no
                                                                                                    no way to predict
                                                                                                       way to predict
     the value
     the       of your
         value of your future shares, if
                       future shares, if and
                                         and when
                                             when they
                                                  they vest.
                                                       vest.

     8.
     8.       Employee Benefits.
              Employee Benefits. As
                                 As aa regular employee of
                                       regular employee of the
                                                           the Company,
                                                               Company, you
                                                                        you will
                                                                            will be eligible to
                                                                                 be eligible to participate in
                                                                                                participate in
     Company-sponsored benefits
     Company-sponsored          in accordance
                       benefits in accordance with
                                              with the
                                                   the terms
                                                       terms of
                                                             of the
                                                                the applicable
                                                                    applicable benefit
                                                                               benefit plans. The Company
                                                                                       plans. The Company
     may
     may replace,
         replace, change or cease
                  change or cease providing these benefits
                                  providing these          and remuneration
                                                  benefits and              and the
                                                               remuneration and the terms
                                                                                    terms on
                                                                                          on which they are
                                                                                             which they are
     provided at any
     provided at any time
                     time at
                          at its
                             its discretion.
                                 discretion.

     9.
     9.       Conditions
              Conditions on
                         on this
                            this Offer. This offer
                                 Offer. This offer of
                                                   of employment
                                                      employment and
                                                                 and your
                                                                     your commencement
                                                                          commencement of
                                                                                       of employment
                                                                                          employment with
                                                                                                     with the
                                                                                                          the
     Company is
     Company    conditioned upon:
             is conditioned upon:


              a)
              a)   Your providing
                   Your           legal proof
                        providing legal       of your
                                        proof of your identity
                                                      identity and
                                                               and authorization
                                                                   authorization to
                                                                                 to work
                                                                                    work in
                                                                                         in the
                                                                                            the United
                                                                                                United States within
                                                                                                       States within
                   three days
                   three days of
                              of the
                                 the commencement
                                     commencement of
                                                  of your
                                                     your employment.
                                                          employment.


              b)
              b)   Your signing
                   Your         of the
                        signing of the Company's
                                       Company’s standard
                                                 standard Employee
                                                          Employee Invention
                                                                   Invention Assignment
                                                                             Assignment and
                                                                                        and Confidentiality
                                                                                            Confidentiality
                   Agreement ('Confidentiality
                   Agreement (‘Confidentiality Agreement'),
                                               Agreement’), which includes restrictions
                                                            which includes restrictions on
                                                                                        on your
                                                                                           your ability
                                                                                                ability to
                                                                                                        to engage
                                                                                                           engage in
                                                                                                                  in
                   outside activities,
                   outside activities, and
                                       and other
                                           other restrictions
                                                 restrictions during and following
                                                              during and           your employment,
                                                                         following your employment, as
                                                                                                    as described in the
                                                                                                       described in the
                   Confidentiality Agreement,
                   Confidentiality Agreement, and
                                              and the
                                                  the Company's
                                                      Company’s approval
                                                                approval of
                                                                         of such
                                                                            such outside
                                                                                 outside activities.
                                                                                         activities. A
                                                                                                     A copy
                                                                                                       copy of
                                                                                                            of the
                                                                                                               the
                   Confidentiality Agreement
                   Confidentiality Agreement is
                                             is enclosed
                                                enclosed with this letter.
                                                         with this letter.

              c)
              c)   Your disclosure,
                   Your             and resolution
                        disclosure, and resolution to
                                                   to the
                                                      the satisfaction
                                                          satisfaction of
                                                                       of the
                                                                          the Company,
                                                                              Company, of
                                                                                       of any
                                                                                          any contractual
                                                                                              contractual commitments
                                                                                                          commitments
                   or legal
                   or       obligations that
                      legal obligations that would
                                             would prohibit,
                                                   prohibit, restrict or interfere
                                                             restrict or interfere with your ability
                                                                                   with your ability to
                                                                                                     to perform your duties
                                                                                                        perform your duties
                   for the Company.
                   for the Company.


              d) Your
              d) Your successful
                      successful completion of aa background
                                 completion of    background check
                                                             check regarding your employment
                                                                   regarding your employment experience,
                                                                                             experience,
                   educational credentials,
                   educational credentials, criminal
                                            criminal history and the
                                                     history and the like. This offer
                                                                     like. This offer may
                                                                                      may be withdrawn in
                                                                                          be withdrawn in the
                                                                                                          the sole
                                                                                                              sole



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                discretion of
                discretion of the
                              the Company
                                  Company based on its
                                          based on its review of the
                                                       review of the background check results.
                                                                     background check          Your acceptance
                                                                                      results. Your acceptance of
                                                                                                               of
                this offer
                this offer of
                           of employment
                              employment will
                                         will be
                                              be complete
                                                 complete when you have
                                                          when you      initiated authorization
                                                                   have initiated authorization to
                                                                                                to perform
                                                                                                   perform aa
                background check, as
                background check, as instructed
                                     instructed by our Human
                                                by our       Resources Department.
                                                       Human Resources Department.


     10. Acknowledgement re:
     10. Acknowledgement re: Compensation. You acknowledge
                             Compensation. You acknowledge and
                                                           and agree
                                                               agree that
                                                                     that if
                                                                          if during the recruiting
                                                                             during the recruiting
     process you disclosed
     process you disclosed your
                           your current
                                current or
                                        or past salary to
                                           past salary to Twitter,
                                                          Twitter, such
                                                                   such disclosure was made
                                                                        disclosure was made voluntarily
                                                                                            voluntarily and
                                                                                                        and
     without prompting.
     without            You further
             prompting. You further acknowledge
                                    acknowledge and
                                                and agree
                                                    agree that
                                                          that Twitter
                                                               Twitter may consider and
                                                                       may consider and verify
                                                                                        verify any
                                                                                               any such
                                                                                                   such
     compensation information
     compensation information you've
                              you’ve disclosed, including disclosure
                                     disclosed, including disclosure of
                                                                     of compensation
                                                                        compensation that
                                                                                     that you
                                                                                          you would
                                                                                              would forfeit
                                                                                                    forfeit by
                                                                                                            by
     leaving your current
     leaving your         employment.
                  current employment.

     11. Taxes.
     11.        All forms
         Taxes. All       of compensation
                    forms of compensation that
                                          that are
                                               are subject
                                                   subject to
                                                           to income
                                                              income or
                                                                     or payroll taxes will
                                                                        payroll taxes will be
                                                                                           be reduced to reflect
                                                                                              reduced to reflect
     applicable income
     applicable income tax
                       tax withholding
                           withholding and
                                       and payroll taxes. Any
                                           payroll taxes. Any form
                                                              form of
                                                                   of compensation that is
                                                                      compensation that is subject
                                                                                           subject to
                                                                                                   to income
                                                                                                      income or
                                                                                                             or
     payroll taxes and
     payroll taxes and that
                       that is
                            is not
                               not paid in cash
                                   paid in cash will
                                                will result in aa reduction
                                                     result in              in cash
                                                                  reduction in      compensation to
                                                                               cash compensation to reflect applicable
                                                                                                    reflect applicable
     income tax
     income tax withholding
                withholding and
                            and payroll taxes.
                                payroll taxes.

     12. Outside
     12.         Activities. While
         Outside Activities. While you
                                   you render services to
                                       render services to the
                                                          the Company,
                                                              Company, you
                                                                       you will
                                                                           will not engage in
                                                                                not engage in any
                                                                                              any other
                                                                                                  other
     employment, consulting,
     employment,             or other
                 consulting, or other business activity that
                                      business activity that would
                                                             would create
                                                                   create aa conflict of interest
                                                                             conflict of interest with
                                                                                                  with the
                                                                                                       the Company,
                                                                                                           Company,
     which includes
     which includes engaging
                    engaging in
                             in any
                                any work
                                    work that
                                         that is
                                              is competitive in nature.
                                                 competitive in         While you
                                                                nature. While you render
                                                                                  render services to the
                                                                                         services to the
     Company, you
     Company, you also
                  also will
                       will not
                            not assist
                                assist any
                                       any person or entity
                                           person or entity in
                                                            in competing with the
                                                               competing with the Company,
                                                                                  Company, in
                                                                                           in preparing to
                                                                                              preparing to
     compete with
     compete      the Company,
             with the Company, or
                               or in
                                  in hiring any employees
                                     hiring any employees or
                                                          or consultants
                                                             consultants of
                                                                         of the
                                                                            the Company.
                                                                                Company.


     13. Employment Relationship.
     13. Employment Relationship. Employment
                                  Employment with the Company
                                             with the Company is
                                                              is for no specific
                                                                 for no specific period of time.
                                                                                 period of time. Your
                                                                                                 Your
     employment with
     employment with the
                     the Company
                         Company will
                                 will be     will,” meaning
                                         “at will,"
                                      be "at                that either
                                                    meaning that either you
                                                                        you or
                                                                            or the
                                                                               the Company
                                                                                   Company may terminate
                                                                                           may terminate
     your employment
     your employment at
                     at any
                        any time
                            time and
                                 and for any reason,
                                     for any         with or
                                             reason, with or without
                                                             without cause. This is
                                                                     cause. This    the full
                                                                                 is the      and complete
                                                                                        full and complete
     agreement between
     agreement         you and
               between you and the
                               the Company
                                   Company regarding the duration
                                           regarding the duration of
                                                                  of the
                                                                     the employment
                                                                         employment relationship.
                                                                                    relationship.
     Although your
     Although your job
                   job duties,
                       duties, title,
                               title, compensation
                                      compensation and
                                                   and benefits, as well
                                                       benefits, as well as
                                                                         as the
                                                                            the Company's
                                                                                Company’s personnel
                                                                                          personnel policies and
                                                                                                    policies and
     procedures
     procedures may change from
                may change      time to
                           from time to time,
                                        time, the
                                              the "at will” nature
                                                  “at will"        of your
                                                            nature of your employment,
                                                                           employment, may only be
                                                                                       may only be changed
                                                                                                   changed
     through an
     through an express written agreement
                express written agreement signed
                                          signed by you and
                                                 by you and the
                                                            the Company's
                                                                Company’s Chief
                                                                          Chief Executive
                                                                                Executive Officer.
                                                                                          Officer.


     14. Dispute Resolution.
     14. Dispute Resolution. We
                             We sincerely
                                sincerely hope that no
                                          hope that    dispute will
                                                    no dispute will arise
                                                                    arise between us. If
                                                                          between us. If aa dispute should arise,
                                                                                            dispute should arise,
     it will
     it will be
             be resolved through the
                resolved through the Company's
                                     Company’s Dispute
                                               Dispute Resolution
                                                       Resolution Agreement,
                                                                  Agreement, unless
                                                                             unless you
                                                                                    you choose
                                                                                        choose to
                                                                                               to opt-out
                                                                                                  opt-out of
                                                                                                          of
     the same
     the same pursuant to its
              pursuant to its terms.
                              terms. A
                                     A copy
                                       copy of
                                            of the
                                               the Dispute
                                                   Dispute Resolution
                                                           Resolution Agreement
                                                                      Agreement is
                                                                                is enclosed
                                                                                   enclosed with
                                                                                            with this
                                                                                                 this letter.
                                                                                                      letter.


     15. Entire Agreement
     15. Entire Agreement. This
                           This letter agreement supersedes
                                letter agreement supersedes and
                                                            and replaces any prior
                                                                replaces any       agreements,
                                                                             prior agreements,
     representations or understandings,
     representations or understandings, whether
                                        whether written,
                                                written, oral or implied,
                                                         oral or implied, between you and
                                                                          between you and the
                                                                                          the Company.
                                                                                              Company.


Please do
Please do not
          not make any change
              make any        in your
                       change in your present
                                      present living or employment
                                              living or employment circumstances
                                                                   circumstances until
                                                                                 until all
                                                                                       all of
                                                                                           of the
                                                                                              the conditions
                                                                                                  conditions to
                                                                                                             to
this offer
this offer have
           have been satisfied. To
                been satisfied. To accept
                                   accept this
                                          this offer,
                                               offer, please initiate the
                                                      please initiate the authorization
                                                                          authorization of
                                                                                        of your
                                                                                           your background check,
                                                                                                background check,
and sign
and      and date
    sign and      this offer
             date this offer letter, and the
                             letter, and the other
                                             other documents
                                                   documents enclosed
                                                             enclosed with
                                                                      with this
                                                                           this letter
                                                                                letter (including
                                                                                       (including the
                                                                                                  the
Confidentiality Agreement
Confidentiality Agreement and
                          and Dispute
                              Dispute Resolution
                                      Resolution Agreement)
                                                 Agreement) and
                                                            and return them via
                                                                return them via Adobesign.
                                                                                Adobesign. This
                                                                                           This offer
                                                                                                offer will
                                                                                                      will
expire if
expire if the
          the signed
              signed documents are not
                     documents are not returned
                                       returned by
                                                by November
                                                   November 20,
                                                            20, 2019.
                                                                2019.

We’re excited
We're excited to
              to welcome you to
                 welcome you to Twitter!
                                Twitter!



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   Sincerely,
   Sincerely,


   Twitter, Inc.
   Twitter, Inc.




   By
   By
          Leslie
          Leslie Berland
                 Berland
          Head of
          Head of People
                  People


   By
   By signing
      signing below,
              below, II acknowledge
                        acknowledge and
                                    and agree
                                        agree that
                                              that II have
                                                      have read, understood and
                                                           read, understood and accept
                                                                                accept all
                                                                                       all the
                                                                                           the provisions of this
                                                                                               provisions of this
   offer of
   offer of employment:
            employment:

 Jessica Pan
leffeiceir Pam.              _
Jessica Pan (Nov 18, 2019)
            (Nov18,2019)


    Jessica Pan
    Jessica Pan

  Nov 18, 2019

   Date
   Date




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                                         DISPUTE RESOLUTION
                                         DISPUTE RESOLUTION AGREEMENT
                                                            AGREEMENT


This Dispute
This Dispute Resolution
             Resolution Agreement
                          Agreement isis a
                                         a contract
                                            contract and
                                                       and covers
                                                           covers important
                                                                   important issues
                                                                                issues relating
                                                                                       relating to
                                                                                                to your
                                                                                                   your rights.
                                                                                                        rights. It
                                                                                                                It is
                                                                                                                   is
your responsibility
your responsibility to
                    to read
                       read it
                            it and
                               and understand
                                   understand it.it. You
                                                     You are
                                                         are free
                                                             free to
                                                                  to seek
                                                                       seek assistance
                                                                             assistance from
                                                                                         from independent
                                                                                              independent advisors
                                                                                                            advisors of
                                                                                                                      of
your choice
your choice outside
            outside the
                     the Company
                         Company or or to
                                       to refrain
                                           refrain from
                                                    from doing  so if
                                                         doing so   if that
                                                                       that is
                                                                            is your
                                                                               your choice.
                                                                                    choice.

You can
You can choose
        choose to
               to opt
                  opt out
                      out of
                          of this
                             this Agreement
                                  Agreement -– you
                                               you have
                                                   have 30
                                                        30 days
                                                           days to
                                                                to opt
                                                                   opt out.
                                                                       out.


1. How
1. How This
       This Agreement
            Agreement Applies
                      Applies
This Agreement
This  Agreement isis governed
                     governed by   by the
                                      the Federal
                                            Federal Arbitration
                                                     Arbitration Act,
                                                                  Act, 99 U.S.C.
                                                                          U.S.C. § §11 et
                                                                                       et seq.
                                                                                          seq. and
                                                                                                and evidences
                                                                                                     evidences a   a transaction
                                                                                                                     transaction
involving commerce.
involving  commerce. If  If the
                            the FAA
                                 FAA is
                                      is found
                                          found not
                                                 not to
                                                      to apply,
                                                         apply, then
                                                                 then this
                                                                       this Agreement
                                                                            Agreement is  is enforceable
                                                                                             enforceable under
                                                                                                            under the
                                                                                                                    the laws
                                                                                                                        laws of
                                                                                                                              of the
                                                                                                                                 the state
                                                                                                                                       state
in which
in which you
          you ("Employee")
               (“Employee”) are  are employed
                                     employed at  at the
                                                     the time
                                                          time you
                                                                you enter
                                                                     enter into
                                                                           into this
                                                                                 this Agreement.
                                                                                      Agreement. This
                                                                                                    This Agreement
                                                                                                          Agreement applies
                                                                                                                         applies to
                                                                                                                                  to any
                                                                                                                                     any
dispute arising
dispute  arising out
                 out of
                      of or
                          or related
                              related to
                                       to Employee's
                                           Employee's employment
                                                         employment withwith Twitter,
                                                                              Twitter, Inc.
                                                                                        Inc. or
                                                                                             or one
                                                                                                 one of
                                                                                                     of its
                                                                                                        its affiliates,
                                                                                                            affiliates, successor,
                                                                                                                        successor,
subsidiaries or
subsidiaries  or parent
                 parent companies
                          companies ("Company")
                                         ("Company") or  or termination
                                                             termination ofof employment,
                                                                              employment, and and survives
                                                                                                   survives after
                                                                                                              after the
                                                                                                                     the employment
                                                                                                                          employment
relationship terminates.
relationship  terminates. It It can
                                can only
                                    only bebe revoked
                                               revoked oror modified
                                                            modified byby aa writing,
                                                                             writing, signed
                                                                                       signed by
                                                                                               by both
                                                                                                   both you
                                                                                                         you and
                                                                                                              and Twitter,
                                                                                                                    Twitter, Inc.'s
                                                                                                                             Inc.’s Chief
                                                                                                                                      Chief
Executive Officer,
Executive   Officer, which
                     which specifically
                               specifically states
                                             states an
                                                    an intent
                                                        intent to
                                                                to revoke
                                                                   revoke or
                                                                           or modify
                                                                               modify this
                                                                                        this Agreement.
                                                                                             Agreement. Nothing
                                                                                                           Nothing contained
                                                                                                                      contained in in this
                                                                                                                                      this
Agreement shall
Agreement    shall be
                   be construed
                       construed to  to prevent
                                         prevent or
                                                  or excuse
                                                      excuse Employee
                                                               Employee or or the
                                                                               the Company
                                                                                   Company from from using
                                                                                                     using the
                                                                                                             the Company's
                                                                                                                   Company's existing
                                                                                                                                existing
internal procedures
internal procedures forfor resolution
                            resolution ofof complaints.
                                             complaints.

Disputes covered
Disputes   covered by by this
                           this Agreement
                                Agreement include,
                                              include, without
                                                        without limitation,
                                                                 limitation, disputes     arising out
                                                                                disputes arising   out of
                                                                                                        of or
                                                                                                           or relating
                                                                                                              relating to
                                                                                                                       to interpretation
                                                                                                                          interpretation oror
application of
application   of this
                 this Agreement,
                      Agreement, including
                                      including the
                                                  the enforceability,
                                                      enforceability, revocability
                                                                        revocability or or validity
                                                                                           validity of
                                                                                                    of the
                                                                                                       the Agreement
                                                                                                            Agreement or or any
                                                                                                                             any portion
                                                                                                                                  portion of
                                                                                                                                           of
the Agreement.
the Agreement. Except
                   Except as  as it
                                 it otherwise
                                    otherwise provides
                                                provides or
                                                          or required
                                                             required by  by law,
                                                                              law, this
                                                                                    this Agreement
                                                                                         Agreement also
                                                                                                      also applies,
                                                                                                            applies, without
                                                                                                                      without limitation,
                                                                                                                                limitation, to
                                                                                                                                            to
disputes   regarding the
disputes regarding      the employment
                             employment relationship,
                                             relationship, terms
                                                           terms andand conditions
                                                                          conditions of of employment,
                                                                                           employment, trade
                                                                                                           trade secrets,
                                                                                                                  secrets, unfair
                                                                                                                            unfair
competition, compensation,
competition,   compensation, breaks breaks and
                                             and rest
                                                  rest periods,
                                                       periods, termination,
                                                                 termination, discrimination,       harassment, or
                                                                                   discrimination, harassment,      or retaliation,
                                                                                                                       retaliation, and
                                                                                                                                     and
claims arising
claims  arising under
                 under thethe Uniform
                               Uniform Trade
                                         Trade Secrets
                                                 Secrets Act,
                                                          Act, Title
                                                               Title VII
                                                                       VII of
                                                                           of the
                                                                              the Civil
                                                                                   Civil Rights
                                                                                         Rights Act
                                                                                                 Act of
                                                                                                     of 1964,
                                                                                                         1964, Americans
                                                                                                                Americans WithWith
Disabilities Act,
Disabilities  Act, Age
                   Age Discrimination
                          Discrimination in in Employment
                                               Employment Act,Act, Family
                                                                     Family Medical      Leave Act,
                                                                              Medical Leave     Act, Fair
                                                                                                     Fair Labor
                                                                                                           Labor Standards
                                                                                                                   Standards Act,
                                                                                                                                Act,
Employee Retirement
Employee     Retirement Income
                            Income Security
                                      Security Act
                                                Act (except
                                                     (except for
                                                              for claims
                                                                   claims for
                                                                            for employee
                                                                                 employee benefits
                                                                                            benefits under
                                                                                                       under any
                                                                                                               any benefit
                                                                                                                    benefit plan
                                                                                                                             plan
sponsored by
sponsored    by the
                 the Company
                      Company and   and covered
                                         covered byby the
                                                       the Employee
                                                           Employee Retirement
                                                                         Retirement Income
                                                                                        Income Security
                                                                                                 Security Act
                                                                                                            Act of
                                                                                                                of 1974
                                                                                                                    1974 or
                                                                                                                          or funded
                                                                                                                              funded byby
insurance), Genetic
insurance),   Genetic Information
                         Information Non-Discrimination
                                        Non-Discrimination Act,Act, and
                                                                      and state
                                                                           state statutes,
                                                                                   statutes, if
                                                                                             if any,
                                                                                                any, addressing
                                                                                                     addressing the the same
                                                                                                                        same or or similar
                                                                                                                                   similar
subject matters,
subject  matters, all
                    all other
                        other state
                                state statutory
                                       statutory and
                                                  and common
                                                       common law  law claims,
                                                                        claims, and
                                                                                  and any
                                                                                        any other
                                                                                            other employment-related
                                                                                                   employment-related claim.claim.

Except as
Except   as it
             it otherwise
                otherwise provides,
                             provides, this
                                        this Agreement
                                             Agreement is  is intended
                                                              intended toto apply
                                                                            apply toto the
                                                                                       the resolution
                                                                                            resolution of
                                                                                                       of disputes that otherwise
                                                                                                          disputes that otherwise
would be
would   be resolved
            resolved in in a
                           a court
                             court of
                                   of law
                                      law or
                                           or before
                                              before a a forum
                                                         forum other
                                                                  other than
                                                                        than arbitration.
                                                                              arbitration. This
                                                                                             This Agreement
                                                                                                  Agreement requires
                                                                                                              requires all
                                                                                                                       all covered
                                                                                                                           covered
disputes
disputes toto be
               be resolved
                   resolved only
                              only by
                                   by an
                                       an arbitrator
                                           arbitrator through
                                                      through final
                                                                 final and
                                                                       and binding
                                                                            binding arbitration
                                                                                      arbitration and
                                                                                                  and not
                                                                                                       not by
                                                                                                           by way
                                                                                                              way of
                                                                                                                   of court
                                                                                                                      court or
                                                                                                                             or jury
                                                                                                                                jury
       By entering
trial. By
trial.    entering into
                      into this
                            this Agreement,
                                 Agreement, the  the parties
                                                     parties areare waiving
                                                                    waiving a  a trial
                                                                                 trial by
                                                                                       by jury.
                                                                                           jury.

2. Limitations
2. Limitations On
               On How
                  How This
                      This Agreement
                           Agreement Applies
                                     Applies
This Agreement
This Agreement does  not apply
                does not apply to
                               to claims
                                  claims for
                                         for workers
                                             workers compensation,
                                                     compensation, state
                                                                   state disability insurance and
                                                                         disability insurance and unemployment
                                                                                                  unemployment
insurance benefits.
insurance benefits.

Regardless of
Regardless  of any
               any other
                   other terms
                          terms of
                                 of this
                                    this Agreement,
                                          Agreement, claims
                                                        claims maymay be
                                                                       be brought
                                                                           brought before
                                                                                    before and
                                                                                            and remedies
                                                                                                 remedies awarded
                                                                                                            awarded byby an
                                                                                                                          an
administrative agency
administrative agency if
                       if applicable
                          applicable law
                                       law permits
                                           permits access
                                                     access to  to such
                                                                   such an
                                                                         an agency
                                                                            agency notwithstanding
                                                                                     notwithstanding the
                                                                                                       the existence
                                                                                                            existence of
                                                                                                                       of an
                                                                                                                          an
agreement to
agreement  to arbitrate.
              arbitrate. Such
                         Such administrative
                                administrative claims
                                                 claims include,
                                                          include, without
                                                                     without limitation,
                                                                             limitation, claims
                                                                                         claims or
                                                                                                 or charges
                                                                                                    charges brought
                                                                                                             brought before
                                                                                                                      before the
                                                                                                                              the
Equal Employment
Equal Employment Opportunity
                    Opportunity Commission
                                   Commission (www.eeoc.gov)
                                                  (www.eeoc.gov) the   the U.S.
                                                                            U.S. Department
                                                                                 Department of of Labor
                                                                                                  Labor (www.dol.gov)
                                                                                                         (www.dol.gov) thethe
National Labor
National Labor Relations
                Relations Board
                           Board (www.nlrb.gov),
                                   (www.nlrb.gov), or or the
                                                         the Office
                                                               Office of
                                                                      of Federal
                                                                          Federal Contract
                                                                                  Contract Compliance
                                                                                             Compliance Programs
                                                                                                           Programs
(www.dol.gov/esa/ofccp). Nothing
(www.dol.gov/esa/ofccp).    Nothing inin this
                                         this Agreement
                                              Agreement shall
                                                            shall be
                                                                   be deemed
                                                                      deemed to to preclude
                                                                                   preclude oror excuse
                                                                                                 excuse a a party
                                                                                                            party from
                                                                                                                  from bringing
                                                                                                                       bringing an
                                                                                                                                an
administrative claim
administrative claim before
                     before any
                             any agency
                                  agency in in order
                                               order to
                                                      to fulfill
                                                         fulfill the
                                                                 the party's
                                                                     party's obligation
                                                                             obligation to
                                                                                         to exhaust
                                                                                            exhaust administrative
                                                                                                     administrative remedies
                                                                                                                     remedies
before making
before making aa claim
                 claim in
                        in arbitration.
                           arbitration.

Disputes that
Disputes that may
              may not
                  not be
                      be subject
                         subject to
                                 to predispute
                                    predispute arbitration
                                                arbitration agreement
                                                            agreement as
                                                                       as provided
                                                                          provided by
                                                                                    by the
                                                                                       the Dodd-Frank
                                                                                           Dodd-Frank Wall
                                                                                                       Wall Street
                                                                                                            Street
Reform and
Reform and Consumer
            Consumer Protection
                       Protection Act
                                  Act (Public
                                      (Public Law
                                              Law 111-203)
                                                   111-203) are
                                                             are excluded
                                                                 excluded from
                                                                           from the
                                                                                the coverage
                                                                                    coverage of
                                                                                             of this
                                                                                                this Agreement.
                                                                                                     Agreement.




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3. Selecting
3. Selecting The
             The Arbitrator
                 Arbitrator
The Arbitrator
The   Arbitrator shall
                 shall be
                        be selected
                           selected byby mutual
                                          mutual agreement
                                                   agreement of  of the
                                                                     the Company
                                                                          Company and and the
                                                                                           the Employee.
                                                                                                Employee. Unless
                                                                                                              Unless the
                                                                                                                       the Employee
                                                                                                                           Employee and  and
Company mutually
Company     mutually agree
                        agree otherwise,
                              otherwise, the the Arbitrator
                                                 Arbitrator shall
                                                              shall be
                                                                    be an
                                                                        an attorney
                                                                             attorney licensed
                                                                                      licensed to to practice
                                                                                                     practice in
                                                                                                              in the
                                                                                                                 the state
                                                                                                                      state in
                                                                                                                             in which
                                                                                                                                which the
                                                                                                                                        the
arbitration proceeding
arbitration  proceeding will
                           will be
                                be conducted
                                    conducted or  or a
                                                     a retired
                                                       retired federal
                                                                federal oror state
                                                                              state judicial
                                                                                    judicial officer
                                                                                             officer who
                                                                                                     who presided
                                                                                                           presided inin the
                                                                                                                         the state
                                                                                                                              state where
                                                                                                                                     where
the arbitration
the  arbitration will
                  will be
                       be conducted.
                          conducted. If,If, however,
                                            however, thethe parties
                                                             parties fail
                                                                      fail to
                                                                           to agree
                                                                              agree on
                                                                                     on an
                                                                                         an arbitrator
                                                                                             arbitrator within
                                                                                                        within 30
                                                                                                               30 days
                                                                                                                   days after
                                                                                                                          after the
                                                                                                                                the
initiation of
initiation of arbitration,
              arbitration, or
                           or at
                              at the
                                 the request
                                      request of of either
                                                    either party,
                                                            party, the
                                                                    the dispute
                                                                        dispute shall
                                                                                   shall be
                                                                                         be heard
                                                                                             heard by
                                                                                                    by aa neutral
                                                                                                          neutral arbitrator
                                                                                                                  arbitrator chosen
                                                                                                                               chosen
according to
according    to the
                the procedures
                     procedures found
                                  found in in the
                                              the then-current
                                                  then-current JAMSJAMS Employment
                                                                            Employment Arbitration
                                                                                           Arbitration Rules
                                                                                                        Rules and
                                                                                                               and Procedures
                                                                                                                     Procedures ("JAMS
                                                                                                                                    (“JAMS
Rules”). The
Rules").   The JAMS
               JAMS Rules
                        Rules may
                              may be be accessed
                                        accessed at: at: https://www.jamsadr.com/rules-employment-arbitration/.
                                                          https://www.jamsadr.com/rules-employment-arbitration/.
Alternatively, an
Alternatively,  an Employee
                    Employee maymay obtain
                                      obtain a a copy
                                                 copy ofof the
                                                            the JAMS
                                                                JAMS Rules
                                                                         Rules from
                                                                                 from Human
                                                                                      Human Resources.
                                                                                                Resources. TheThe location
                                                                                                                   location ofof the
                                                                                                                                 the
arbitration proceeding
arbitration  proceeding shall
                           shall be
                                 be no
                                     no more
                                         more than
                                                than 4545 miles
                                                           miles from
                                                                  from the
                                                                         the place
                                                                              place where
                                                                                     where the
                                                                                             the Employee
                                                                                                  Employee reported
                                                                                                             reported to to work
                                                                                                                            work for
                                                                                                                                   for the
                                                                                                                                       the
Company, unless
Company,     unless each
                      each party
                            party to
                                   to the
                                      the arbitration
                                           arbitration agrees
                                                         agrees in
                                                                 in writing
                                                                     writing otherwise.
                                                                               otherwise.

4. Starting
4. Starting The
            The Arbitration
                Arbitration
All claims
All claims in
            in arbitration
                arbitration are
                             are subject
                                  subject to
                                          to the
                                              the same
                                                   same statutes
                                                         statutes ofof limitation
                                                                        limitation that
                                                                                   that would
                                                                                         would apply
                                                                                                 apply inin court.
                                                                                                            court. The
                                                                                                                    The party
                                                                                                                         party bringing
                                                                                                                                bringing the
                                                                                                                                         the
claim must
claim   must demand      arbitration in
              demand arbitration      in writing
                                         writing and
                                                  and deliver   the written
                                                       deliver the  written demand
                                                                              demand by  by hand
                                                                                            hand oror first
                                                                                                      first class
                                                                                                             class mail
                                                                                                                   mail to
                                                                                                                         to the
                                                                                                                             the other
                                                                                                                                 other party
                                                                                                                                       party
within the
within  the applicable
             applicable statute
                           statute of
                                   of limitations
                                      limitations period.   The demand
                                                    period. The   demand for for arbitration
                                                                                 arbitration shall
                                                                                              shall include
                                                                                                    include identification
                                                                                                               identification of
                                                                                                                               of the
                                                                                                                                  the
parties, a
parties,  a statement
            statement of  of the
                             the legal
                                 legal and
                                        and factual
                                            factual basis
                                                      basis of
                                                            of the
                                                                the claim(s),
                                                                    claim(s), and
                                                                                and aa specification
                                                                                       specification ofof the
                                                                                                           the remedy
                                                                                                                remedy sought.
                                                                                                                         sought. Any
                                                                                                                                   Any
demand
demand for for arbitration
                arbitration made
                             made toto the
                                       the Company
                                           Company shallshall be
                                                              be provided
                                                                  provided to to the
                                                                                 the attention
                                                                                      attention of
                                                                                                 of the
                                                                                                    the Company's
                                                                                                          Company's Legal
                                                                                                                        Legal Department,
                                                                                                                                Department,
Twitter, Inc.,
Twitter,  Inc., 1355
                 1355 Market    Street, Suite
                       Market Street,    Suite 900,
                                                900, San
                                                      San Francisco,
                                                           Francisco, CA  CA 94103.
                                                                              94103. The
                                                                                       The arbitrator
                                                                                            arbitrator shall
                                                                                                        shall resolve
                                                                                                               resolve all
                                                                                                                        all disputes
                                                                                                                            disputes
regarding the
regarding    the timeliness
                  timeliness oror propriety
                                  propriety of
                                            of the
                                                the demand
                                                     demand forfor arbitration.
                                                                   arbitration. A A party
                                                                                    party may
                                                                                           may apply
                                                                                                 apply toto a
                                                                                                            a court
                                                                                                               court of
                                                                                                                     of competent
                                                                                                                        competent
jurisdiction for
jurisdiction  for temporary
                   temporary or or preliminary
                                   preliminary injunctive
                                                 injunctive relief
                                                            relief in
                                                                   in connection
                                                                      connection withwith an
                                                                                           an arbitrable
                                                                                              arbitrable controversy,
                                                                                                            controversy, butbut only
                                                                                                                                only upon
                                                                                                                                      upon
the ground
the  ground that
               that the
                    the award
                         award toto which
                                    which that
                                           that party
                                                 party may
                                                        may be
                                                             be entitled
                                                                  entitled may
                                                                            may bebe rendered
                                                                                     rendered ineffectual
                                                                                                 ineffectual without
                                                                                                                without such
                                                                                                                         such provisional
                                                                                                                               provisional
relief.
relief.

5. How
5. How Arbitration
       Arbitration Proceedings
                   Proceedings Are
                               Are Conducted
                                   Conducted
Employee and
Employee    and the
                the Company
                    Company agree
                                agree to
                                       to bring
                                          bring any
                                                 any claim
                                                     claim in
                                                           in arbitration
                                                              arbitration before
                                                                          before Judicial
                                                                                  Judicial Arbitration
                                                                                           Arbitration and
                                                                                                       and Mediation
                                                                                                            Mediation
Services ("JAMS"),
Services  (“JAMS”), pursuant
                     pursuant toto the
                                   the then-current
                                       then-current JAMS
                                                      JAMS Rules.
                                                             Rules. In
                                                                    In arbitration,
                                                                       arbitration, the
                                                                                    the parties
                                                                                        parties will
                                                                                                will have
                                                                                                     have the
                                                                                                          the right
                                                                                                              right to
                                                                                                                    to
conduct adequate
conduct   adequate civil
                    civil discovery, bring dispositive
                          discovery, bring               motions, and
                                            dispositive motions,   and present
                                                                        present witnesses
                                                                                 witnesses and
                                                                                             and evidence
                                                                                                 evidence toto present
                                                                                                               present their
                                                                                                                       their
cases and
cases  and defenses,   and any
            defenses, and   any disputes
                                 disputes in
                                           in this
                                              this regard
                                                   regard shall
                                                          shall be
                                                                be resolved
                                                                   resolved byby the
                                                                                 the Arbitrator.
                                                                                     Arbitrator. Discovery
                                                                                                 Discovery and
                                                                                                             and conduct
                                                                                                                 conduct of
                                                                                                                          of
the arbitration
the arbitration hearing
                hearing shall
                         shall be
                               be governed
                                  governed byby the
                                                 the JAMS
                                                     JAMS Rules
                                                            Rules applicable
                                                                   applicable to
                                                                               to discovery
                                                                                  discovery and
                                                                                              and arbitration
                                                                                                  arbitration hearing
                                                                                                              hearing
procedures.
procedures.

You and
You   and the
            the Company
                 Company agree agree to  to bring
                                              bring any
                                                      any dispute
                                                           dispute in  in arbitration
                                                                            arbitration on on anan individual
                                                                                                    individual basis
                                                                                                                   basis only,
                                                                                                                             only, and
                                                                                                                                    and not
                                                                                                                                          not on
                                                                                                                                               on aa
class, collective,
class,  collective, or  or private
                            private attorney
                                      attorney general         representative action
                                                    general representative            action basis.      Employee and
                                                                                                basis. Employee          and the
                                                                                                                               the Company
                                                                                                                                    Company agreeagree
that any
that  any arbitration
           arbitration will
                         will be
                              be limited
                                  limited to  to the
                                                 the claims
                                                      claims between
                                                              between EmployeeEmployee and and the
                                                                                                 the Company
                                                                                                      Company individually.
                                                                                                                    individually. Employee
                                                                                                                                      Employee
acknowledges and
acknowledges        and agrees
                          agrees that
                                   that Employee
                                          Employee and  and the
                                                             the Company
                                                                  Company are     are each
                                                                                       each waiving
                                                                                               waiving thethe right
                                                                                                               right toto participate
                                                                                                                          participate as as aa plaintiff
                                                                                                                                               plaintiff or
                                                                                                                                                         or
class member
class  member in   in any
                      any purported
                            purported class
                                          class action,
                                                   action, collective
                                                            collective action
                                                                           action oror representative
                                                                                        representative action
                                                                                                            action proceeding
                                                                                                                      proceeding ("Class
                                                                                                                                      (“Class Action
                                                                                                                                                Action
Waiver”). This
Waiver").   This Class
                  Class Action
                           Action Waiver
                                    Waiver shallshall not
                                                      not apply
                                                           apply toto California
                                                                       California Private
                                                                                      Private Attorney
                                                                                                Attorney General
                                                                                                             General Act Act claims
                                                                                                                               claims brought
                                                                                                                                        brought against
                                                                                                                                                  against
the Company
the Company to    to the
                      the extent
                           extent a a Class
                                      Class Action
                                                Action Waiver
                                                         Waiver isis not
                                                                      not legally
                                                                             legally enforceable
                                                                                      enforceable as  as toto those
                                                                                                              those claims.
                                                                                                                        claims. Notwithstanding
                                                                                                                                  Notwithstanding any  any
other provision
other  provision of of this
                        this Agreement
                             Agreement or     or the
                                                  the JAMS
                                                      JAMS Rules,
                                                              Rules, disputes         regarding the
                                                                         disputes regarding        the scope,
                                                                                                         scope, applicability,
                                                                                                                   applicability, enforceability
                                                                                                                                     enforceability or or
validity of
validity  of the
             the Class
                  Class Action
                           Action Waiver
                                    Waiver may may bebe resolved
                                                         resolved only
                                                                     only by  by a
                                                                                 a civil
                                                                                   civil court
                                                                                          court ofof competent
                                                                                                     competent jurisdiction
                                                                                                                     jurisdiction andand not
                                                                                                                                          not by
                                                                                                                                               by an
                                                                                                                                                   an
arbitrator. In
arbitrator.  In any
                any case
                      case inin which:
                                which: (1) (1) the
                                               the claim
                                                    claim is
                                                           is filed
                                                              filed as
                                                                     as a  a class,
                                                                              class, collective,
                                                                                      collective, oror representative
                                                                                                        representative actionaction and
                                                                                                                                      and (2)
                                                                                                                                           (2) there
                                                                                                                                               there is
                                                                                                                                                      is a
                                                                                                                                                         a
final judicial
final judicial determination
               determination that  that the
                                         the Class
                                               Class Action
                                                       Action Waiver
                                                                Waiver is   is unenforceable
                                                                               unenforceable as    as to
                                                                                                       to any
                                                                                                           any claims,
                                                                                                                 claims, thethe class,
                                                                                                                                 class, collective,
                                                                                                                                         collective,
and/or representative
and/or   representative action
                             action on
                                     on such
                                          such claims
                                                   claims must
                                                           must bebe litigated
                                                                        litigated inin a
                                                                                       a civil
                                                                                          civil court
                                                                                                court ofof competent
                                                                                                            competent jurisdiction,
                                                                                                                            jurisdiction, but
                                                                                                                                           but the
                                                                                                                                                the Class
                                                                                                                                                     Class
Action Waiver
Action   Waiver shall
                  shall bebe enforced
                              enforced in   in arbitration
                                               arbitration on
                                                            on anan individual
                                                                     individual basis
                                                                                    basis asas to
                                                                                                to all
                                                                                                   all other
                                                                                                       other claims
                                                                                                               claims to  to the
                                                                                                                              the fullest
                                                                                                                                   fullest extent
                                                                                                                                           extent
possible and
possible   and the
                 the claims
                       claims to
                               to be
                                   be litigated
                                       litigated in in court
                                                       court shall
                                                              shall be
                                                                     be stayed
                                                                           stayed pending
                                                                                     pending the the completion
                                                                                                      completion of    of the
                                                                                                                           the arbitration
                                                                                                                                arbitration on
                                                                                                                                             on the
                                                                                                                                                 the
arbitrable claims.
arbitrable   claims.

6. Paying
6. Paying For
          For The
              The Arbitration
                  Arbitration
Each party
Each  party will
             will pay
                  pay the
                       the fees
                            fees for
                                  for his,
                                      his, her
                                           her or
                                               or its
                                                  its own
                                                      own attorneys,
                                                            attorneys, subject
                                                                       subject to
                                                                                to any
                                                                                   any remedies
                                                                                        remedies to to which
                                                                                                       which that
                                                                                                              that party
                                                                                                                   party may
                                                                                                                          may later
                                                                                                                               later
be entitled
be entitled under
             under applicable
                     applicable law.
                                   law. However,
                                        However, in in all
                                                       all cases
                                                           cases where
                                                                 where required
                                                                        required by
                                                                                  by law,
                                                                                      law, the
                                                                                           the Company
                                                                                                 Company will
                                                                                                            will pay
                                                                                                                 pay the
                                                                                                                     the Arbitrator's
                                                                                                                          Arbitrator's
and arbitration
and  arbitration fees.
                  fees. If
                        If under
                           under applicable
                                    applicable law
                                               law the
                                                     the Company
                                                          Company isis not
                                                                       not required
                                                                           required to
                                                                                     to pay
                                                                                         pay all
                                                                                             all of
                                                                                                 of the
                                                                                                    the Arbitrator's
                                                                                                        Arbitrator's and/or
                                                                                                                      and/or
arbitration fees,
arbitration fees, such
                   such fee(s)
                          fee(s) will
                                 will be
                                      be apportioned
                                          apportioned between
                                                         between the
                                                                   the parties
                                                                       parties in
                                                                               in accordance
                                                                                  accordance withwith said
                                                                                                       said applicable
                                                                                                            applicable law,
                                                                                                                        law, and
                                                                                                                             and any
                                                                                                                                  any
disputes  in that
disputes in  that regard
                   regard will
                            will be
                                 be resolved
                                     resolved by
                                               by the
                                                   the Arbitrator.
                                                       Arbitrator.




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7. The
7. The Arbitration
       Arbitration Hearing
                   Hearing And
                           And Award
                               Award
The parties
The  parties will
              will arbitrate
                   arbitrate their
                                their dispute
                                      dispute before
                                                before thethe Arbitrator,
                                                               Arbitrator, who
                                                                            who shall
                                                                                  shall confer
                                                                                        confer with
                                                                                                with the
                                                                                                     the parties
                                                                                                           parties regarding
                                                                                                                    regarding the the conduct
                                                                                                                                      conduct
of the
of the hearing
        hearing and
                 and resolve
                       resolve anyany disputes
                                       disputes thethe parties
                                                        parties may
                                                                  may have
                                                                       have inin that
                                                                                 that regard.
                                                                                      regard. The
                                                                                               The Arbitrator
                                                                                                     Arbitrator shall
                                                                                                                  shall apply
                                                                                                                         apply substantive
                                                                                                                                 substantive
law as
law  as applicable
         applicable to
                     to the
                         the claims,
                               claims, and
                                         and may
                                               may award
                                                     award anyany party
                                                                   party any
                                                                          any remedy
                                                                               remedy to to which
                                                                                            which that
                                                                                                   that party
                                                                                                         party isis entitled
                                                                                                                    entitled under
                                                                                                                              under
applicable law,
applicable   law, but
                   but such
                        such remedies
                                remedies shall
                                            shall be
                                                   be limited
                                                       limited toto those
                                                                    those that
                                                                            that would
                                                                                 would bebe available
                                                                                             available to
                                                                                                        to aa party
                                                                                                              party in
                                                                                                                     in his
                                                                                                                        his or
                                                                                                                             or her
                                                                                                                                her individual
                                                                                                                                     individual
capacity in
capacity   in a
              a court
                court of
                       of law
                           law for
                                 for the
                                     the claims
                                          claims presented
                                                   presented to  to and
                                                                    and decided
                                                                         decided by by the
                                                                                        the Arbitrator;
                                                                                            Arbitrator; no
                                                                                                         no remedies
                                                                                                              remedies that
                                                                                                                          that otherwise
                                                                                                                                otherwise
would be
would   be available
            available toto an
                           an individual
                                individual inin a
                                                a court
                                                  court ofof law
                                                             law will
                                                                  will be
                                                                       be forfeited
                                                                           forfeited by
                                                                                     by virtue
                                                                                         virtue of
                                                                                                of this
                                                                                                   this Agreement.
                                                                                                         Agreement. Unless
                                                                                                                         Unless otherwise
                                                                                                                                   otherwise
agreed by
agreed   by the
             the parties
                 parties in in writing,
                               writing, the
                                         the Arbitrator
                                               Arbitrator will
                                                           will issue
                                                                issue aa decision
                                                                         decision oror award
                                                                                        award in
                                                                                               in writing,
                                                                                                  writing, stating
                                                                                                             stating the
                                                                                                                      the essential
                                                                                                                           essential findings
                                                                                                                                       findings
of fact
of fact and
         and conclusions
              conclusions of   of law,
                                  law, within
                                        within 30
                                                30 days     after the
                                                    days after    the date
                                                                      date ofof closing
                                                                                closing of
                                                                                         of the
                                                                                            the arbitration
                                                                                                arbitration hearing
                                                                                                               hearing oror the
                                                                                                                            the completion
                                                                                                                                 completion ofof
post-hearing briefing,
post-hearing    briefing, whichever
                            whichever is  is later.
                                             later. Except
                                                    Except as as may
                                                                  may bebe permitted
                                                                            permitted oror required
                                                                                           required by
                                                                                                     by law,
                                                                                                          law, as
                                                                                                                as determined
                                                                                                                    determined by   by the
                                                                                                                                       the
Arbitrator, neither
Arbitrator,  neither aa party
                         party nor
                                 nor an
                                      an Arbitrator
                                          Arbitrator may
                                                      may disclose
                                                             disclose the
                                                                        the existence,
                                                                             existence, content,
                                                                                          content, or
                                                                                                    or results
                                                                                                       results ofof any
                                                                                                                    any arbitration
                                                                                                                          arbitration
hereunder without
hereunder    without the
                       the prior
                             prior written
                                    written consent
                                              consent of of all
                                                            all parties.
                                                                parties. A
                                                                         A court
                                                                            court of
                                                                                   of competent
                                                                                      competent jurisdiction
                                                                                                   jurisdiction shall
                                                                                                                   shall have
                                                                                                                         have the
                                                                                                                                the authority
                                                                                                                                     authority to
                                                                                                                                               to
enter a
enter a judgment
         judgment upon
                     upon the the award
                                   award made
                                           made pursuant
                                                    pursuant to to the
                                                                   the arbitration.
                                                                        arbitration.

8. An
8. An Employee's
      Employee's Right
                 Right To
                       To Opt
                          Opt Out
                              Out Of
                                  Of Arbitration
                                     Arbitration
Arbitration is
Arbitration  is not
                not aa mandatory
                        mandatory condition
                                     condition ofof Employee's
                                                     Employee’s employment
                                                                     employment at   at the
                                                                                        the Company,
                                                                                            Company, andand therefore
                                                                                                             therefore anan
Employee may
Employee     may submit
                  submit a  a form
                              form stating
                                    stating that
                                             that the
                                                   the Employee
                                                        Employee wishes
                                                                      wishes toto opt
                                                                                   opt out
                                                                                       out and
                                                                                           and not
                                                                                                not be
                                                                                                     be subject
                                                                                                        subject toto this
                                                                                                                     this
Agreement. The
Agreement.    The Employee
                    Employee must
                                must submit
                                      submit a a signed
                                                 signed and
                                                          and dated    statement on
                                                               dated statement      on a
                                                                                       a "Dispute  Resolution Agreement
                                                                                         "Dispute Resolution   Agreement OptOpt
Out Form"
Out Form" ("Form")
            ("Form") that
                       that can
                            can be
                                 be obtained
                                    obtained from
                                               from the
                                                     the Company's
                                                           Company's Human
                                                                         Human Resources
                                                                                   Resources Department
                                                                                              Department at at
hrlegaldocs@twitter.com. In
hrlegaldocs@twitter.com.      In order
                                 order to
                                       to be
                                          be effective,
                                              effective, the
                                                          the signed
                                                              signed and
                                                                       and dated
                                                                            dated Form
                                                                                    Form must
                                                                                          must be
                                                                                                be returned
                                                                                                   returned to
                                                                                                             to the
                                                                                                                the Human
                                                                                                                    Human
Resources Department
Resources    Department within
                           within 30
                                   30 days  of the
                                      days of  the Employee's
                                                    Employee's receipt
                                                                   receipt of
                                                                            of this
                                                                               this Agreement.
                                                                                    Agreement. AnAn Employee
                                                                                                    Employee whowho timely
                                                                                                                      timely opts
                                                                                                                             opts
out as
out as provided
        provided in
                  in this
                     this paragraph
                          paragraph will
                                      will not
                                           not be
                                               be subject
                                                   subject toto any
                                                                any adverse
                                                                     adverse employment
                                                                                employment action
                                                                                             action as
                                                                                                     as a
                                                                                                        a consequence
                                                                                                          consequence of  of that
                                                                                                                             that
decision  and may
decision and   may pursue
                     pursue available
                              available legal
                                        legal remedies
                                              remedies without
                                                           without regard
                                                                    regard to
                                                                            to this
                                                                                this Agreement.
                                                                                     Agreement. Should
                                                                                                 Should anan Employee
                                                                                                             Employee notnot opt
                                                                                                                              opt
out of
out of this
       this Agreement
            Agreement within
                         within 30
                                 30 days  of the
                                    days of  the Employee's
                                                  Employee's receipt
                                                                 receipt of
                                                                          of this
                                                                             this Agreement,
                                                                                  Agreement, continuing
                                                                                               continuing the
                                                                                                           the Employee's
                                                                                                               Employee's
employment constitutes
employment    constitutes mutual
                            mutual acceptance
                                     acceptance of of the
                                                      the terms
                                                           terms of
                                                                  of this
                                                                      this Agreement
                                                                           Agreement by by Employee
                                                                                           Employee andand the
                                                                                                           the Company.
                                                                                                               Company. An  An
Employee has
Employee    has the
                the right
                     right to
                           to consult
                              consult with
                                       with counsel
                                            counsel of of the
                                                          the Employee's
                                                              Employee's choice
                                                                             choice concerning
                                                                                      concerning this
                                                                                                  this Agreement.
                                                                                                       Agreement.

9. Non-Retaliation
9. Non-Retaliation
An employee
An employee will
              will not
                   not be
                       be subject
                          subject to
                                  to retaliation
                                     retaliation if
                                                  if he
                                                     he or
                                                        or she
                                                           she exercises
                                                               exercises his
                                                                          his or
                                                                              or her
                                                                                 her right
                                                                                     right to
                                                                                           to assert
                                                                                              assert claims
                                                                                                     claims under
                                                                                                            under this
                                                                                                                  this
Agreement. If
Agreement. If any
              any Employee
                    Employee believes
                              believes that
                                        that he
                                              he or
                                                 or she
                                                     she has
                                                          has been
                                                              been retaliated
                                                                   retaliated against
                                                                               against by
                                                                                        by anyone
                                                                                            anyone at
                                                                                                   at the
                                                                                                       the Company,
                                                                                                           Company, the
                                                                                                                     the
Employee should
Employee should immediately
                   immediately report
                                report this
                                       this to
                                            to the
                                                the Human
                                                     Human Resources
                                                             Resources Department.
                                                                         Department.

10. Enforcement
10. Enforcement Of
                Of This
                   This Agreement
                        Agreement
This Agreement
This Agreement isis the
                    the full
                          full and
                               and complete
                                    complete agreement
                                                 agreement relating
                                                             relating to
                                                                       to the
                                                                          the formal
                                                                              formal resolution
                                                                                      resolution of
                                                                                                  of covered
                                                                                                     covered disputes.   Except as
                                                                                                              disputes. Except   as
stated in
stated in paragraph
          paragraph 5, 5, above,
                          above, in in the
                                       the event
                                            event any
                                                   any portion
                                                       portion of
                                                                of this
                                                                   this Agreement
                                                                         Agreement isis deemed    unenforceable, the
                                                                                        deemed unenforceable,      the remainder
                                                                                                                       remainder ofof
this Agreement
this Agreement will
                 will be
                      be enforceable.
                           enforceable. If If the
                                              the Class
                                                  Class Action
                                                        Action Waiver,
                                                                 Waiver, Collective
                                                                           Collective Action
                                                                                      Action Waiver
                                                                                              Waiver or
                                                                                                      or Private
                                                                                                         Private Attorney
                                                                                                                  Attorney General
                                                                                                                           General
Waiver is
Waiver  is deemed
           deemed toto be
                        be unenforceable,
                            unenforceable, the  the Company
                                                    Company and and Employee
                                                                     Employee agree
                                                                                 agree that
                                                                                        that this
                                                                                             this Agreement
                                                                                                  Agreement is is otherwise
                                                                                                                  otherwise silent
                                                                                                                            silent as
                                                                                                                                   as
to any
to any party's
       party's ability
               ability to
                       to bring
                           bring a a class,
                                     class, collective
                                             collective or
                                                        or representative
                                                           representative action
                                                                             action in
                                                                                    in arbitration.
                                                                                       arbitration. Nothing
                                                                                                    Nothing in
                                                                                                             in this
                                                                                                                this Agreement
                                                                                                                     Agreement
modifies the
modifies  the at-will
              at-will nature
                      nature of of Employee's
                                   Employee’s employment
                                                  employment with
                                                                with the
                                                                      the Company.
                                                                           Company.

AGREED:
AGREED:



Leslie Berland,
Leslie Berland, Head
                Head of
                     of People
                        People
TWITTER, INC.
TWITTER,   INC.


By signing
By signing below,
           below, II acknowledge
                     acknowledge and
                                   and agree
                                        agree to
                                              to the
                                                 the terms
                                                      terms of
                                                            of this
                                                               this Dispute
                                                                    Dispute Resolution
                                                                            Resolution Agreement,
                                                                                       Agreement, and
                                                                                                  and confirm
                                                                                                      confirm II
am aware
am aware of
          of my
             my right
                right to
                       to opt
                          opt out
                              out per
                                  per the
                                      the terms
                                          terms of
                                                 of this
                                                    this Agreement:
                                                         Agreement:

EMPLOYEE NAME
EMPLOYEE NAME PRINTED
              PRINTED
                                          Jessica Pan
                                         Jessica Pan
                                         .10 feciair rielit,
EMPLOYEE SIGNATURE
EMPLOYEE SIGNATURE                        Jessica Pan (Nov 18,2019)
                                                           18, 2019)


Date:
Date:                                     Nov 18, 2019

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April 23, 2021


Emmanuel Cornet
2415 Van Ness Ave Apt 601, San Francisco, CA 94109
m@ma.nu

Dear Emmanuel,

Welcome to the Flock! We're
                      We’re excited to offer you employment with Twitter, Inc. (the ‘`Company'),
                                                                                             ’), on the following terms
and conditions:

      1. Start Date. Your employment will commence on June 29,29 2021 (‘         ’). You will be providing services from
                                                                      (Start Date').
      the Company’s
          Company's US - Remote US location. Your Start Date and employment are subject to the conditions set out below,
      in the Conditions on Offer section.

      2. Position. Your job title will be Staff Software Engineer. You will report at the start of your employment to Bill
      Couch, Mgr., Software Engineering. You will be a regular, full-time employee.

      3. Duties. You will perform the duties and have the responsibilities and authority customarily performed and held by
      an employee in your position or as the Company may otherwise assign to you. Depending on the nature of your role,
      the Company may require you to travel from time to time. Without limiting your obligations to the Company, during
      your employment you must serve the Company faithfully and diligently to the best of your ability and perform the
      duties the Company assigns to you to the best of your abilities and knowledge.

      4. Hours. Your normal hours of work are 40 hours each week, excluding a lunch break, to be worked primarily
      during the standard business hours Monday to Friday. The Company requires flexibility in your working hours, and
      you may be required or need to work additional hours as necessary for the performance of your role. These additional
      hours can include hours outside normal business hours, or on weekends and public holidays.

      5. Base Compensation. The Company will pay you a gross starting salary at an annualized rate of            USD,
                                     Company’s standard payroll schedule, less applicable deductions. This salary will be
      payable in accordance with the Company's
      subject to adjustment from time to time in accordance with the employee compensation policies then in effect. This is
      an exempt position, and your salary is intended to cover all hours worked.

      6. Sign-On Bonus. You are eligible to receive a one-time sign-on bonus in the gross amount of             USD, less
      applicable deductions required or authorized to be deducted by the Company, as a reward for joining and remaining
                         (‘
      with the Company (Sign-On           ’). To earn the Sign-On Bonus, you must remain actively employed by the
                                    Bonus').
      Company in good standing for 12 months after your Start Date. If you resign from your employment or your
      employment is terminated by the Company at any time within 12 months of your Start Date, you acknowledge and
                           Company’s request, you are obligated to repay the Sign-On Bonus, reduced on a pro-rata basis
      agree that, upon the Company's
      by one-twelfth (1/12) of the Sign-On Bonus for each full month you remain employed by the Company. You will be
      paid the Sign-On Bonus in a lump sum at the time of your first payroll date, subject to repayment as described in this
      paragraph.

      7. Performance Bonus Plan. You may be eligible to earn a discretionary performance bonus award in accordance with
      the Company’s
          Company's discretionary Performance Bonus Plan as it may exist and/or be amended from time to time. For the
      current Performance Bonus Plan year, the Performance Bonus Plan target for your position is 25%
                                                                                                  25 of annual eligible
      earnings, paid pursuant to the terms and conditions in the Performance Bonus Plan.

                                                                                                  Company’s Board of
      8. Equity Compensation. Subject to the approval of the Compensation Committee of the Company's
      Directors (or an authorized subcommittee), you will be granted a specified number of restricted stock units of the
                (‘
      Company (ItSUs'). ’). The number of RSUs that are granted to you, if approved, will be determined by dividing
      USD by the prevailing RSU conversion rate in effect during the month in which your employment role commences



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      under the terms of this offer letter, rounded up to the nearest whole share. (Note: for the purposes of the RSU grant
      under this paragraph, your employment commencement date is anticipated to be your Start Date as set out above,
      unless delayed or deferred for any reason. In the event you have been previously engaged by the Company in any
      capacity under a different role or arrangement, such prior service will not count for the purposes of your RSU grant).

      The RSUs will be subject to the terms of the Company's
                                                     Company’s 2013 Equity Incentive Plan and its form of RSU agreement
                               ’). You will vest in 12.5% of the RSUs on the six month anniversary of the first day of the
      (the ‘`Equity Documents').
      month following your Start Date, provided you have continued to provide services to the Company until that date, and
      over your next three and a half years of continuous service with the Company you will vest 6.25% per quarter, as will
      be further described in the Equity Documents. Be advised that the calculation used to determine the number of RSUs
      granted is determined in the sole discretion of the Company and will not correlate to any published stock price on your
      date of hire and, furthermore, does not denote, nor can it predict, the future value of any RSUs. Stock prices are by
      nature volatile, and there is no way to predict the value of your future shares, if and when they vest.

      Subject to your continued employment in an equity eligible role, you will be eligible to receive future equity grants.

      9. Employee Bene.fits. As a regular employee of the Company, you will be eligible to participate in Company-
      sponsored benefits in accordance with the terms of the applicable benefit plans. The Company may replace, change or
      cease providing these benefits and remuneration and the terms on which they are provided at any time at its discretion.

      10. Conditions on this. Offer. This offer of employment and your commencement of employment with the Company is
      conditioned upon:

              a)   Your providing legal proof of your identity and authorization to work in the United States within three days
                   of the commencement of your employment.

              b)   Your signing of the Company’s
                                        Company's standard Employee Invention Assignment and Confidentiality Agreement
                   (‘                          ’), which includes restrictions on your ability to engage in outside activities, and
                   (`Confidentiality Agreement'),
                   other restrictions during and following your employment, as described in the Confidentiality Agreement, and
                   the Company’s
                       Company's approval of such outside activities. A copy of the Confidentiality Agreement is enclosed with
                   this letter.

              c)   Your disclosure, and resolution to the satisfaction of the Company, of any contractual commitments or legal
                   obligations that would prohibit, restrict or interfere with your ability to perform your duties for the
                   Company.

              d)   Your successful completion of a background check regarding your employment experience, educational
                   credentials, criminal history and the like. This offer may be withdrawn in the sole discretion of the Company
                   based on its review of the background check results. Your acceptance of this offer of employment will be
                   complete when you have initiated authorization to perform a background check, as instructed by our Human
                   Resources Department.

      11. Acknowledgement re: Compensation. You acknowledge and agree that if during the recruiting process you
      disclosed your current or past salary to Twitter, such disclosure was made voluntarily and without prompting. You
      further acknowledge and agree that Twitter may consider and verify any such compensation information you've
                                                                                                               you’ve
      disclosed, including disclosure of compensation that you would forfeit by leaving your current employment.

      12. Taxes. All forms of compensation that are subject to income or payroll taxes will be reduced to reflect applicable
      income tax withholding and payroll taxes. Any form of compensation that is subject to income or payroll taxes and
      that is not paid in cash will result in a reduction in cash compensation to reflect applicable income tax withholding and
      payroll taxes.

      13. Outside Activities. While you render services to the Company, you will not engage in any other employment,
      consulting, or other business activity that would create a conflict of interest with the Company, which includes



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       engaging in any work that is competitive in nature. While you render services to the Company, you also will not assist
       any person or entity in competing with the Company, in preparing to compete with the Company, or in hiring any
       employees or consultants of the Company.

       14. Employment Relationship. Employment with the Company is for no specific period of time. Your employment
       with the Company will be "at    will,” meaning that either you or the Company may terminate your employment at any
                                   “at will,"
       time and for any reason, with or without cause. This is the full and complete agreement between you and the
       Company regarding the duration of the employment relationship. Although your job duties, title, compensation and
                                Company’s personnel policies and procedures may change from time to time, the "at
       benefits, as well as the Company's                                                                         will”
                                                                                                              “at will"
       nature of your employment, may only be changed through an express written agreement signed by you and the
       Company’s Chief Executive Officer.
       Company's

       15. Dispute Resoludon. We sincerely hope that no dispute will arise between us. If a dispute should arise, it will be
       resolved through the Company's
                             Company’s Dispute Resolution Agreement, unless you choose to opt-out of the same pursuant to
       its terms. A copy of the Dispute Resolution Agreement is enclosed with this letter.

       16. Entire Agreement.. This letter agreement supersedes and replaces any prior agreements, representations or
       understandings, whether written, oral or implied, between you and the Company.

Please do not make any change in your present living or employment circumstances until all of the conditions to this offer
have been satisfied. To accept this offer, please initiate the authorization of your background check, and sign and date this
offer letter, and the other documents enclosed with this letter (including the Confidentiality Agreement and Dis  pute
                                                                                                              Dispute
Resolution Agreement) and return them via Adobesign. This offer will expire if the signed documents are not returned by
    il 26,
April  26 2021, unless otherwise extended by the Company.

We’re excited to welcome you to Twitter!
We're

Sincerely,

Twitter, Inc.




              Jennifer Christie
              Chief Human Resources Officer

By signing below, I acknowledge and agree that I have read, understood and accept all the provisions of this offer of
employment:
Emmatute-( Carrte-t-
Emmanuel Cornet (Apr 23, 202121:49
                (Apr23,  2021 21:49 GMT)

 Emmanuel Cornet

        2021
Apr 23, 2021

Date




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                                         DISPUTE RESOLUTION
                                         DISPUTE RESOLUTION AGREEMENT
                                                            AGREEMENT


This Dispute
This Dispute Resolution
             Resolution Agreement
                          Agreement isis a
                                         a contract
                                            contract and
                                                       and covers
                                                           covers important
                                                                   important issues
                                                                                issues relating
                                                                                       relating to
                                                                                                to your
                                                                                                   your rights.
                                                                                                        rights. It
                                                                                                                It is
                                                                                                                   is
your responsibility
your responsibility to
                    to read
                       read it
                            it and
                               and understand
                                   understand it.it. You
                                                     You are
                                                         are free
                                                             free to
                                                                  to seek
                                                                       seek assistance
                                                                             assistance from
                                                                                         from independent
                                                                                              independent advisors
                                                                                                            advisors of
                                                                                                                      of
your choice
your choice outside
            outside the
                     the Company
                         Company or or to
                                       to refrain
                                           refrain from
                                                    from doing  so if
                                                         doing so   if that
                                                                       that is
                                                                            is your
                                                                               your choice.
                                                                                    choice.

You can
You can choose
        choose to
               to opt
                  opt out
                      out of
                          of this
                             this Agreement
                                  Agreement -– you
                                               you have
                                                   have 30
                                                        30 days
                                                           days to
                                                                to opt
                                                                   opt out.
                                                                       out.


1. How
1. How This
       This Agreement
            Agreement Applies
                      Applies
This Agreement
This  Agreement isis governed
                     governed by   by the
                                      the Federal
                                            Federal Arbitration
                                                     Arbitration Act,
                                                                  Act, 99 U.S.C.
                                                                          U.S.C. § §11 et
                                                                                       et seq.
                                                                                          seq. and
                                                                                                and evidences
                                                                                                     evidences a   a transaction
                                                                                                                     transaction
involving commerce.
involving  commerce. If  If the
                            the FAA
                                 FAA is
                                      is found
                                          found not
                                                 not to
                                                      to apply,
                                                         apply, then
                                                                 then this
                                                                       this Agreement
                                                                            Agreement is  is enforceable
                                                                                             enforceable under
                                                                                                            under the
                                                                                                                    the laws
                                                                                                                        laws of
                                                                                                                              of the
                                                                                                                                 the state
                                                                                                                                       state
in which
in which you
          you ("Employee")
               (“Employee”) are  are employed
                                     employed at  at the
                                                     the time
                                                          time you
                                                                you enter
                                                                     enter into
                                                                           into this
                                                                                 this Agreement.
                                                                                      Agreement. This
                                                                                                    This Agreement
                                                                                                          Agreement applies
                                                                                                                         applies to
                                                                                                                                  to any
                                                                                                                                     any
dispute arising
dispute  arising out
                 out of
                      of or
                          or related
                              related to
                                       to Employee's
                                           Employee's employment
                                                         employment withwith Twitter,
                                                                              Twitter, Inc.
                                                                                        Inc. or
                                                                                             or one
                                                                                                 one of
                                                                                                     of its
                                                                                                        its affiliates,
                                                                                                            affiliates, successor,
                                                                                                                        successor,
subsidiaries or
subsidiaries  or parent
                 parent companies
                          companies ("Company")
                                         ("Company") or  or termination
                                                             termination ofof employment,
                                                                              employment, and and survives
                                                                                                   survives after
                                                                                                              after the
                                                                                                                     the employment
                                                                                                                          employment
relationship terminates.
relationship  terminates. It It can
                                can only
                                    only bebe revoked
                                               revoked oror modified
                                                            modified byby aa writing,
                                                                             writing, signed
                                                                                       signed by
                                                                                               by both
                                                                                                   both you
                                                                                                         you and
                                                                                                              and Twitter,
                                                                                                                    Twitter, Inc.'s
                                                                                                                             Inc.’s Chief
                                                                                                                                      Chief
Executive Officer,
Executive   Officer, which
                     which specifically
                               specifically states
                                             states an
                                                    an intent
                                                        intent to
                                                                to revoke
                                                                   revoke or
                                                                           or modify
                                                                               modify this
                                                                                        this Agreement.
                                                                                             Agreement. Nothing
                                                                                                           Nothing contained
                                                                                                                      contained in in this
                                                                                                                                      this
Agreement shall
Agreement    shall be
                   be construed
                       construed to  to prevent
                                         prevent or
                                                  or excuse
                                                      excuse Employee
                                                               Employee or or the
                                                                               the Company
                                                                                   Company from from using
                                                                                                     using the
                                                                                                             the Company's
                                                                                                                   Company's existing
                                                                                                                                existing
internal procedures
internal procedures forfor resolution
                            resolution ofof complaints.
                                             complaints.

Disputes covered
Disputes   covered by by this
                           this Agreement
                                Agreement include,
                                              include, without
                                                        without limitation,
                                                                 limitation, disputes     arising out
                                                                                disputes arising   out of
                                                                                                        of or
                                                                                                           or relating
                                                                                                              relating to
                                                                                                                       to interpretation
                                                                                                                          interpretation oror
application of
application   of this
                 this Agreement,
                      Agreement, including
                                      including the
                                                  the enforceability,
                                                      enforceability, revocability
                                                                        revocability or or validity
                                                                                           validity of
                                                                                                    of the
                                                                                                       the Agreement
                                                                                                            Agreement or or any
                                                                                                                             any portion
                                                                                                                                  portion of
                                                                                                                                           of
the Agreement.
the Agreement. Except
                   Except as  as it
                                 it otherwise
                                    otherwise provides
                                                provides or
                                                          or required
                                                             required by  by law,
                                                                              law, this
                                                                                    this Agreement
                                                                                         Agreement also
                                                                                                      also applies,
                                                                                                            applies, without
                                                                                                                      without limitation,
                                                                                                                                limitation, to
                                                                                                                                            to
disputes   regarding the
disputes regarding      the employment
                             employment relationship,
                                             relationship, terms
                                                           terms andand conditions
                                                                          conditions of of employment,
                                                                                           employment, trade
                                                                                                           trade secrets,
                                                                                                                  secrets, unfair
                                                                                                                            unfair
competition, compensation,
competition,   compensation, breaks breaks and
                                             and rest
                                                  rest periods,
                                                       periods, termination,
                                                                 termination, discrimination,       harassment, or
                                                                                   discrimination, harassment,      or retaliation,
                                                                                                                       retaliation, and
                                                                                                                                     and
claims arising
claims  arising under
                 under thethe Uniform
                               Uniform Trade
                                         Trade Secrets
                                                 Secrets Act,
                                                          Act, Title
                                                               Title VII
                                                                       VII of
                                                                           of the
                                                                              the Civil
                                                                                   Civil Rights
                                                                                         Rights Act
                                                                                                 Act of
                                                                                                     of 1964,
                                                                                                         1964, Americans
                                                                                                                Americans WithWith
Disabilities Act,
Disabilities  Act, Age
                   Age Discrimination
                          Discrimination in in Employment
                                               Employment Act,Act, Family
                                                                     Family Medical      Leave Act,
                                                                              Medical Leave     Act, Fair
                                                                                                     Fair Labor
                                                                                                           Labor Standards
                                                                                                                   Standards Act,
                                                                                                                                Act,
Employee Retirement
Employee     Retirement Income
                            Income Security
                                      Security Act
                                                Act (except
                                                     (except for
                                                              for claims
                                                                   claims for
                                                                            for employee
                                                                                 employee benefits
                                                                                            benefits under
                                                                                                       under any
                                                                                                               any benefit
                                                                                                                    benefit plan
                                                                                                                             plan
sponsored by
sponsored    by the
                 the Company
                      Company and   and covered
                                         covered byby the
                                                       the Employee
                                                           Employee Retirement
                                                                         Retirement Income
                                                                                        Income Security
                                                                                                 Security Act
                                                                                                            Act of
                                                                                                                of 1974
                                                                                                                    1974 or
                                                                                                                          or funded
                                                                                                                              funded byby
insurance), Genetic
insurance),   Genetic Information
                         Information Non-Discrimination
                                        Non-Discrimination Act,Act, and
                                                                      and state
                                                                           state statutes,
                                                                                   statutes, if
                                                                                             if any,
                                                                                                any, addressing
                                                                                                     addressing the the same
                                                                                                                        same or or similar
                                                                                                                                   similar
subject matters,
subject  matters, all
                    all other
                        other state
                                state statutory
                                       statutory and
                                                  and common
                                                       common law  law claims,
                                                                        claims, and
                                                                                  and any
                                                                                        any other
                                                                                            other employment-related
                                                                                                   employment-related claim.claim.

Except as
Except   as it
             it otherwise
                otherwise provides,
                             provides, this
                                        this Agreement
                                             Agreement is  is intended
                                                              intended toto apply
                                                                            apply toto the
                                                                                       the resolution
                                                                                            resolution of
                                                                                                       of disputes that otherwise
                                                                                                          disputes that otherwise
would be
would   be resolved
            resolved in in a
                           a court
                             court of
                                   of law
                                      law or
                                           or before
                                              before a a forum
                                                         forum other
                                                                  other than
                                                                        than arbitration.
                                                                              arbitration. This
                                                                                             This Agreement
                                                                                                  Agreement requires
                                                                                                              requires all
                                                                                                                       all covered
                                                                                                                           covered
disputes
disputes toto be
               be resolved
                   resolved only
                              only by
                                   by an
                                       an arbitrator
                                           arbitrator through
                                                      through final
                                                                 final and
                                                                       and binding
                                                                            binding arbitration
                                                                                      arbitration and
                                                                                                  and not
                                                                                                       not by
                                                                                                           by way
                                                                                                              way of
                                                                                                                   of court
                                                                                                                      court or
                                                                                                                             or jury
                                                                                                                                jury
       By entering
trial. By
trial.    entering into
                      into this
                            this Agreement,
                                 Agreement, the  the parties
                                                     parties areare waiving
                                                                    waiving a  a trial
                                                                                 trial by
                                                                                       by jury.
                                                                                           jury.

2. Limitations
2. Limitations On
               On How
                  How This
                      This Agreement
                           Agreement Applies
                                     Applies
This Agreement
This Agreement does  not apply
                does not apply to
                               to claims
                                  claims for
                                         for workers
                                             workers compensation,
                                                     compensation, state
                                                                   state disability insurance and
                                                                         disability insurance and unemployment
                                                                                                  unemployment
insurance benefits.
insurance benefits.

Regardless of
Regardless  of any
               any other
                   other terms
                          terms of
                                 of this
                                    this Agreement,
                                          Agreement, claims
                                                        claims maymay be
                                                                       be brought
                                                                           brought before
                                                                                    before and
                                                                                            and remedies
                                                                                                 remedies awarded
                                                                                                            awarded byby an
                                                                                                                          an
administrative agency
administrative agency if
                       if applicable
                          applicable law
                                       law permits
                                           permits access
                                                     access to  to such
                                                                   such an
                                                                         an agency
                                                                            agency notwithstanding
                                                                                     notwithstanding the
                                                                                                       the existence
                                                                                                            existence of
                                                                                                                       of an
                                                                                                                          an
agreement to
agreement  to arbitrate.
              arbitrate. Such
                         Such administrative
                                administrative claims
                                                 claims include,
                                                          include, without
                                                                     without limitation,
                                                                             limitation, claims
                                                                                         claims or
                                                                                                 or charges
                                                                                                    charges brought
                                                                                                             brought before
                                                                                                                      before the
                                                                                                                              the
Equal Employment
Equal Employment Opportunity
                    Opportunity Commission
                                   Commission (www.eeoc.gov)
                                                  (www.eeoc.gov) the   the U.S.
                                                                            U.S. Department
                                                                                 Department of of Labor
                                                                                                  Labor (www.dol.gov)
                                                                                                         (www.dol.gov) thethe
National Labor
National Labor Relations
                Relations Board
                           Board (www.nlrb.gov),
                                   (www.nlrb.gov), or or the
                                                         the Office
                                                               Office of
                                                                      of Federal
                                                                          Federal Contract
                                                                                  Contract Compliance
                                                                                             Compliance Programs
                                                                                                           Programs
(www.dol.gov/esa/ofccp). Nothing
(www.dol.gov/esa/ofccp).    Nothing inin this
                                         this Agreement
                                              Agreement shall
                                                            shall be
                                                                   be deemed
                                                                      deemed to to preclude
                                                                                   preclude oror excuse
                                                                                                 excuse a a party
                                                                                                            party from
                                                                                                                  from bringing
                                                                                                                       bringing an
                                                                                                                                an
administrative claim
administrative claim before
                     before any
                             any agency
                                  agency in in order
                                               order to
                                                      to fulfill
                                                         fulfill the
                                                                 the party's
                                                                     party's obligation
                                                                             obligation to
                                                                                         to exhaust
                                                                                            exhaust administrative
                                                                                                     administrative remedies
                                                                                                                     remedies
before making
before making aa claim
                 claim in
                        in arbitration.
                           arbitration.

Disputes that
Disputes that may
              may not
                  not be
                      be subject
                         subject to
                                 to predispute
                                    predispute arbitration
                                                arbitration agreement
                                                            agreement as
                                                                       as provided
                                                                          provided by
                                                                                    by the
                                                                                       the Dodd-Frank
                                                                                           Dodd-Frank Wall
                                                                                                       Wall Street
                                                                                                            Street
Reform and
Reform and Consumer
            Consumer Protection
                       Protection Act
                                  Act (Public
                                      (Public Law
                                              Law 111-203)
                                                   111-203) are
                                                             are excluded
                                                                 excluded from
                                                                           from the
                                                                                the coverage
                                                                                    coverage of
                                                                                             of this
                                                                                                this Agreement.
                                                                                                     Agreement.




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3. Selecting
3. Selecting The
             The Arbitrator
                 Arbitrator
The Arbitrator
The   Arbitrator shall
                 shall be
                        be selected
                           selected byby mutual
                                          mutual agreement
                                                   agreement of  of the
                                                                     the Company
                                                                          Company and and the
                                                                                           the Employee.
                                                                                                Employee. Unless
                                                                                                              Unless the
                                                                                                                       the Employee
                                                                                                                           Employee and  and
Company mutually
Company     mutually agree
                        agree otherwise,
                              otherwise, the the Arbitrator
                                                 Arbitrator shall
                                                              shall be
                                                                    be an
                                                                        an attorney
                                                                             attorney licensed
                                                                                      licensed to to practice
                                                                                                     practice in
                                                                                                              in the
                                                                                                                 the state
                                                                                                                      state in
                                                                                                                             in which
                                                                                                                                which the
                                                                                                                                        the
arbitration proceeding
arbitration  proceeding will
                           will be
                                be conducted
                                    conducted or  or a
                                                     a retired
                                                       retired federal
                                                                federal oror state
                                                                              state judicial
                                                                                    judicial officer
                                                                                             officer who
                                                                                                     who presided
                                                                                                           presided inin the
                                                                                                                         the state
                                                                                                                              state where
                                                                                                                                     where
the arbitration
the  arbitration will
                  will be
                       be conducted.
                          conducted. If,If, however,
                                            however, thethe parties
                                                             parties fail
                                                                      fail to
                                                                           to agree
                                                                              agree on
                                                                                     on an
                                                                                         an arbitrator
                                                                                             arbitrator within
                                                                                                        within 30
                                                                                                               30 days
                                                                                                                   days after
                                                                                                                          after the
                                                                                                                                the
initiation of
initiation of arbitration,
              arbitration, or
                           or at
                              at the
                                 the request
                                      request of of either
                                                    either party,
                                                            party, the
                                                                    the dispute
                                                                        dispute shall
                                                                                   shall be
                                                                                         be heard
                                                                                             heard by
                                                                                                    by aa neutral
                                                                                                          neutral arbitrator
                                                                                                                  arbitrator chosen
                                                                                                                               chosen
according to
according    to the
                the procedures
                     procedures found
                                  found in in the
                                              the then-current
                                                  then-current JAMSJAMS Employment
                                                                            Employment Arbitration
                                                                                           Arbitration Rules
                                                                                                        Rules and
                                                                                                               and Procedures
                                                                                                                     Procedures ("JAMS
                                                                                                                                    (“JAMS
Rules”). The
Rules").   The JAMS
               JAMS Rules
                        Rules may
                              may be be accessed
                                        accessed at: at: https://www.jamsadr.com/rules-employment-arbitration/.
                                                          https://www.jamsadr.com/rules-employment-arbitration/.
Alternatively, an
Alternatively,  an Employee
                    Employee maymay obtain
                                      obtain a a copy
                                                 copy ofof the
                                                            the JAMS
                                                                JAMS Rules
                                                                         Rules from
                                                                                 from Human
                                                                                      Human Resources.
                                                                                                Resources. TheThe location
                                                                                                                   location ofof the
                                                                                                                                 the
arbitration proceeding
arbitration  proceeding shall
                           shall be
                                 be no
                                     no more
                                         more than
                                                than 4545 miles
                                                           miles from
                                                                  from the
                                                                         the place
                                                                              place where
                                                                                     where the
                                                                                             the Employee
                                                                                                  Employee reported
                                                                                                             reported to to work
                                                                                                                            work for
                                                                                                                                   for the
                                                                                                                                       the
Company, unless
Company,     unless each
                      each party
                            party to
                                   to the
                                      the arbitration
                                           arbitration agrees
                                                         agrees in
                                                                 in writing
                                                                     writing otherwise.
                                                                               otherwise.

4. Starting
4. Starting The
            The Arbitration
                Arbitration
All claims
All claims in
            in arbitration
                arbitration are
                             are subject
                                  subject to
                                          to the
                                              the same
                                                   same statutes
                                                         statutes ofof limitation
                                                                        limitation that
                                                                                   that would
                                                                                         would apply
                                                                                                 apply inin court.
                                                                                                            court. The
                                                                                                                    The party
                                                                                                                         party bringing
                                                                                                                                bringing the
                                                                                                                                         the
claim must
claim   must demand      arbitration in
              demand arbitration      in writing
                                         writing and
                                                  and deliver   the written
                                                       deliver the  written demand
                                                                              demand by  by hand
                                                                                            hand oror first
                                                                                                      first class
                                                                                                             class mail
                                                                                                                   mail to
                                                                                                                         to the
                                                                                                                             the other
                                                                                                                                 other party
                                                                                                                                       party
within the
within  the applicable
             applicable statute
                           statute of
                                   of limitations
                                      limitations period.   The demand
                                                    period. The   demand for for arbitration
                                                                                 arbitration shall
                                                                                              shall include
                                                                                                    include identification
                                                                                                               identification of
                                                                                                                               of the
                                                                                                                                  the
parties, a
parties,  a statement
            statement of  of the
                             the legal
                                 legal and
                                        and factual
                                            factual basis
                                                      basis of
                                                            of the
                                                                the claim(s),
                                                                    claim(s), and
                                                                                and aa specification
                                                                                       specification ofof the
                                                                                                           the remedy
                                                                                                                remedy sought.
                                                                                                                         sought. Any
                                                                                                                                   Any
demand
demand for for arbitration
                arbitration made
                             made toto the
                                       the Company
                                           Company shallshall be
                                                              be provided
                                                                  provided to to the
                                                                                 the attention
                                                                                      attention of
                                                                                                 of the
                                                                                                    the Company's
                                                                                                          Company's Legal
                                                                                                                        Legal Department,
                                                                                                                                Department,
Twitter, Inc.,
Twitter,  Inc., 1355
                 1355 Market    Street, Suite
                       Market Street,    Suite 900,
                                                900, San
                                                      San Francisco,
                                                           Francisco, CA  CA 94103.
                                                                              94103. The
                                                                                       The arbitrator
                                                                                            arbitrator shall
                                                                                                        shall resolve
                                                                                                               resolve all
                                                                                                                        all disputes
                                                                                                                            disputes
regarding the
regarding    the timeliness
                  timeliness oror propriety
                                  propriety of
                                            of the
                                                the demand
                                                     demand forfor arbitration.
                                                                   arbitration. A A party
                                                                                    party may
                                                                                           may apply
                                                                                                 apply toto a
                                                                                                            a court
                                                                                                               court of
                                                                                                                     of competent
                                                                                                                        competent
jurisdiction for
jurisdiction  for temporary
                   temporary or or preliminary
                                   preliminary injunctive
                                                 injunctive relief
                                                            relief in
                                                                   in connection
                                                                      connection withwith an
                                                                                           an arbitrable
                                                                                              arbitrable controversy,
                                                                                                            controversy, butbut only
                                                                                                                                only upon
                                                                                                                                      upon
the ground
the  ground that
               that the
                    the award
                         award toto which
                                    which that
                                           that party
                                                 party may
                                                        may be
                                                             be entitled
                                                                  entitled may
                                                                            may bebe rendered
                                                                                     rendered ineffectual
                                                                                                 ineffectual without
                                                                                                                without such
                                                                                                                         such provisional
                                                                                                                               provisional
relief.
relief.

5. How
5. How Arbitration
       Arbitration Proceedings
                   Proceedings Are
                               Are Conducted
                                   Conducted
Employee and
Employee    and the
                the Company
                    Company agree
                                agree to
                                       to bring
                                          bring any
                                                 any claim
                                                     claim in
                                                           in arbitration
                                                              arbitration before
                                                                          before Judicial
                                                                                  Judicial Arbitration
                                                                                           Arbitration and
                                                                                                       and Mediation
                                                                                                            Mediation
Services ("JAMS"),
Services  (“JAMS”), pursuant
                     pursuant toto the
                                   the then-current
                                       then-current JAMS
                                                      JAMS Rules.
                                                             Rules. In
                                                                    In arbitration,
                                                                       arbitration, the
                                                                                    the parties
                                                                                        parties will
                                                                                                will have
                                                                                                     have the
                                                                                                          the right
                                                                                                              right to
                                                                                                                    to
conduct adequate
conduct   adequate civil
                    civil discovery, bring dispositive
                          discovery, bring               motions, and
                                            dispositive motions,   and present
                                                                        present witnesses
                                                                                 witnesses and
                                                                                             and evidence
                                                                                                 evidence toto present
                                                                                                               present their
                                                                                                                       their
cases and
cases  and defenses,   and any
            defenses, and   any disputes
                                 disputes in
                                           in this
                                              this regard
                                                   regard shall
                                                          shall be
                                                                be resolved
                                                                   resolved byby the
                                                                                 the Arbitrator.
                                                                                     Arbitrator. Discovery
                                                                                                 Discovery and
                                                                                                             and conduct
                                                                                                                 conduct of
                                                                                                                          of
the arbitration
the arbitration hearing
                hearing shall
                         shall be
                               be governed
                                  governed byby the
                                                 the JAMS
                                                     JAMS Rules
                                                            Rules applicable
                                                                   applicable to
                                                                               to discovery
                                                                                  discovery and
                                                                                              and arbitration
                                                                                                  arbitration hearing
                                                                                                              hearing
procedures.
procedures.

You and
You   and the
            the Company
                 Company agree agree to  to bring
                                              bring any
                                                      any dispute
                                                           dispute in  in arbitration
                                                                            arbitration on on anan individual
                                                                                                    individual basis
                                                                                                                   basis only,
                                                                                                                             only, and
                                                                                                                                    and not
                                                                                                                                          not on
                                                                                                                                               on aa
class, collective,
class,  collective, or  or private
                            private attorney
                                      attorney general         representative action
                                                    general representative            action basis.      Employee and
                                                                                                basis. Employee          and the
                                                                                                                               the Company
                                                                                                                                    Company agreeagree
that any
that  any arbitration
           arbitration will
                         will be
                              be limited
                                  limited to  to the
                                                 the claims
                                                      claims between
                                                              between EmployeeEmployee and and the
                                                                                                 the Company
                                                                                                      Company individually.
                                                                                                                    individually. Employee
                                                                                                                                      Employee
acknowledges and
acknowledges        and agrees
                          agrees that
                                   that Employee
                                          Employee and  and the
                                                             the Company
                                                                  Company are     are each
                                                                                       each waiving
                                                                                               waiving thethe right
                                                                                                               right toto participate
                                                                                                                          participate as as aa plaintiff
                                                                                                                                               plaintiff or
                                                                                                                                                         or
class member
class  member in   in any
                      any purported
                            purported class
                                          class action,
                                                   action, collective
                                                            collective action
                                                                           action oror representative
                                                                                        representative action
                                                                                                            action proceeding
                                                                                                                      proceeding ("Class
                                                                                                                                      (“Class Action
                                                                                                                                                Action
Waiver”). This
Waiver").   This Class
                  Class Action
                           Action Waiver
                                    Waiver shallshall not
                                                      not apply
                                                           apply toto California
                                                                       California Private
                                                                                      Private Attorney
                                                                                                Attorney General
                                                                                                             General Act Act claims
                                                                                                                               claims brought
                                                                                                                                        brought against
                                                                                                                                                  against
the Company
the Company to    to the
                      the extent
                           extent a a Class
                                      Class Action
                                                Action Waiver
                                                         Waiver isis not
                                                                      not legally
                                                                             legally enforceable
                                                                                      enforceable as  as toto those
                                                                                                              those claims.
                                                                                                                        claims. Notwithstanding
                                                                                                                                  Notwithstanding any  any
other provision
other  provision of of this
                        this Agreement
                             Agreement or     or the
                                                  the JAMS
                                                      JAMS Rules,
                                                              Rules, disputes         regarding the
                                                                         disputes regarding        the scope,
                                                                                                         scope, applicability,
                                                                                                                   applicability, enforceability
                                                                                                                                     enforceability or or
validity of
validity  of the
             the Class
                  Class Action
                           Action Waiver
                                    Waiver may may bebe resolved
                                                         resolved only
                                                                     only by  by a
                                                                                 a civil
                                                                                   civil court
                                                                                          court ofof competent
                                                                                                     competent jurisdiction
                                                                                                                     jurisdiction andand not
                                                                                                                                          not by
                                                                                                                                               by an
                                                                                                                                                   an
arbitrator. In
arbitrator.  In any
                any case
                      case inin which:
                                which: (1) (1) the
                                               the claim
                                                    claim is
                                                           is filed
                                                              filed as
                                                                     as a  a class,
                                                                              class, collective,
                                                                                      collective, oror representative
                                                                                                        representative actionaction and
                                                                                                                                      and (2)
                                                                                                                                           (2) there
                                                                                                                                               there is
                                                                                                                                                      is a
                                                                                                                                                         a
final judicial
final judicial determination
               determination that  that the
                                         the Class
                                               Class Action
                                                       Action Waiver
                                                                Waiver is   is unenforceable
                                                                               unenforceable as    as to
                                                                                                       to any
                                                                                                           any claims,
                                                                                                                 claims, thethe class,
                                                                                                                                 class, collective,
                                                                                                                                         collective,
and/or representative
and/or   representative action
                             action on
                                     on such
                                          such claims
                                                   claims must
                                                           must bebe litigated
                                                                        litigated inin a
                                                                                       a civil
                                                                                          civil court
                                                                                                court ofof competent
                                                                                                            competent jurisdiction,
                                                                                                                            jurisdiction, but
                                                                                                                                           but the
                                                                                                                                                the Class
                                                                                                                                                     Class
Action Waiver
Action   Waiver shall
                  shall bebe enforced
                              enforced in   in arbitration
                                               arbitration on
                                                            on anan individual
                                                                     individual basis
                                                                                    basis asas to
                                                                                                to all
                                                                                                   all other
                                                                                                       other claims
                                                                                                               claims to  to the
                                                                                                                              the fullest
                                                                                                                                   fullest extent
                                                                                                                                           extent
possible and
possible   and the
                 the claims
                       claims to
                               to be
                                   be litigated
                                       litigated in in court
                                                       court shall
                                                              shall be
                                                                     be stayed
                                                                           stayed pending
                                                                                     pending the the completion
                                                                                                      completion of    of the
                                                                                                                           the arbitration
                                                                                                                                arbitration on
                                                                                                                                             on the
                                                                                                                                                 the
arbitrable claims.
arbitrable   claims.

6. Paying
6. Paying For
          For The
              The Arbitration
                  Arbitration
Each party
Each  party will
             will pay
                  pay the
                       the fees
                            fees for
                                  for his,
                                      his, her
                                           her or
                                               or its
                                                  its own
                                                      own attorneys,
                                                            attorneys, subject
                                                                       subject to
                                                                                to any
                                                                                   any remedies
                                                                                        remedies to to which
                                                                                                       which that
                                                                                                              that party
                                                                                                                   party may
                                                                                                                          may later
                                                                                                                               later
be entitled
be entitled under
             under applicable
                     applicable law.
                                   law. However,
                                        However, in in all
                                                       all cases
                                                           cases where
                                                                 where required
                                                                        required by
                                                                                  by law,
                                                                                      law, the
                                                                                           the Company
                                                                                                 Company will
                                                                                                            will pay
                                                                                                                 pay the
                                                                                                                     the Arbitrator's
                                                                                                                          Arbitrator's
and arbitration
and  arbitration fees.
                  fees. If
                        If under
                           under applicable
                                    applicable law
                                               law the
                                                     the Company
                                                          Company isis not
                                                                       not required
                                                                           required to
                                                                                     to pay
                                                                                         pay all
                                                                                             all of
                                                                                                 of the
                                                                                                    the Arbitrator's
                                                                                                        Arbitrator's and/or
                                                                                                                      and/or
arbitration fees,
arbitration fees, such
                   such fee(s)
                          fee(s) will
                                 will be
                                      be apportioned
                                          apportioned between
                                                         between the
                                                                   the parties
                                                                       parties in
                                                                               in accordance
                                                                                  accordance withwith said
                                                                                                       said applicable
                                                                                                            applicable law,
                                                                                                                        law, and
                                                                                                                             and any
                                                                                                                                  any
disputes  in that
disputes in  that regard
                   regard will
                            will be
                                 be resolved
                                     resolved by
                                               by the
                                                   the Arbitrator.
                                                       Arbitrator.




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7. The
7. The Arbitration
       Arbitration Hearing
                   Hearing And
                           And Award
                               Award
The parties
The  parties will
              will arbitrate
                   arbitrate their
                                their dispute
                                      dispute before
                                                before thethe Arbitrator,
                                                               Arbitrator, who
                                                                            who shall
                                                                                  shall confer
                                                                                        confer with
                                                                                                with the
                                                                                                     the parties
                                                                                                           parties regarding
                                                                                                                    regarding the the conduct
                                                                                                                                      conduct
of the
of the hearing
        hearing and
                 and resolve
                       resolve anyany disputes
                                       disputes thethe parties
                                                        parties may
                                                                  may have
                                                                       have inin that
                                                                                 that regard.
                                                                                      regard. The
                                                                                               The Arbitrator
                                                                                                     Arbitrator shall
                                                                                                                  shall apply
                                                                                                                         apply substantive
                                                                                                                                 substantive
law as
law  as applicable
         applicable to
                     to the
                         the claims,
                               claims, and
                                         and may
                                               may award
                                                     award anyany party
                                                                   party any
                                                                          any remedy
                                                                               remedy to to which
                                                                                            which that
                                                                                                   that party
                                                                                                         party isis entitled
                                                                                                                    entitled under
                                                                                                                              under
applicable law,
applicable   law, but
                   but such
                        such remedies
                                remedies shall
                                            shall be
                                                   be limited
                                                       limited toto those
                                                                    those that
                                                                            that would
                                                                                 would bebe available
                                                                                             available to
                                                                                                        to aa party
                                                                                                              party in
                                                                                                                     in his
                                                                                                                        his or
                                                                                                                             or her
                                                                                                                                her individual
                                                                                                                                     individual
capacity in
capacity   in a
              a court
                court of
                       of law
                           law for
                                 for the
                                     the claims
                                          claims presented
                                                   presented to  to and
                                                                    and decided
                                                                         decided by by the
                                                                                        the Arbitrator;
                                                                                            Arbitrator; no
                                                                                                         no remedies
                                                                                                              remedies that
                                                                                                                          that otherwise
                                                                                                                                otherwise
would be
would   be available
            available toto an
                           an individual
                                individual inin a
                                                a court
                                                  court ofof law
                                                             law will
                                                                  will be
                                                                       be forfeited
                                                                           forfeited by
                                                                                     by virtue
                                                                                         virtue of
                                                                                                of this
                                                                                                   this Agreement.
                                                                                                         Agreement. Unless
                                                                                                                         Unless otherwise
                                                                                                                                   otherwise
agreed by
agreed   by the
             the parties
                 parties in in writing,
                               writing, the
                                         the Arbitrator
                                               Arbitrator will
                                                           will issue
                                                                issue aa decision
                                                                         decision oror award
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                                                                                               in writing,
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                                                                                                             stating the
                                                                                                                      the essential
                                                                                                                           essential findings
                                                                                                                                       findings
of fact
of fact and
         and conclusions
              conclusions of   of law,
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                                        within 30
                                                30 days     after the
                                                    days after    the date
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                                                                                         of the
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                                                    Except as as may
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Arbitrator, neither
Arbitrator,  neither aa party
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                                      an Arbitrator
                                          Arbitrator may
                                                      may disclose
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hereunder without
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                       the prior
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                                                                         A court
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         judgment upon
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                                   award made
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                                                    pursuant to to the
                                                                   the arbitration.
                                                                        arbitration.

8. An
8. An Employee's
      Employee's Right
                 Right To
                       To Opt
                          Opt Out
                              Out Of
                                  Of Arbitration
                                     Arbitration
Arbitration is
Arbitration  is not
                not aa mandatory
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                                     condition ofof Employee's
                                                     Employee’s employment
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                                                                                            Company, andand therefore
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Employee     may submit
                  submit a  a form
                              form stating
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                                must submit
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                                                                                         "Dispute Resolution   Agreement OptOpt
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            ("Form") that
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                            can be
                                 be obtained
                                    obtained from
                                               from the
                                                     the Company's
                                                           Company's Human
                                                                         Human Resources
                                                                                   Resources Department
                                                                                              Department at at
hrlegaldocs@twitter.com. In
hrlegaldocs@twitter.com.      In order
                                 order to
                                       to be
                                          be effective,
                                              effective, the
                                                          the signed
                                                              signed and
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                                                                                                             to the
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Resources Department
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                           within 30
                                   30 days  of the
                                      days of  the Employee's
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                  in this
                     this paragraph
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                                                                                     Agreement. Should
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       this Agreement
            Agreement within
                         within 30
                                 30 days  of the
                                    days of  the Employee's
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                                                                          of this
                                                                             this Agreement,
                                                                                  Agreement, continuing
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                                                                                                           the Employee's
                                                                                                               Employee's
employment constitutes
employment    constitutes mutual
                            mutual acceptance
                                     acceptance of of the
                                                      the terms
                                                           terms of
                                                                  of this
                                                                      this Agreement
                                                                           Agreement by by Employee
                                                                                           Employee andand the
                                                                                                           the Company.
                                                                                                               Company. An  An
Employee has
Employee    has the
                the right
                     right to
                           to consult
                              consult with
                                       with counsel
                                            counsel of of the
                                                          the Employee's
                                                              Employee's choice
                                                                             choice concerning
                                                                                      concerning this
                                                                                                  this Agreement.
                                                                                                       Agreement.

9. Non-Retaliation
9. Non-Retaliation
An employee
An employee will
              will not
                   not be
                       be subject
                          subject to
                                  to retaliation
                                     retaliation if
                                                  if he
                                                     he or
                                                        or she
                                                           she exercises
                                                               exercises his
                                                                          his or
                                                                              or her
                                                                                 her right
                                                                                     right to
                                                                                           to assert
                                                                                              assert claims
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                                                                                                            under this
                                                                                                                  this
Agreement. If
Agreement. If any
              any Employee
                    Employee believes
                              believes that
                                        that he
                                              he or
                                                 or she
                                                     she has
                                                          has been
                                                              been retaliated
                                                                   retaliated against
                                                                               against by
                                                                                        by anyone
                                                                                            anyone at
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                                                                                                       the Company,
                                                                                                           Company, the
                                                                                                                     the
Employee should
Employee should immediately
                   immediately report
                                report this
                                       this to
                                            to the
                                                the Human
                                                     Human Resources
                                                             Resources Department.
                                                                         Department.

10. Enforcement
10. Enforcement Of
                Of This
                   This Agreement
                        Agreement
This Agreement
This Agreement isis the
                    the full
                          full and
                               and complete
                                    complete agreement
                                                 agreement relating
                                                             relating to
                                                                       to the
                                                                          the formal
                                                                              formal resolution
                                                                                      resolution of
                                                                                                  of covered
                                                                                                     covered disputes.   Except as
                                                                                                              disputes. Except   as
stated in
stated in paragraph
          paragraph 5, 5, above,
                          above, in in the
                                       the event
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                                                                of this
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                 will be
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                                                                 Waiver, Collective
                                                                           Collective Action
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                                                                                                      or Private
                                                                                                         Private Attorney
                                                                                                                  Attorney General
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Waiver is
Waiver  is deemed
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                        be unenforceable,
                            unenforceable, the  the Company
                                                    Company and and Employee
                                                                     Employee agree
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                                                                                                  Agreement is is otherwise
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to any
to any party's
       party's ability
               ability to
                       to bring
                           bring a a class,
                                     class, collective
                                             collective or
                                                        or representative
                                                           representative action
                                                                             action in
                                                                                    in arbitration.
                                                                                       arbitration. Nothing
                                                                                                    Nothing in
                                                                                                             in this
                                                                                                                this Agreement
                                                                                                                     Agreement
modifies the
modifies  the at-will
              at-will nature
                      nature of of Employee's
                                   Employee’s employment
                                                  employment with
                                                                with the
                                                                      the Company.
                                                                           Company.

AGREED:
AGREED:



Leslie Berland,
Leslie Berland, Head
                Head of
                     of People
                        People
TWITTER, INC.
TWITTER,   INC.


By signing
By signing below,
           below, II acknowledge
                     acknowledge and
                                   and agree
                                        agree to
                                              to the
                                                 the terms
                                                      terms of
                                                            of this
                                                               this Dispute
                                                                    Dispute Resolution
                                                                            Resolution Agreement,
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am aware of
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                right to
                       to opt
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                                  per the
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                                          terms of
                                                 of this
                                                    this Agreement:
                                                         Agreement:

EMPLOYEE NAME
EMPLOYEE NAME PRINTED
              PRINTED
                                          Emmanuel Cornet
                                         Emmanuel   Cornet-
                                         Efrnmantze‘Cornel
EMPLOYEE SIGNATURE
EMPLOYEE SIGNATURE                                                2021 21:49 GMT)
                                         Emmanuel Cornet (Apr 23, 2021



Date:
Date:                                             2021
                                          Apr 23, 2021


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                                  1      MATTHEW J. GAUGER, Bar No. 139785
                                         GARY P. PROVENCHER, Bar No. 250923
                                  2      ANTHONY J. TUCCI, Bar No. 288819
                                         WEINBERG, ROGER & ROSENFELD
                                  3      A Professional Corporation
                                         428 J Street, Suite 520
                                  4      Sacramento, California 95814
                                         Telephone (916) 443-6600
                                  5      Fax (916) 442-0244
                                         E-Mail: mgauger@unioncounsel.net
                                  6               gprovencher@unioncounsel.net
                                                  atucci@unioncounsel.net
                                  7
                                         Attorneys for Plaintiff/Plaintiff SERVICE EMPLOYEES
                                  8      INTERNATIONAL UNION, LOCAL 1021

                                  9
                                                                   UNITED STATES DISTRICT COURT
                                 10
                                                                 EASTERN DISTRICT OF CALIFORNIA
                                 11'

                                 12''
                                         SERVICE EMPLOYEES INTERNATIONAL                [~10. 2:13-cv-01670-WBS-EFB
                                 13      UNION, LOCAL 1021,
                                                                                        FIRST CHANGED COMPLAINT Td
                                 14                             Plaintiff/Petitioner,   COMPEL ARBITRATION
                                                                                        [Fed. R. Civ. P. 15(a)(1)]
                                 15            v.                                       Date:     October 7, 2013
                                 16                                                     Time:     2:00 p.m.
                                         PRNATE INDUSTRY COUNCIL OF                     Dept.:    Courtroom 5
                                 17      SOLANO COUNTY, INC. D/B/A                      Tudge:    Hon. William B. Shubb
                                         WORKFORCE INVESTMENT BOARD OF
                                 18      SOLANO COUNTY, a California corporation
                                 19                            Defendant/Respondent.
                                 20

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   ROSENFELD
 A Professional Corporation
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                                           FIRST CHANGED COMPLAINT TO COMPEL ARBITRATION
                                           Case No. 2:13-cv-01670-WBS-EFB
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                                1                TO:      THE HONORABLE UNITED STATES DISTRICT COURT FO THE EASTERN

                                2        DISTRICT OF CALIFORNIA

                                3                Pursuant to Federal Rule of Civil Procedure 15(a)(1), Plaintiff hereby submits this First

                                4        Amended Petition to Compel Arbitration, which respectfully shows:

                                5                1.      Jurisdiction of this Court is based upon 29 U.S.C. § 185, 28 U.S.C. § 1331, 28
                                6        U.S.C. §1337. Venue is appropriate in this District since the dispute arose in this District and

                                7        Plaintiff is actively involved in representing its members with respect to their wages, hours and

                                8        working conditions in this District. Furthermore, Defendant did business which is the subject of

                                9        this dispute in this District.

                               10                2.      Plaintiff SERVICE EMPLOYEES INTERNATIONAL UNION, LOCAL 1021
                               11        ("Petitioner" or "SEIU Local 1021") is a labor organization doing business in the State of

                               12        California and is a voluntary, unincorporated association, existing under and pursuant to the laws

                               13        of the State of California. Plaintiff exists in part for the purpose of providing standards of wages,
                                    ,
                               14       hours, and working conditions, and negotiating and executing collective-bargaining agreements

                               15       on behalf of employees in an appropriate collective-bargaining unit. Plaintiff is a labor

                               16       organization within the meaning of the Labor—Management Relations Act of 1947, 29 U.S.C.

                               17        § 151 et seq.

                               18                3.      Defendant PRIVATE INDUSTRY COUNCIL OF SOLANO COUNTY, INC.,

                               19       dba WORKFORCE INVESTMENT BOARD OF SOLANO COUNTY is engaged in interstate

                               20       commerce and is an employer within the meaning of the Labor—Management Relations Act of

                               21       1947, 29 U.S.C. §151 et seq.

                               22               4.       At all times herein mentioned, Plaintiff and Defendant have been parties to a

                               23       written Collective Bargaining Agreement to which each of the parties is bound. A copy of said

                               24       Collective Bargaining Agreement is attached hereto, marked Exhibit A and incorporated herein

                               25       by reference.

                               26               5.       Section XIX of the Collective Bargaining Agreement provides for a grievance

                               27       procedure wherein the parties are bound to submit all unresolved disputes to a neutral Arbitrator.

                               28       The Arbitrator is empowered to make final and binding decisions.
WEINBERG, ROGER &
     ROSENFELD
 A Professignal Corporation                                                                1
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  Sacremm~o, Catifomix 95614
        (916)493-6600
                                           FIRST CHANGED COMPLAINT TO COMPEL ARBITRATION
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                                1              6.     Since on or about Apri125, 2013, a dispute has existed over the interpretation

                                2      and/or application of the Collective Bargaining Agreement in that there have been grievances and

                                3      continues to be grievances concerning the interpretation of various portions of the Agreement.

                                4      Section XTX Grievance Procedure (C) provide that the affected employee, the relevant supervisor

                                5      and the Executive Director or his designee should meet to attempt to work out a solution to the

                                6      issue prior to initiating the formal grievance process. The Collective Bargaining Agreement does

                                7      not prohibit the Union from being present. The Employer has refused to participate in the

                                8      informal process if the Union is present or requests to be present.

                                9             7.      On Apri125, 2013, the Union initiated the grievance process in eight grievances

                              10       attempted to file at the informal level. A true and correct copy of the letter from the Union's

                              11       Field Representative, Stephen Cutty, to the Employer's Executive Director, Robert Bloom, is

                              12       attached as Exhibit B and incorporated herein as though fully set forth.

                              13              8.      On May 3, 2013, the Employer responded but refused to meet to initiate the

                              14       informal resolution process. A true and correct copy of the May 3, 2013 letter from Mr. Bloom to

                              15''.    Mr. Cutty is attached as Exhibit C and incorporated herein as though fully set forth.

                              16              9.      The Union responded on May 7, 2013 and moved the dispute to the second level

                              17       of the grievance procedure. A true and correct copy of the May 7, 2013 letter from Mr. Gutty to

                              18      Mr. Bloom is attached as Exhibit D and incorporated herein as though fully set forth.

                              19              10.     The Employer responded to the Union on May 15, 2013 refusing to process the

                              20      grievances. A true and correct copy of Mr. Bloom's May 15, 20131etter to Mr. Gutty is attached

                              21.     as Exhibit E and incorporated herein as though fully set forth.

                              22              11.     On May 23, 2013, the Union responded and requested the Employer to choose

                              23      arbitrators pursuant to Step 3 of the Grievance Procedure. A true and correct copy of Mr. Cutty's

                              24      May 23, 2013 letter to Mr. Bloom is attached as Exhibit F and incorporated herein as though fully

                              25      set forth.

                              26              12.     On May 30, 2013, the employer responded stating "please see my earlier May 15,

                              27      2013 letter to you (attached), as my continued response to your repetitive request now posed in

                              28      this latest May 23 letter."
WEINBERG, ROGER &
   ROSENFELD
 A Professional Crnporation                                                              2
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  Saanmrnb, Calitnvn 95814
      (916)443LG00
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                               1              13.    At all times material herein, Plaintiff Union has complied with all the terms and

                               2 I conditions of said Collective Bargaining Agreement, but Respondent employer has failed and

                               3     refused to so comply, and still so fails and refuses to comply with the said grievance and

                               4     arbitration provisions of the agreement, or to submit the dispute for resolution pursuant to the

                               5     provisions of said grievance and arbitration provisions.

                               6              14.    Defendant's refusal to arbitrate the grievance pursuant to the CBA is frivolous,
                               7     unjustified, and in bad faith. Plaintiff has been forced to incur attorneys' fees to obtain
                               8     compliance with the arbitration procedure. Fees incurred to so obtain compliance with a
                               9     collective bargaining agreement should be awarded. Sheetmetal Workers'Intl Assn, Local
                              10'    Union No. 359 v. Madison Indus., Inc. ofA~iz., 84 F.3d 1186, 1191 (9th Cir. 1996); Int'Z Union of
                              11. Petroleum andIndus. Workers v. W. Indus. Maint., Inc., 707 F.2d 425 (9th Cir. 1983).

                              12              WHEREFORE, Plaintiff prays that an Order of this Court be made pursuant to 29 U.S.C.
                              13     § 185 and 9 U.S.C. § 4 ordering Defendant to submit the outstanding dispute to the grievance and
                              14     arbitration procedures set forth in the provisions of the collective-bargaining agreement referred
                              15     to herein, and to otherwise comply with the grievance and arbitration procedures required by said
                              16     agreement as set forth therein. Plaintiff furthermore seeks reasonable attorneys' fees and its costs
                              17     of suit herein; and for such other and further relief as to this Court may seem just and proper.
                              1$
                                     Dated:          ~----                           WEINBERG, l
                              19                    "~                               A Professional
                                                                                        f~       ~
                              20

                              21                                             By:       "MAT E J. AUGER
                                                                                        GARY P. PR ENCHER
                              22                                                        ANTHOI~II' . TUCCI
                              23                                                    Attorneys for Plaintiff/Plaintiff SERVICE
                                                                                    EMPLOYEES INTERNATIONAL UNION,
                              24                                                    LOCAL 1021
                              25

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WEINBERG, ROGER &
   ROSENFELD
 A Professional Coryoration                                                             3
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AdminlProgram Specialist II                           Adminl.Program Technician III
Admin/Program SpecialistI                             Admin/Prograrri Technician II
                                                      Admin/Program TechnicianI




       Represented by Service Employees International Union
                     Local 1021 CTW, CLC




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                                  COLLECTIVE BARGAINING AGREEMENT
                                               Between

                               Service Employees International Union, Local 1021
                                                     And
                               Workforce Jnvestment Board of Solano County, Inc.

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This Collective Bargaining Agreement {"Agreement") is made and entered into by and between the
Private Industry Council of Solano County, Inc, doing Business as the Workforce Investment Board
(WI~i) of Solana CounTy, Inc., hereinafter referred to as the Employer and Service Employees
International Union (SEIU), Local 1021, CTW, CLC hereinafter refereed to as the Union.


                                         ~           ~          ~
The Employer recognizes the Unian as the exclusive bargaining representative for allfull-time and
regular part-time employees, as defined by the National Labor Relations Board (NLRB), in the
classifications of AdministrativelProgram Specialists I, and II, and Administrative/Program
Technicians I,II and III, excluding supervisory, confidential, and temporary employees.


                               SEC~'ION II. MANAGEMENT RI+GIiTS
Except   as expressly modified or restricted by a specific provision of this Agreement, nothing in this
 Agreement shall be deemed to limit the Employer in any way in the exercise of regular and
customary management functions, including all statutory and inherent managerial rights,
preragarives, and functions, which are retained and vested exclusively in the Employer. These
include, but are not limi#ed to, the rights in accordance with the Employer's reasonable and exclusive
judgment and discretion: to evaluate the performance of employees, reprimand, suspend, discharge,
or otherwise discipline employees for cause; to determine the number of employees to be employed;
to hire employees, including temporary and limited term employees; determination of employee
qualifications and assignment and direction of their work; to promote, demote, transfer, layoff, recall
to work and retire employees; to set the standards ofpraductivity, and the services to be rendered; to
determine the amount and forms of compensation for employees with the understanding that this
Agreement sets the minimum compensation for covered employees; to maintain the efficiency of
operations; to determine the personnel, methods, means and facilities by which operations are
conducted; the design and implementation of safety programs and plans for increased efficiency; to
set the starting and quitting time and the number of hours and shifts to be worked; to use temporary
or Limited term employees to perform work or services; to relocate the WIB's operations to any part
thereof; to expand, reduce, alter, combine, transfer, assign, or cease any job, department, operation or
service; to control and regulate the use of facilities, equipment and other property ofthe Employer; to
introduce new or improved methods, materials, machinery, and equipment; to determine the number,
location and operation of departments, divisions, and all other units of the employer; to issue, amend
and revise policies, ri,~les, regulations, and practices; and to take whatever action, which it considers
necessary to determine, manage, and fulfill the mission of the Employer and to direct the Employer's
employees. The Employer's failure to exercise any right, prerogative, or functionhereby reserved to
it, except in instances of a clearly established past-practice regarding wages, hours and working
conditions shall not be considered a waiver of the Employer's right to exercise such right,
prerogative, ar functions ar preclude it from exercising the same in another way not to conflict with
the express provisions of this Agreement.


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                                 SECTIOIlT III. iTNION SECURITY
 ~.       Condition of Employment
         It shall be a condition of employment that all employees of the Employer covered by this
          Agreement who are members of the Union in good standing on the effective date of this
          Agreement sha11remain members in good standing and those who are not members in good
          standing on the effective date of this Agreement shall, on the 30~" day following the effective
         date of this Agreement, become and remain members in good standing in the Union or pay
         amounts required by the Union under the "Agency Shop" arrangement, which it may
         implement and administer. It shall also be a condition of employment that all employees
         covered by this Agreement and hired on or after its effective date shall, on the 30~' day
         following the beginning of such employment, become and remain members in good standing
         in the Union or contribute amounts required by the Union under an Agency Shap option
         under the appropriate circumstances.

B.       Procedures
         The Employer will notify the Union of the name, address and telephone number of each
         employee hired in any of the classifications covered by this Collective Bargaining
         Agreement, in writing within five (5) working days of initial employment. The Union shall
         then forward to said employee an authorization form advising the employee that the
         employer has entered into a Union Security AgreementlAgency Shap with the Union and
         otherwise setting forth all conditions of employment related thereto. It shall be the Union's
         responsibility to provide acheck-off form for the employee's signature authorizing payroll
         deductions of Union dues or agency fees.

         The Union will pxovide said authorization form signed by the employee to the Business &
         Employment Services Manager, car hislher designee, who shall then implement it in
         accordance with its terms after the employee has been employed for thirty (30) calendar days.
          The Union will hold the Employer harmless for any and all claims made agaznst it by any
         current or former employee related to the Employer's compliance with this Union security
         provision, and any and ali expenses incurred in its defense against any such claim, including
         reasonable costs and attorney fees. Inno event shall the Employer be required to pay from its
         own funds Union dues, service fees or charitable contributions which the employee maybe
         obligated to pay but fail to pay regardless of the reason.

C.       Check-off t)bligatfon
         The Employer sha11 deduct Union dues, service fees, initiation fees, voluntary COPE
         deduction, or charitable contributions and premiums for approved insurance programs from
         an employee's pay, pursuant to a signed. authorization form from the employee, in conformity
         with California regulations. The Employer sha11 promptly pay to the designated payee all
         sums so deducted and sha11 have no further duty on this subject.

ID.     Related Terminations
        When any employee employed in the Collective Bargaining unit described herein has failed to
        meet hislher obligation under this section, the Employer agrees to discharge such employees
        within fifteen {15} days after receiving written notice from the Union.


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                             SECTIt)N IV. AUTHC?RIZED AGENTS
In their capacity as the Authorized Agents for the Employer and the Union, all communications both
verbally and in writing must be sent to the two named individuals below. However, if during the
effective dates of this Agreement the Authorized Agents for either party are changed those
amendments must be submitted in writing and within five (5) working days of the Agent's name
change.

A.      The Emnlover's Prineinal Authorized Agent Shall Be
             Mr. Robert Bloom, Executive Director
              Workforce Investment Board (WIB) of Solaro County, Inc.
             320 Campus Lane
             Fairfield, CA 94534-1400
             Phone Number         ?07-863-3501
             FAX Number           707-864-3386
             Email Addressrbloom(g~solanawib.org

~.     The Union's Principal Authorized Alen# Shall_Be
              Stephen Cutty, Field Representative
              Service Employee's International Union
              (SETH Local 1021 CTW, CLC
              2300 Boynton Avenue, Suite #240
             Fai~eld, CA 94533
              Phone Number          707-427-7209
             FAX Number             107-422-5107
       Email Address Stephen,cutty(a7seiu1021.org


C.     IO~otification of Changes in Person or Address
       Each gamy shall immediately notify the other of a change in the person or address of its
       principal authorized agent.

                      ~EC~'ION V. EMPLOYEE CLASSIFICATION
A.     Regular Et~lavees
       A regular employee is a fu11 or part-time employee appointed to a position which has been
       authorized by the Employer and covered by this Agreement.

~.     Limited-Term Emplo~ces
       A limited-term employee is either a full ar part-time employee hired far a specific program,
       limited-term of employment or purpose whose position is at the time of engagement to be a
       finite duration and to be eliminated when such programs or need terminates and such services
       are no longer required. Such employees are not covered by this Agreement. However, the
       Employer will provide written notification to the Union whenever such employees are
       engaged.


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        1.     Limited-Term Emnloved for More Than One (1) Year
               An employee initially hired an a limited term basis in a classification covered by this
               Agreement, and has worked for one (1}day more than twelve {12) consecutive months
               shall, as of that date be covered by all provisions of this Agreement.

C.      Full-Time Resular Emt~lovices
        A full-time regular employee is one that is neither a temporary or limited term employee who
        works at least forty (40) hours per week on a regularly scheduled basis.

D.      Part-time Regular Emnlovees
        A part-time regular employee is anon-temporary ar limited term employee who works less
        than forty {40) hours per week on a regularly scheduled basis.

E.     PXobationary Em Ip ovees
       Probationary employees are employees who are full or part-time regular employees during
       their first six {b) consecutive or aggregate months of employment, unless the probationary
       period has been extended for an additional three (3) months.
       1.       Probationary Period
                The first six (6) months of ennployment for a newly hired and newly promoted
                employee sha11 be a probationary period. The probationary period may be extended
                for an additional three (3) months. A newly hired employee may be terminated at any
                time during his/her probationary period without a right to appeal, except for alleged
                discrimination. Such termination during the probationary period shall not be subject
                to the grievance procedure.

       2.      Refection During A Promotional Probationary Period
               An employee terminated during his or her probationary period in a promotional
               classification, coverad by this Agreement, and who has passed an initial probationary
               period with the Employer shall have the right to return to a position in the
               classification and functional assignment helshe was in prior to his or her promotionif
               a vacancy exists in that functional assignment.

                                 SEC7CION VI. UNION ACCESS
It is agreed by both parties that far the purpose of carrying out and enforcing the terms of this
Agreement, the authorized representative of the Union upon notification to the Employer shall have
the right of visiting and entering the esxablishrnent of the Employer during regular business hours.

The Business &Employment Services Manager shall be given prior notification ofthe date and time
of the visit. Access shall not be unreasonably denied. This privilege shall be exercised reasonably
and shall not disrupt the work of employees, provided that the Union representative may confer with
any employee and his ar her supervisor or other Employer representative in connection with a
complaint or problem concerning the employee during working hours. If the meeting is expected to


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last in excess of fifteen X15) minutes, the steward vain notify the employee's supervisor. Failure to
notify that the meeting shall exceed fifteen (15) minutes shall xesult in termination of the meeting at
fifteen (15) minutes without recourse to the grievance procedure hereunder.

The Employer will recognize one (1) duly appointed shop steward fc~r the Vallejo office, one {1) for
the Fairfield office, and one (1) for the Vacaville office. If during the term of this contract, the
Employer opens an additional office, they will recognize one (1) duly appointed shop steward for each
offace.

                              SECTION VII. BULLETIN BOARDS
The Employer shall make space available to the Union on a bulletin board in each work location.
Such postings will be the responsibility of the Union Stewards) or Field Representative. The
Employer will have no responsibiliTy for policing such material. All materials posted. on union
bulletin boards shall be in good taste and strictly impersonal in nature and limited to the legitimate
business of the Union. Prior to posting, any material posted sha11be plainly and legibly initialed by an
authorized representative of the Union.


                      SIECTION VIII. ~TAF~' ISSUES COMMITTEE
A Union/Management Committee consisting of three {3) members selectedby the Union and tree {3)
members selected by the Employer, (one of wham is the Executive Director} shall meet quarterly or
by mutual agreement to discuss issues that wi11 work towards accomplishing:
              1.      To improve communications between representatives of labor and
                     management;                        ,

               2.      Ta provide workers and Employers with opportunities to study and explore
                       new and innovative joint approaches to achieving organizational effectiveness;

               3.      To assist workers and Employers in solving problems of mutual concern not
                       susceptible to resolution within the Collective Bargaining process, including
                       matters that can be addressed through the grievance procedure;

               4.      To bring to the Employers attention any concerns regarding workload equity;
                       and,

                       Any actions} t~lcen as a result of the committee meetings will be at the sole
                       discretion of the Executive Director, and not grievable.


                                  SECTION IX.. RELEASE TIIi~tE
An employee has a lawful right to have a shop steward present in an interview that may reasonably
lead to discipline, or a grievance meeting, or such circumstances whenever the Employer requests a
shop steward be present. The shop steward sha11 be granted a maximum of twenty (20) paid hours


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per calendar year to represent employees' including investigations. The Employer will rnakehis/her
representatives available to conduct said business at reasonable times so as to avoid loss of
productivity of the steward and the affected employee. The steward shall not otherwise conduct
Union business during working time.

Both the supervisor of the employee requesting assistance, and the Employer's Business &
Employment Services Manager shall receive notification from t1~e Union prior to the time the
requested time off is to betaken.

At the Union's option and upon appropriate notice, a maximum of four (4) of the twenty (20} paid
release hours per calendar yeaz may be used for Shop Steward training. The Union must provide the
Employer's Business & Employment Services Manager with a minimum of three (3) working days
advanced notice before the requested training is scheduled to take place.


                  SECTI4i~T X. DISTRIBUTIQN OF UNION LITERATURE
The Union may distribute literature {specific to this Agreement} to employees through the WIB's
internal mail system, as long as this does not disrupt the conduct of the Employer's business. 'The
Union also agrees to provide a copy ofall distributed literature to the Business &Employment
Services Manager.

                                       i          !    '' !      !'
A.      Work Week
        The work week is seven {?) consecutive calendar days, beginning on Sunday at 12:04 a.m.,
        and ending on Saturday at 11;59 p.m.

~.      Work Schedule
        The basic work hours and work week are eight (8) hours per day and forty (40) hours within a
        work week, Monday through Friday, or possibly to include a Saturday but not to exceed a five
        {5) day work week, 8:00 a.m. to 5:00 p.m. The Employer shall have sole discretion as to
        whether or not to permit an employee to work a flexible work schedule. Flexible wank
        schedules must be between 7:30 a.m. and 9:30 p.m.
        1.     Pro~e~s for Reguestin~ ~ Flexible W~urk 5c}~ednle
               a.     If an employee is interested in working a flexible work schedule helshe must
                      submit a written request to their immediate supervisor expressing their interest
                      in flexing their work schedule, and the eight (8) hour schedule they would like
                      to have.

               b.      The supervisor will be responsible for recarnmending approval/denial of the
                       request and forwarding it to the Division Manager within three {3} working
                       days. A brief explanation of why the supervisor denies a request is also
                       necessary.



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             c.     The Division Manager will be responsible for recommending approval or
                    denial of the employee request to the Executive Director within three (3)
                    working days of receipt of the request. A brief explanation of why the
                    Division Manager denies a request is also necessary.

             d.     The Executive Director will have the sole discretion of approving or
                    disapproving the flexible work schedule request. The Executive Director will
                    notify the Division Manager and Business &Employment Services Manager
                    of hislher decision to approve/deny the request within three (3) working days.

            1'he Business &Employment Services Manager or designee will be responsible for
            providing the employee with a copy of the approved/denied request and placing the
            original in the employee's official personnel file.

C.   Attendance
     Regular attendance and punctuality are part of all employees' jab responsibilities. It is the
     Employer's expectation that all employees are present and on time every day.
     1.    Absence
           a.      An absence is any time lost from work regardless of reason, including sickness
                   and tardiness. An absence excludes time off scheduled in advance using
                   FMLA/CFRAiMedical leave, ADA leave, personal leave of absence,
                   bereavement, jury duty, witness duty, workers compensation time, military
                   duty, and any other allowable absence that has been pre-approved.

           b.       Excessive absenteeism will be considered to be when the number of an
                    employee's unapproved absences exceeds twelve (12) days in any twelve (12)
                    month period andJor three (3} days in the three (3) month period prior to an
                    employee's most recent absence. Excessive absenteeism may result in
                    disciplinary action up to and including termination.

           c.       Na call is when an employee fails to report to work and fails to speak directly
                    to his/her supervisor within the first hour of the first scheduled work day of
                    such absence. No call may result in disciplinary action up to and including
                    termination.

           d.       Na show is when an employee fails to report to work and fails to notify his/her
                    supervisor for three (3} consecutive scheduled work days, (i.e., three (3)
                    consecutive no call days). No show employees will be considered to have
                    voluntarily resigned from WIB employment.


     2.     'T~rdiness
            a.     Tardiness is when an employee arrives at his(her work stationready to work at


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                       a time later than the scheduled commencement work time (include return from
                       breaks andlor meal periods).


                b.     Excessive tardiness is when an employee is late mare than three {3) times
                       within any thirty (30) day period. Tardiness has been defined as reporting 10
                       minutes late for either the commencement of work and/or returning from
                       breaks as well as meal periods. This standard of excessive tardiness will be
                       applied uniform]y. Excessive tardiness may result in disciplinary action up to
                       and including ternunation.


                              XII. REST AND MEAL PERIODS
Rest and meal periods are scheduled by each supervisor.
A.     Rest Breaks
       Each employee shall be permitted two (2) fifteen minute rest breaks, one in the morning
       between 10:00 and 11:00 and one in the afternoonbetween 2:30 and 3:30. These morning and
       afternoon breaks will be amended by the bargaining unit member's supervisor if an adjusted
       work day has been approved. These breaks may not be combined or added to an employee's
       lunch period.

B.      Off-Duty iVleal or Lunch Periods
        A scheduled sixty (b0) minute off-duty meal ox lunchperiod will be observed during the hours
        11:30 a.m. and 2:30 p.m., each working day; unless the employee is on an approved adjusted
        work schedule in which his/her work day begins before or after 8:00 a,m. ar ends before or
        after 5:00 p.m. In those cases an amended off-duty meal period will be scheduled by the
        bargaining unit member's supervisor to occur before 11:30 a.m. or extend beyond the 2:30
        p.m. standard timeframes.


                                        XIII. OVERT'
Employees who are caused to work more than eight {8) hours in a day or forty(40) hours in a work
week, or in excess of the number of hours in a scheduled workday under an alternative work week
plan, sha11 receive time and one-half of their regular hourly rate of pay for each overtime hour or
portion thereof worked. Double time shall be paid far work in excess of twel ve (12) hours in a day or
past eight (8) hours on the seventh day of a work week.



                                       i'                        1   -
General Principles
A supervisor's evaluation of an employee should be as objective as passible. Individual ratings on an
evaluation should be supported by written comments. All written comments should be specific and

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 include examples that occurred wi#hin the period covered by the evaluation. This should be lane for
 both positive and negative ratings and comments.


 A.      Pr~bafionary Employees
         A probationary employee shall receive an evaluation prior to the completion of three {3}
         months and six (6} months employment as either a new, transferred, demoted ar promotional
         employee. An employee who has had his/her probationary period extended shall receive an
         evaluation prior to completing the first forty-five (45) days of the extension and by the end of
         the three (3) months extension. If the Employer fails to give a probationary employee his/her
         evaluation by the completion of the six (6) months probationary period ar by the end of the
         nine {9) months extended probationary period, the employee sha11 be deemed to have
         completed probation and gained regular status.

         The Employer reserves the right to terminate a probationary employee at any time during the
         six (6} months or extended nine (9) months probationary period. Such termination can be
         made without notice, without cause, and except for alleged discrimination, is not subject to
         the grievance procedures.

B.       Rc~uiar Emniavees
         Regular employees shall receive an evaluation annually, on the anniversary date of the
         completion of their probationazy period, or as soon thereafter as practicable.

C.       Sten Increases
                1.     Probationary Period
                       Performance evaluations wi11 be used as the primary basis far determining if
                       an employee is eligible to receive a salary increase at the successful
                       completion of six {6) months or if the probationary period is extended nine {9)
                       months of employment.

                Z.      Annual ~nniversary Date
                        Performance evaluations will be used as the primary basis for determining if
                        an employee is eligible to receive a salary increase at the successful
                        completion of their annual review date within a specific functional
                        assignment.

Tf either a probationary or annual evaluation results in a wage increase it will be retro-active to the
employee's anniversary date. The Executive Director based on the overall rating of the probationary
or annual evaluation will determine the salary adjustment for the employee.

I?.     Special Ev~luatians
        The Executive Director, at any time, may place an employee on a special evaluation period.
        This special evaluation period can not be for less than 30 days nor be longer than 90 days.


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        Employees that successfully complete a special evaluation period are not necessarily eligible
        to receive any type of salary adjustment.

E.      Com,~letion '~'imelines for Evaluations and Salary Adjustments
        I. Completed evaluations, (signed by the Executive Director), must be issued to the
            employee within thirty (30) calendar days of his/her probationazy completion date ar
            anniversary date. Tf the employee indicates a desire to meet with the Executive Director
            and discuss hislher evaluation, this timeline may be extended up to an additional thirty
            (30) days. This procedure presumes that the employee will be available to participate in
            the evaluation process.

        2.   Any salary adjustment must be implemented within 2 pay periods from the date the
             Executive Director signed the employee evaluation.

       Failure to adhere to these time-lines will be subject to the grievance procedures.


                           SECTION XV. ~VAL~JATIUN APPEALS
A.     Overall "Standard" Evaluation
       An employee at his/her discretion may submit a written comment to an overall satisfactory
       evaluation. The Employer's response or non-response to the employee's comment on an
       overall satisfactory evaluation sha11 not be subject to the grievance procedure.

~.     Oversell ~4I1n~~c~t~t~t~t~ l'er~`~~ct~~r~nce" car `~S_1rr~rt of5tr~rarCrrrd" ~v~lu~f~on
       An employee may submif a written response and/or request to meet with the Executive
       Director regarding an overall unsatisfactory evaluation. The Executive Director's written
       decision on the evaluation is final and binding and is not itself subject to the grievance
       procedure, unless the evaluation results in a reduction in wages, demotion, or discipline.

C.     Grievance Procedure Not Available for Evaluation Process
       The evaluation process and the evaluation itself is not subject to the grievance procedure.
       Any reduction in wages, demotion, or discipline resulting from an evaluation is subject to the
       grievance procedure.



                                           ~               ~     -
A.     Stiff Reduction or Layoff
       Staff reduction or layoff may be necessary based on the following circumstances:
       1.      Budgetary, funding, or programmatic problems whichrequire the deletion ofpositions
               or programs, or the consolidation or reclassification of pgsitions or a workforce
               reduction.



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         2,      A WIB reorganization far purposes of economy, effectiveness, efficiency, or other
                 reasons or purposes.

         3.      Seniority shall be defined as the total length of service with the Employer, excluding
                 unpaid leaves of absence.

B.       Procedures
         If the Employer considers it necessary to reduce its workforce, it will determine the functional
         assignments within classifications and number of bargaining positions to be reduced. Such
         layoffs may be necessary based on budgetary, funding ar program problems whichrequire the
         deletion of program assignments or the consolidation or reclassification of assignments, or a
         workforce reduction. The Employer will layoff the least senior ernpioyee in the functional
         assignment subject to a work reduction and not on a classification wide basis; additional
         layoffs in the same functional assignment will occur in relative order of seniority. Qn that
         basis, employees who have previously performed satisfactorily or can otherwise demonstrate
         the knowledge, skills and abilities to perform in a position which will be retained, may
         "bump" back into that functional assignment. However, when the employee desiring to
         "bump" back has not served in the functional assignment to which heJshe desires to be
         "bumped" back to, that employee shall serve on a probationary basis in that functional
         assignment. This probationary basis shall be distinguished from that accorded to newly hired
         employees and will not affect that employee's obligation to meet the requirements of the
         Union security provision hereof. The Employer's determination of that employee's skills and
         abilities and fitness for the desired assignment shall be final and binding and not subject to the
         grievance procedure. 1~lotwithstanding their qualifications, an employee currently under a
         plan of correction may be laid off prior to other employees in the same functional assignment
         and classification. Probationary employees inbargaining unit functional assignments within a
         classification shall be laid off before any regular bargaining unit employees. Regular
         employees scheduled for lay off shall be given written notice of such layoff at least fourteen
         (14) calendar days prior to the effective date of the layoff. Staff being laid off on an
         emergency basis shall be given at least seven (7) calendar days notice.

C.       Consultation
         Concurrent with sending notice to affected employees}, if not sooner, the Employer shall
         notify the Union of impending layoffs. Such notice shall constitute an offer to consult with
         the Union to determine if any feasible alternatives to layoff exist, The Union may request, and
         the Employer shall grant consultation thereon, provided said request is made within seven (7)
         days of notification. Failure to make a timely request shall be deemed a waiver of the right to
         consult regarding the noticed layoff:


I).     Bumuins
        In lieu of being laid off, an employee who is not on a plan of correction may:
        1.      Request to move to a vacant functional assignment in a classification with a lower pay


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               rate if the employee has performed in the vacant functional assignment, or can
               otherwise demonstrate that he/she is qualified to perform the duties of that functional
               assignment; or

        2.     An employee not on a plan of correction may bump or displace another employee with
               less seniority in a same classification in which helshe has previously served a
               successful probationary period with the Employer, or can otherwise demonstrate that
               he/she is qualified to perform the duties of that functional assignment.

E.     Re-Emiplovment
       If a vacancy occurs in a functional assignment in which there is a layoff, within eighteen {18)
       months of the layoff, the employer shall first resort to the re-employment list before filling
       said vacancy through reczuitment. If a laid-off employee onthe re-employment list has been
       previously qualified for a vacant functional assignment, that employee wi11 be offered, in
       reverse order of layoff, an opportunity to fill that functional assignment before it is filled
       through recruitment other than from the re-employment list.

       Laid off employees who have not previously been qualified for a vacant functional
       assignment, and who are not an a plan of correction, and who are on the re-employment list
       shall be notified and given an opportunity to apply for vacant positions on the same basis as
       recruited employees. Copies of said notificatian(s} sha11be mailedby the Employer to the last
       known address of laid off employees onthe re-employment list. The Employer sha11have na
       other obligation to notifying such employees.

       If an employee onthe re-employment list does not respond within tlu~ee (3) working days from
       receipt of the notice of vacancy, or if the notice is returned as undeliverable or if the employee
       declines the opportwni#y, hisJher name shall remain on the re-employment list for eighteen
       (18) months from the date of his/her layoff. Only after the eighteen months have been
       exhausted, will the employees name be removed from the re-employment list.


F.     Voluntary Quits
       Any employee who proposes to resign shall give two (2) weeks notice to the Employer.



                            ~ECTI~lI~TIII. PER.S+~I~NEL FILE
A.     Em~rlovee Personnel File
       An Employee Personnel File ("EPF") containing all materials pertinent to the employment
       and performance of each employee, but not the Employer's internal communications with its
       counsel, shall be maintained by the Employer's Business &Employment Services Manager,
       Non-confidential material contained in this file will consist of 1) items reviewedand/or issued
       to the employee; and 2} that are either signed by the employee or have a place for the


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         employee to sign signifying that the material has been provided. Should an employee refuse
         to sign any document that is to be placed in this file, the supervisor and Business &
         Employment Services Manager will make such a notation and date and initial the form. This
         EPF shall be available upon the employee's or the Union's request at reasonable times for
         inspection in the presence of the Employer's designated representative. Under this provision,
         each person inspecting the EPF shall sign a log which the Employer will maintain.


~.       Status Change Notification
         It is the employee's obligation to notify the Employer in writing of any change in the
         employee's name address, telephone number, ta~c status, marital status {for benefit and tax
         withholding purposes only), addresses and telephone numbers of dependents and spouse or
         former spouse (for insurance purposes only), beneficiary designations for insurance, disability,
         and pension plans, persons} to be notified in case of emergency, and any factors that affect
         the employee's ability to carry out his/her duties.


C.       Performance 1~'Iaterial
         All material relating to an employee's performance sha11 be signed by the Employer's
         designated representative and a copy of such material shall be provided to the employee. The
         employee shall acknowledge receipt of a copy of such material by signing the copy to be filed
         in the EPF. The employee's signature thereon signifies that the employee has been provided
         the material and has read it.


I~.      Disagreement Statements
         An employee may have placed in his/her EPF a written statement of disagreement to any
         material in the EPF and this statement shall be attached to the material in question. The
         employee, upon request, shall be given a copy of any material in the EPF.


E.      Future ~teri~l Placed in the EPF
        After the effective date of this Agreement, all future material placed in the EPF that the
        Employer and employee agree is incorrect, will be corrected or removed.


F.      Cnt~fidrnt~liCv of Emt~lovee I~~~Ith, iVi~clic~l ~nl~rr l~~r~`orn~~ncc ~C~aluatian
        Information
        The Union and Employer agree that in the interest of protecting all employees' right to
        pxivacy, any information concerning an employee's healthlmedical situation, job performance
        andlor formal personnel evaluations, which the employee does not make public, will be
        maintained as private information, except to the extent required by this Agreement.



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                          SECTION XVIII. DISCIPLINARY ACTION
A.      ~x~c~t~d Emnl+uYee Conduct
        All employees are expected to perform their assigned work in a competent manner, to
        cooperate with their supervisors and their fellow employees, to conduct themselves in a
        manner which brings no discredit upon the WIB, and to abide by these rules. Failure to do so
        will be cause for disciplinary action as set forth in this section. The Employer reserves the
        right to commence disciplinary action at whatever step it considers appropriate.

B.      DiscintinarY Procedures
        Regularfull-time and part-time employees who have passed probation and are covered by this
        Agreement sha11 not be disciplined except for just cause. Prior to termination, suspension or
        demotion, the employee's immediate supervisor will provide counseling and a written
        evaluation of performance, including a statement of action required to remove the deficiency.
        The employee will be given a reasonable period of time to improve performance, no less than
        forty-five (45) days, unless the employee's conduct constitutes or creates the clear possibility
        of a hazard to clients, to himself/herself or to fellow employees, is considered detrimental to
        clients, or involves dishonesty or grass misconduct.

       Notice of disciplinary action shall be promptly served to the employee either in person or by
       certified mail, return receipt requested. The notice shall include the following information:
       1.      Effective date of the disciplinary action;

       2.      Statement of the nature of disciplinary action;

               Statement of the cause for disciplinary action;

       4.      Statement advising the employee of his/her right to appeal and the right of Union
               representation; and,

               A Plan of Correction - if the Employer squires corrective action by the employee.

       A copy of said notice will be sent to the Union by facsimile transmission concurrently with
       the notice to the employee.


C.     Reasons for ~liscitalinary Action
       An employee may be disciplined for various reasons, including but not limited to the
       following:
       1.     Absence without proper authorization;

       2.      Tardiness,

       3.      Dishonesty;


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         4.      Conviction of a crime of a serious nature: a crime of a serious nature means conviction
                 of a felony or misdemeanor involving moral turpitude. A plea or verdict of guilty for
                 a chaxge of a felony or any offense involving moral turpitude is deemed to be a
                 conviction within the meaning of this section;

         5.     Inefficiency;

         6.     Insubordination;

         7.      Violation of any of the provisions of the WIB Personnel Policy or WIB authorized
                 standard operating procedures;
         8,      Violation of the VJIB computer network procedures;

         9.     Incompetence;

         10.    Intoxication on the job;

         11,    Unless authorized legally to do so, taking, possessing, being under the influence of,
                being addicted to, offering for sale, any controlled substance while on duty. The term
                "controlled substance" shall have the meanings that the term has in the California
                Health &Safety Code, division 10;

         12.    On-the job, non-work related interference with other workers;

         13.    Fraud in securing employment;

         14.    Discourteous, offensive, or other inappropriate behavior during work hours (relating
                to W`IB functions) toward fellow employees, supervisors, clients, students, or
                members of the public;

         15.    Use of sick leave in a manner not authorized by the Personnel rules;

         16.    Negligence or willful misconduct resulting in damage to WIB property or waste of
                supplies while an duty; and,

         17.    Neglect of duties, failure to perform duties.


I~.      Forms of~iscipline
         The forms of discipline which may be used by supervisors to redress employee conduct falling
         within any of the categories listed here above shall consist of the following:



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                        Verbal reprimand              ~ Written reprimand
                       •Demotion                       Reduction in pay
                       •Suspension without pay        eDismissal

The Executive Director may suspend an employee from his/her position with pay at any time pending
disciplinary action. Written notice of suspension shall be given to an employee within three {3)
working days of such action.

The Executive I?irector may dismiss any employee. The dismissed employee's salary, and any
accrued vacation leave will be paid upon termination.

E.     lUnion Representation
       An employee covexed by this Agreement shall have the right to have a Union representative
       present at any meeting with supervisors or management representatives, which is investigatory
       and potentially disciplinary in nature under the National Labor Relations Act's definition of
       such in the United States Supreme Court's Weingarten decision. The Employer will advise
       the employee of such rights {i.e., whether the interview may result in discipline} before any
       suchmeeting. If the employee chooses to not have a Unir~n representative present, the right to
       do so is deemed waived. If the Employer has notified the employee that the meeting will not
       result in discipline, there shall be no requirernen# of Union representation.

Disciplinary actions as defined herein may be appealed by using the grievance procedure. Unless
specifically set forth in this Agreement, no other Personnel actions are subject to the grievance
procedure.



A.     Definition
       A grievance is defined as a claim or complaint by a regular ar probationaxy employee, other
       than newly hired employees in their initial probationary period, covered by this Agreement,
       the Union, or the Employer, concerning the interpretation or application of this Agreement
       regarding any action of the employer pertaining to wages, hours ox working conditions.


Bp     Eli 'bili
       Any regular or probationary employee cavere~i by this Agreement may use this procedure to
       the extent permitted by this Agreement. Newly hired probationary employees shall not have
       the right to use this grievance procedure regarding termination or other disciplinary action
       taken against them by the Employer, and a promoted probationary employee shall not have the
       right to use this procedure regarding hislher termination or demotion by the Employer, except
       when the action is alleged to have occurred as a result of discriminafiion as defined in the
       Agreement.



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C.      Procedures
        Informal Resolution Process
        Grievances shall initially be taken up verbally by the employee and tl~e immediate supervisor
        in an attempt to settle the matter on an informal basis. The Employer's Business and
        Employment Services Manager, or hisCher designee, shall be advised. of suchmeetings at least
        three (3) days prior and shall attend them. T'he parties consider it most desirable to settle
        grievances informally and promptly. If this process does not resolve the matter the employee
        may proceed to the formal pxocess described herein.

        Fo~nn~l ~t~sc~lntaon ]Process
        Step 1         Lf the grievance is not resolved through the Informal Process it may be
                       submitted in writing to the Executive Director orhis/her designee within seven
                       (7) working days after the Informal Process is completed. In order to be valid,
                       the grievance must contain all disputed elements and particulars specified in
                       the Informal Process. The Executive Director ar hislher designee shall
                       schedule a meeting to hear the grievance within the (10} working days after
                      receiving it, and will provide the grievant and Union a written response within
                       (10) working days after the meeting. The Employer and Union may agree to
                       extend these time deadlines and the party making the request shall document
                      the extension in writing and provide it to the other party.

        Step 2         If the grievance is not resolved at Step 1, the Union or Employer may submit a
                       written request for an Adjustment Board within ten {10) working days after
                       Step 1 is completed. The Adjustment Board sha11 consist of one (1}
                       representative (not a WIB employee) selected by the Union, one (1)
                       representative selected by Management, and a mediator from the State
                       Mediation Service. The Adjustment Board shall convene within twenty-five
                       (25} working days of the timely request to the Executive Director. The
                       Adjustment Board shall conduct an informal hearing, including testimony of
                       witnesses} and relevant document(s). A majority vote by the Adjustment
                       Board sha11 result in a written advisory opinion, which shall include a brief
                       rationale, and issued to the parties. Either party may appeal the grievance to
                       Step 3 -Arbitration, by providing written notice to the other party within
                       fifteen (15) working days from the date the Adjustment Board's written
                       recommendation is received.

       Step 3         If the grievance is not resolved at the 2"d step, it may be submitted as a written
                      Request far Arbitration to the Executive Director, or Union within fifteen {15)
                      working days after the 2"d step is cvrnpleted. Failure to request Arbitrationin
                      a timely manner, shall result in the grievance being considered dropped and
                      the right to arbitrate waived. The Employer and Union may agree to extend
                      this time deadline and the party requesting extension shall document the
                      extension in writing and provide it to the other party. Upon receipt of a


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                        written request for arbitration of a grievance under this procedure, the
                        Employer and the Union shall attempt to select a mutually acceptable,
                        impartial arbitrator.

                In the event that the parties cannot agree on an impartial arbitrator within fifteen (1S)
                days after receipt of the written request for arbitration, either party may reques# the
                American Arbitration Association to submit a list of five (5) representative arbitrators.
                 Each alternate party shall alternately scratch two (2) names from the list, the first
                scratch being selected by lot and the person remaining shall be the arbitratax. The
                Arbitration expenses, excluding costs of representation shall be paid equally by the
                Employer and the Union. The decision of the arbitrator shall be final and binding
                upon the parties and sha11 be issued in writing within thirty (30} days of the
                Arbitration hearing. The arbitrator sha11 have no authority to alter, adjust ar modify
                the terms of this Agreement.

lD,      Time Limits
         1.    Time limits may be extended ar waived by mutual written agreement of the parties.

         2,     Failure of the Employer to reply to a grievance within the specified time limits
                automatically grants the grievant the right to process the grievance to the next step.

         3.     If the grievant fails to refer the grievance from one step to the next step within the
                specified time limits, the grievance shall be considered settled on the basis of the last
                decision.

lE.      Ability to Reoaen Clause
         The Employer reserves the right to notify the Union in writing no less than one-hundred and
         twenty {120) days before July 1St, 2009, 2010, and 2011 of their desire to re-open negotiations
         to discuss Sub-section C-Procedures, Formal Resolution Process —Step 2 under Section XIX
         — Grievance Procedure of this Agreement.


                           ~ECTICDI~T I~X. lYU ~7+ISC         INr~TI4N
A.      Neither the Employer nor the Union shall discriminate  against any employee or applicant for
        employment on account of race, color, creed, or religion, national origin, gender, age, sexual
        preference, marital status, physical or mental handicap, HIV/Aids status, or political
        affiliation,

~.      The Employer agrees not to discriminate against any employee because of membership in the
        Union or because of any activities on behalf of the Union. The Union agrees not to
        discriminate against any employee because of lack of Union membership or lack of activities
        on behalf of the Union.



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                                 i                        t              i.
A.      Appointment St~r~ fc►r Nevv Emnlovees
        Normally new andlor promoted employees will be appointed to the initial step of the salary
        range in effect for the particular classification in which the appoinhnent is made. When
        circumstances warrant, the Executive Director may authorize the filling oFthe position at a
        step which is higher than the initial recruiting step in the salary range.

B.      Salary Ranges
        1.     The ten (10} step salary ranges for classifications represented by the Union are listed
               in Attachment A of this Agreement.
        2.     These salary ranges agreed to by the Union and the Employer will be in effect for the
              period July 1, 2008 through 3une 30, 2009 and will reflect an across the board three
              point seven percent (3.7%) increase as shown on Attachment A,
        3.     Attachment A will be revised and replaced each year to reflect the annual Cost of
              Living Adjustments (COLA) awarded on July 1St of 2049, 2010, and 2011.

C.      Cost of Living A~iustmcnt ~'COLAI
        Effective July 1, 2009 through June 30, 2012, a1I classifications covered by this Collective
        Bargaining Agreement will receive a Cost of Living Adjustment as determined by the U.S,
        Department of Labor Bureau of Labor Statistics "Western A Urban Wage Earnings and
        Clerical Worker Index" as reported between March and March of each year, with a minimum
        (floor) of one point six percent {l.6%), and no more than a maximum (ceiling) adjustment of
        four point,six percent (4.6%), inclusive. These adjustments will occur on July 1S`of each year
        of the Agreement beginning 2Q09.

        The agreement to and use of an annual COLA adjustment within this Collective Bargaining
        Agreement is not binding nor precedent setting for future contracts.


D.     Method for Conducting Future Salary Surveys
       In order to ensure the WIB remains financially competitive in the competing and surrounding
       markets, the fallowing process and classifications will be used to conduct a survey:
       1.      The Employer and the Union will meet and agree on the survey tool to be used for the
              Program Year 2012 Salary Survey. The survey for each program year will be limited
              to the AdminlProgram SpecialistII classification and the AdminlProgram Technician
              II classification. The Union and the WIB will meet at least 120 days prior to the end
              ofthis Agreement and determine the comparable agencies to be included inthe Salary
               Survey. It is agreed that the comparable agencies used for this survey will be as
               follows:

               The Employer and the Union will each select two Workforce Development Agencies
               to be included in the survey as well as the County of Solano.

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        2.      The Employer's Business &Employment Services Manager andlor designee will be
                responsible for conducting the survey among the agreed to comparable agencies.

        3.      The Business &Employment Services Manager and/or designee will be responsible
                for analyzing the results of the surveys and preparing a comparison chart. The
                comparison chart, as well as the overall and individual survey results will be shared
                with the Union.

E.      Specific Pr+~icct ~alary Aciiu~tm~nts ff~r Interim ~'ra~~ct_Lead_As~i~ me~C
        1.     At the sole discretion of the Executive Director, and based on the need of the agency,
               interim Project Lead Assignments may be created in the AdminlProgram SpecialistII
               classification. These assignments would provide the designated employee an
               opportunity to lead a specific project within the division or unit of the agency, and
               would also provide the employee with an opportunity to develop/enhance their
               coordination skills, and/or supervisory abilities.

        2.     Employees appointed to these interim assignments, will receive a 5%upward salary
               adjustment over their regular salary for the period they are performing the lead
               functions. Once the temporary assignment is completed, they will return to their
               regular salary.

               Employees designated to a interim project lead assignment must receive prior written
               notification from the Executive Director, via the Business &Employment Services
               Manager. this official notification will confirm the employee's appointment to the
               project, the start and end date of the project as well as fihe employee's interim salary
               adjustment. A copy of this notification will also be placed in the employee's
               Personnel file. Under na circumstances can anyone other than Executive Director
               (i.e., employee Supervisor or Division Manager) assign an individual to an interim
               project lead assignment. The appointment or non-appointment to an interim lead
               assignment is at the sole discretion of the Executive Director and is not subject to the
               grievance procedure.


                          i                    ~;
A.      Promotion
        Promotion from within is advancement from one classification cavexed by this Agreement to
        another classification covered by this Agreennent with a higher salary range. An employee
        who is promoted shall be placed on the wage schedule applicable to the new position, but in
        na event shall he/she receive an increase of less than five percent (5%) in compensation.

        Incumbent employees promoted to new classifications covered by this Agreement will be
        xequired to serve a new probationary period as described in Section V of this Agreement.


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        Promotion to positions not covered by this Agreement are not subject to this Agreement,
        including the grievance procedure.

B.      Demotion -
        Demotion is movement from one job classification covered by this Agreement to a
        classification covered by this Agreement with a lower salary range. A demotion may occur as
        a voluntary request by the employee to move to a vacant functional assignment with the
        approval of the Executive Director, as well as based on the result of disciplinary action or as a
        result of bumping due to layoff. Demotion from a functional assignment nat covered by this
        Agreement is not subject to this Agreement including the grievance procedure. Incumbent
        employees who are demoted to a laver classification in which they have not demonstrated
        their ability to adequately perform the essential functions of the functional assignment, must
        serve a six (6} month probationary period in the new functional assignment.

C.      Transfer
        Transfer is movement of an employee from one functional assignment in a classification
        covered by this Agreement to a different fiinctional assignment within the same classification.
        Incumbent employees who transfer to a new functional position in which they have no#
        previously demonstrated their ability to adequately perform the essential functions of the
        functional assignment must serve a six (6) month probationary period in the new functional
        assignment. Employees who transfer prior to completing an initial six (6) monthprobatianaiy
        period with the Employer wi11 begin a new six {6J month probationary period at the dime of
        the transfer. Should there be a budgeted vacancy, an employee who transfers to a new
        functional assignment and does not pass probation, for reasons other than gross misconduct or
        placed on a plan of correction, may return to their former functional assignment.

D.      Lateral
        A lateral is movement of an employee in the same functional assignment covered by this
        Agreement to a different program or project operated by the Employer, Since there is no
        significant difference between the functional assignments no additional probationary period is
        required at the time the lateral takes place.

E.     Pasting of C1~en Faac~io~al Assienments
       The Employer has the right to choose which employee, if any, will be transferred, lateraled, or
       promoted into any vacant functional assignment. The Employer wi11 post an internal and/or
       external recruitment notice for at least dive (5) working days or longer at the Employers
       discretion, an official Employer designated bulletin boards of all functional assigrunents
       occurring in classifications covered by this Agreement. The postings shall specify the
       classification, functional assignment, unit (if relevant), current work location of the vacancy,
       and time deadlines for employees to submit a complete applicationpackage and cover letter to
       the Business & Employment Services Manager expressing their interest in one ar all of the
       posted vacancies. Employees who are on any kind of disciplinary status are not eligible for
       transfer or prorno~ian into posted functional assignments.


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                                       ii     i
A.    Paid Leaves
      1.     Halidays:      The following federal and agency authorized days shall be recognized
                            as paid holidays:

            a.     New Year's Day                                  Januaryls`
            b.     Martin Luther King's Birthday                   Third Manday in January
            c.      Washington's Birthday                          Third Monday in February
            d.     Cesar Chavez Holiday                            Last Monday in March
            e.     Memorial Day                                    Last Monday in May
            f.     Independence Day                                July 4~'
            ~~     Labor Day                                       First Monday in September
           h.      Veteran's Day                                   November 11~'
           i.      Thanksgiving Day                                Fourth Thursday in November
           J~      Friday after Thanksgiving                       Fourth Friday in November
           k.      Christmas Day                                   December 25~'
           1.      Floating Holidays                      Beginning January 1, 2002 and
                                                          annually thereafter, regular full-time
                                                          employees will receive four (4)
                                                          Floating Holidays which must be taken
                                                          in the calendar year or lost. Part-time
                                                          employees receive prorated Floating
                                                          Holidays. New hires will receive
                                                          prora#ed Floating Holidays, based on
                                                          their hire date, Under this Agreement,
                                                          Floating Holidays can not be carried
                                                          over from year to year, nor are they
                                                          cashed out at the time of termination.

           If a recognized holiday, (non-floating), falls on a Saturday, it will be observed on the
           preceding Friday. If such a holiday falls on a Sunday, it will be observed on the next
           Monday. Recognized holidays are not considered time worked in the computation of
           overtime. An employee whose regularly scheduled day off falls on a recognized
           holiday shall be credited with accrued holiday leave equivalentto the number of hours
           they would have been scheduled to work that day.


     2,    Vacation
           a.    Regular full-time employees will accumulate vacation leave based on the
                 following schedule:


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        Length of                   Annual Accrued               Hours Accrued Each Bi-
       Employment                   Vacation Time                  Weekly Pay Period
    0 through 2 Years                   80 hours                        3.08 hours
    3 through 5 Years                  120 hours                        4.62 hours
   6 through 10 Years                  1b8 hours                        6.46 hours
   11 through 15 Years                 192 hours                        7.38 hours
  16 Years and Above                   24Q hours                        7.69 hours

           b.    Regular employees shall accrue vacation at the above rate or at a prorated
                 level, beginning with the first day of employment with the Employer.
                 Employees may begin to use accrued vacation leave after having successfully
                 carnpleted their initial six (6) month probationary period of employment. An
                 employee whc~ voluntarily quits, is terminated, or is laid off with an accrued
                 vacation leave balance sha11 be paid said balance in his/her final pay check.

          c.     During years one (1) through seven (7j an employee ceases to accrae
                 additional vacation time, once they have reached a vacation balance of 200
                 hours. Beginning year eight {8} and thereafter an employee ceases to accrue
                 additional vacation time, once they have reached a vacation balance of 224
                 hours.

          d.     Regular part-time employees will accrue vacation based on a proration of the
                 actual number of non-overtime hours worked in the pay period. Thus, an
                 employee whose regular work schedule is one-half (1I2) the normal full-time
                 schedule shall accrue vacation at one-half (112} the full time rate upon
                 completing the initial probationary period.

          e.     Vacation leave must have prior approval from the employee's immediate
                 supervisor, Supervisors sha11 respond to an employee's request for vacation
                 leave, within ten (lOj working days of the request being submitted in writing
                 to the supervisor providing the request is no more than 1SO days in advance
                 and the employee has or will have the accrued time available.

          f.    Vacation requests will not be denied solely based on the duration of the time
                requested by the employee.

  3.     dick Leave
         Sick leave shall apply only to instances wherein an employee or family member

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         because of illness or injury is unable to report to work to perform his/her regular
         duties. Illness is defined as any pronounced deviation from ahealthy state or exposure
         to contagious disease, which makes it disadvantageous to the employee andlor the
         Employer for the employee to report to work.

         a.     Regular employees will accrue sick leave at a rate of one {1}day or eight (8)
                hours per month ter at a prorated level beginning with the first day of
                employment.

         b,     Sick leave may accumulate from year-to-year to a maximum equivalent of
                two and a half {2'lz) years' accrual. Sick leave may be used only for illness or
                injury, medical andlor dental appointments of the employee, ar a family
                member as defined by this section and are subject to the approval of the
                employee's immediate supervisor. Leave requests in excess of five (5)
                working days require the appra~val of the Business &Employment Services
                Manager.

        c,      Sick leave is also available for employee use due to illness or injury of a
                family member. "Family" for purposes of this provision is defined as parents,
                legal guardian, children (including adopted, foster and stepchildren), spouse,
                siblings, and/or a person permanently residing in the employee's household as
                a dependent or person assuming the role of spouse.

        d.      Regular part-time employees will accrue sick leave proportionate to the
                number of hours scheduled work. Overtime work is not included in the
                calculation of sick leave.

        e.      If an employee has been absent an sick leave for more than (5) consecutive
                work days, he/she must provide a medical practitioner's release to return to
                work to the Business &Employment Services Manager whenhe/she returns to
                work. The employee will not be returned to work without such a release and
                the failure to return such an employee to work absent a release shall not be
                subject to the grievance procedure.

        f.     If the Employer has a reasonable suspicion for believing that an employee is
               abusing sick Leave, the employee may be put on notice that medical
               verification will be required for all fixture uses of sick leave, far a specific
               period of time not to exceed one (1}year.


        g.      Employees who engage in any type of gainful business or employment
                activities while on sick leave during their scheduled WIB work hours will be
                discharged.


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   4.    Bereaveanent Leave
         a.    Employees shall be entitled to four {4) days of paid bereavement leave, not
               chargeable to vacation or sick Leave in the event of the death of one of the
               fallowing members of the employee's family; parent, grandparent, natural,
               step, adopted children and grandchildren of the employee; natural and step
               brothers and sisters of the employee; present spouse or person assuming the
               role of spouse of the employee; ex-spouse who is a natural parent of a minor
               child in the custody of the employee; natural parents and grandparents of the
               employee's spouse; natural brothers and sisters of the employee's spouse;
               present spouses of the employee's natural brothers and sisters; son-in-law and
               daughter-in-law of the employee.

         b.     Such leave shall be a maximum of thirty-two (32) hours paid leave which can
                be used over a 10 day period, whether services are within ar outside of the
                State of California. Employees desiring more time off under these
                circumstances may request vacation or other appropriate leaves, which may or
                may not be granted at the sole discretion of the immediate supervisor, and that
                the additional leave does not pose a hardship for the Empiayer. If the
                requested additional leave is denied, that denial is not subject to the grievance
                procedure.

   S.   Jury I3uty
        When an employes covered by this Agreement is summoned to jury duty by proper
        judicial authorities, he/she shall be granted "other paid time off' not to exceed thirty
        (30) calendar days. The employee will receive his/her regular salary less the payment
        received far jury duty, except travel pay. The employee shall be expected to report to
        work before or after jury duty, if one (1) hour or more of the work day remains,
        excluding travel time from the courthouse to the employee's assigned work location.
        If an employee is absent from work due to a jury summons, the employee must
        provide the court documentation demonstrating that jury service has been ordered and
        that the employee participated in the jury selection process or served on a jury.

        This provision is not applicable to an employee's appearance in litigation as a litigant
        or witness. However, if an employee is required within the scope of his/her
        employment to appear in litigation as a witness onbehalf of the Workforce Investment
        Board of Solano County, he she will be paid his/her regular salary.


   6.   1Vid
           , itary Leave
        a.       Any employee ordered into the armed forces of the United States by virtue of
                 draft or reserve obligations shall be granted an unpaid leave of absence for the
                 duration of the military assignment. Upon complefiion of military service, the

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                       employee will be xeinstated with full seniority to hislher former position or to
                       a comparable position if application for re-employment is made within ninety
                       (90) calendar days of release from the service. This provision is not applicable
                       to employees who voluntarily enlist in the armed services. Such enlistment
                       sha11 be considered a voluntary quitlresignation.

               b.     An employee who is a member of the National Guard or of a reserve
                      component of the armed forces shall, upon furnishing a copy of their official
                      orders ar instructions, be granted an unpaid military training leave. Upon
                      presentation of military pay vouchers, employees will be reimbursed the
                      difference between their normal compensation and the pay they receive while
                      on military duty. Such compensation will be limited to fifteen (15) days per
                      year.

               c.     Employees on military leave wi11continue to accrue service time, vacation and
                      sick Leave benefits for up to fifteen (15) working days within a calendar year.


B.      Unpaid Leave
        1,    Statement of Policy
             It is the policy of the WIB to consider and possibly grant an unpaid leave of absence
              (maternitylpaternity, medical/personal) to regular employees in good standing who
              meet the requirements.


        2.     General Previsions
               Unless required by sta#ute, regular employees on unpaid leaves of absence do not
               accrue service time, or vacation and sick leave benefits while on unpaid leave.
               Eligibility for benefits, and the calculation of service time, resumes immediately upon
               return from the leave.

               a.     An employee requesting a leave of absence must submit the request in writing
                      to his/her supervisor, and Division Manager at least 30 days prior to the
                      desired commencement of the requested leave. If the request is agreed to by
                      the supervisor, and Division Manager, it will be forwarded to the Executive
                      Director for consideration and appxoval/denial. The employee willbe notified
                      within seven (?)working days of the submission of their leave request ifit has
                      been approvedldenied by the Executive Director.

                      In cases of sudden illness or emergency, tl~e leave request maybe initiated by
                      the employee's immediate supervisor a~d/ar Division Manager, The
                      supervisor or Division Manager must indicate on the farm their
                      recommendation as to whether the request should be approved, denied or


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               modified. The supervisor/Division Manager are responsible for ensuring the
               form is forwarded to the Business &Employment Services Manager
               immediately.

               Authorization of an unpaid leave of absence is the sole discretion of the
               Executive Director or a person designated by the Employer and is not subject
               to the Grievance Procedure. Employees released to return to work must report
               to the agency Human Resources staff office upon the stmt of their normal
               work schedule, on the day-of-return, and provide a Doctor's documentation of
               release to return and any required employment limitations/accommodations.
               Where applicable, all leave without pay options will be combined and run
               concurrently.

        b.     A111eaves of absence must have a specific duration and return-to-work date
               determined at the time the leave is granted. Tailure to return to work an the
               determined return-to-work day will be considered as a resignation by the
               employee. NOTED EXCEPTI(3N: a women's timely retwn from pregnancy
               disability leave entitles her to her same job.

               An employee who is an an authorized leave of absence and returns to work on
               their scheduled return to work date will be reinstated to hislher former
               fiinctional assignment or to a similar functional assignment.

        c.     Unless required by statute, the maatimum medical, or maternitylpaternity leave
               of absence is 4 months, and personal laves are limited to no mare than 30
               days in a calendar yeaz.

        d.     All original requests for a leave without pay, as well as any subsequent
               correspondence regarding the leave, will be forwarded to the Employer's
               Business &Employment Services Manager and placed in a confidential
               employee file.

        e.     Employees on an unpaid leave of absence who have automatic dependent
               health care payroll deductions, are responsible for submitting the monthly
               premiums to the Fiscal department no later than the 1S' working day of each
               month. Failure to do so will result in the termination of all applicable
               dependent health care coverage.

   3.   ~.11r~vva~lc Leaves end Leave ~3u~afior~s
        a.      Personal Leave
                A personal leave without pad up to a rnaacimum of thirty (30) calendar days
                may be granted by the Executive Director, via the immediate supervisor, or
                Division Manager.


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         b.   CFRA/T'MLA Leave
              Under the California Family Rights Act of 1993, and the federal Family
              Medical Leave Act of 1992, if you have more than 12 months of service with
              this Employer and have worked at least 1,250 hours in the 12-month period
              before the date you want to begin your leave, you may have a right to an
              unpaid family care or medical leave. This leave may be up to 12 workweeks
              in a 12-month period for the birth, adoption, or foster care placement of your
              child; your own serious health condition or that of your child, parent or
              spouse. This unpaid leave of absence will run concurrently with any paid leave
              or other unpaid medical ar maternity and paternity leave allowed under this
              Agreement.

              Incompliance with the National Defense Authorization Act, Public Law 110-
              181 signed into effect an January 28, 2008, the gamily Medical Leave Act of
              1993 is being amended to include the following two new qualifying categories
              and leave durations.

              1. Eligible employees are entitled to up to 12 weeks of leave because of a
              qualifying exigency arising out ofthe fact the spouse, son, daughter, ar parent
              of the employee is an active duty or has been notified of an impending call to
              active duty status in support of a contingency operation.

              2. An eligible employee who is the spouse, son, daughter, parent or next of
              kin of a covered servieemember who is recovering from a serious illness or
              injury sustained in the line of duty on active duty is entitled to up to 26 weeks
              of leave in a single 12 month period to care Far the service member.


        c,    Maternityand Patcr~itt~~ Leave
              1.   An employee who is the natural parent of a newborn child ar a recently
                   adoptive parent of an infant child under the age of one (1) is eligible
                   for this unpaid leave, Any employee with at least twelve {12) months
                   of continuous employment with the Workforce Investment Board of
                   Solano County is eligible for maternity or paternity leave.

              2.     Before a female employee can return to work following a maternity
                     leave, a physician must provide certification advising that the
                     employee is able to resume her work. The employee must notify the
                     Business & Employment Services Manager in writing of her intention
                     to return to work at least ten {10) days prior to the expiration of the
                     leave.



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                 d.      Medical Leave
                         1,    An employee with at least (12) months of continuous employment
                              with the Warkfarce Investment Baard of Solano County may be
                              granted a medical leave of absence without pay.
                         2.   Before an employee can return to work following a medical leave, a
                              physician must provide certi fication advising that the employee is able
                              to resume his/her work. An empIayee must notify the Business &
                              Employment Services Manager inwriting ofhis/her intention to return
                              to work at least ten (10} days prior to the expiration of the leave. The
                              employee must also provide a physician's statement clearly indicating
                              any type of accommodation or modified work schedule the employee
                              may require upon their xeturn. The anticipated length of the
                              accommodation/modified work schedule must also be specified.

                              SECTION          V. FRINGE BEPTEFITS
A..      Medical Benefits
         Medical insurance coverage is available to all regular employees at the fime of hire. Once the
         plan required waiting period is satisfied, coverage begins. The WIB pays 100°10 of the cost for
         the employee premium only. Employee dependent coverage is optional under the medical
         insurance plan, and if selected, is paid by the employee through appropriate payroll
         deductions. Employees have 30 calendar days from the time of hire to enroll with one of the
         two providers available or they must wait until the next new open enrollment period.

B.      Dental Benefits
        Dental insurance coverage is available to all regular employees at the time of hire. The WIB
        pays 100% of the pxemiwn cost for dental insurance for the employee, and if requested fifty
        percent (50%) of the employee's dependents premium. Once the plan required waiting period
        is satisfied, coverage begins. Employees have 30 calendar days from the time ofhire to enroll
        with the WIB dental provider or they must wait until the next open enrollment period.

C.      Vision Benefits
        Vision insurance coverage is available to all regulaz employees at the time of hire. Once the
        plan required waiting period is satisfied, coverage begins. The WIB pays 100% of the
        employee only premium cost. Employee dependent coverage is available under the vision
        insurance plan, and if selected, is paid by the employee through appropriate payroll
        deductions. Employees have 30 calendar days from the time of hire to enroll with the WIB
        vision provider or they must wait until the next new open enrollment period.

D.      Life Insurance
        Life insurance is available to all regular employees once they complete their initial six month
        introductory period of employment with the WIB. The WIB pays 140% of the premium cost
        for the $15,000 life insurance policy. This policy does not allow a dependent coverage option.



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E.       Retirement
         The WIB provides a T~ Deferred Annuity (or 403(b)) Retirement Plan. Incompliance with
         the retirement plan guidelines, all qualified and interested employees are eligible to
         participate.


F.       IRS aAnraved 125 and X29 Plan
         Upan appointment, employees are immediately eligible to participate in the premium
         deduction portion of the 125 IRS plan. After an employee has cornpieted their six {6) month
         introductory period with the WIB they are eligible to participate in the flexible spending
         portions of both the 12S and 129 Plans.


G.       ~iscellaneaus Benefits
         Required State and federal benefits and or tax deductions such as, workers compensation,
         state disability insurance, unemployment insurance, social security, etc. will continue to be
         paid by the Employer or payments will continue to be deducted from employee pay checks.

I~.      Tuition Reimbursement
         1.     Employees who have been employed by the Employer for at least twelve {12)
                consecutive months of active employment may submit written requests for tuition,
               books and fees reimbursement for pre-approved and completed courses that will
               upgrade the employee's skills and knowledge and will be beneficial to the Employer.
                After submitting proof to the Employer of successful completion of the previously
                approved course(s), an employee may receive up to One Hundred Dollars {$100.00}
               reimbursement for tuition, books and fees not to exceed $300.40 per calendar year for
               completed courses with a grade of "C" or better.

                Whether the training is considered beneficial to the Employer is within the Employer's
                sole discretion and is not subject to the grievance procedure.

         2.     Reimbursement will only be made upon the employee's submission of:

                a.     A written request for professional development reimbursement including an
                       identification of the classes) to be attended and where, as we11as a description
                       of the job-relatedness oFthe classes) and how knowledge of the subject area
                       will both enhance the employee's pexformance and benefit the agency. This
                       request must be submitted prior to the commencement of the class and
                       approved by the employee's immediate supervisor, Division Manager, and
                       authorized by the Executive Director.

                b.     Evidence of class enrollment.



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                c.     A grade report or other formally issued transcript reflecting no less than a "C"
                       grade in the class{es) attended.

                d.     Evidence of payment of tuition, books andlor fees by the employee.

                e.     All original documents requesting the professional development authorization
                       as well as copies of the tuition reimbursement will be maintained by the
                       Employer's Business &Employment Services Manager and placed in the
                       employees Personnel File. The Business &Employment Services Manager ar
                       his/her designee will be responsible for forwarding all original reimbursement
                       requests to the Fiscal Department for payment within ten {10) worlring days of
                       their receipt.

        3.     Unpaid release time from work up to a m~imum of six {6) hours per week including
               travel time may also be granted to employees who meet the fallowing criteria:

               a.     Have been employed for a minimum of two (2) continuous years wifih the
                      WIB;

               b.     Are performing their jab at a satisfactory level and have not been on a pion of
                      correction for at least one full year',

               c.     There is a direct professional applicability of classes) attended to employee's
                      current functional job description, job oluster or vocational training axea; and

               d.     The release time is recommendedby the employee's immediate supervisor and
                      Division Manager.




A.      DRESS C4T)E
        In the interest of presenting a professional image to Board clients, partnexs and the
        community, all employees of the WIB are required to observe good habits of grooming and
        personal hygiene. Employees are expected to dress conservatively and professionally in an
        appropriate manner for the business office.

B.      JUB Nt}TICES
        The Employer will send the Union a copy of all recruiting job notices for classifications
        represented by the Union in this Agreement.




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 C.      NO STRIKEINO LOCKOUT
         Under no circumstances will the Union or its agents cause, sanction, or permit its members to
         cause any strike, slowdown, stoppage of work, or other economic action directed at any
         activity of the Employer during the term of this Agreement. An employee who withholds
         services wrthaut the approval, permission or sanction of the Union shall be considered a
         voluntary quit, without recourse through the grievance procedure. Under no circumstances
         will the Employer engage in a lockout during the term of this Agreement.


~.      SEVERAgILITY
        If any provision of the Agreement should be held invalid by,operation of law or by any
        tribunal of competent jurisdictions, or if compliance with or enforcement of any such
        revisions shall be restrained, the remainder of #his Agreement shall not be affected thereby.


                           SECTION XXVI. TERM OF AGREEMENT
This Agreement shall remain in fu11 force and effect to and including September 30, 2013. Tha
annual salary adjustment as described in Section XXI. C. Cost ofLiving Adjust (COLA) sha11remain
in effect through June 30, 2012, This Agreement may be reopened by either party for the purpose of
only negotiating the Grievance Procedure -Formal Resolution Step 2 as provided in Section XIX. E.
Thereafter, it shall automatically renew itself and continue in full force and effect from year to year
unless written notice of intention to terminate or modify any provision of this Agreement is given by
either party and received by the other no later than one hundred and twenty (12Q) days prior to its
ternunation date on the close of business of September 30, 2013.


                        SECTIUI~I XXVII. C011~i'IPLETE AGREEMENT
During the negotiations culminating in xhis Agreement, the Employer and the Union each enjoyed and
exercised the unlimited right and opportunity to make demands and proposals, counter-demands and
counter proposals, with respect to any subject matter as to which the National Labor Relations Act
imposes an obligation to bargain.

Unless specifically set forth elsewhere in this Agreement, no further negotiations shall take place an
any subject within the scope of bargaining during the term of the Agreement. Consequently, the
Employer expressly waives its right to require the Union to bargain collectively and the Union
expressly waives its right to require the Employer bargain collectively overall matters as to which the
National Labor Relations Act imposes an obligation to bargain, with respect to: (a) matters which are
specifically referred to in this Agreement; or {b) matters which were discussed between the Employer
and the Union during the negotiations which resulted in this Agreement; or (c} matters which were
within the contemplation or knowledge of the Employer or the Union at the time this Agreement was
negotiated and executed. The waiver of the right to "bargain collectively" includes the waiver of the
right to require the other party to negotiate, and the right to obtain informatipn from the ofher party,
except to the extent required to enforce the terms of this Agreement ar to obtain informationrequired


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to prepare to bargain for a successor Agreement in a manner and at a time which is timely with
respect to such negotiations. Nothing in the Agreement precludes the parties from mutually agreeing
to re-open negotiations on any subject. The Employer and Union agree that notwithstanding this
provision, either party may require negotiations concerning events that were outside the knowledge of
both parties at the time the Agreement was signed.

This Agreement contains the entire understanding, undertaking, and agreement of the Employer and
the Union, after exercise of their right and opporh~nity, and finally determines all matters of collective
bargaining for its term.

Changes in this Agreement, whether by addition, waiver, deletion, amendment, or modification, must
be reduced to writing and executed by both the Employer and the Union.




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IN WITNESS THEREOF, the parties have executed this Agreement

I+'OR THE Employer
Workforce Investment Board of Solano County, Inc.

By:    Robert Blaam, Executive Director                                   ~-
                                                                           Signature

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                                                                               ~$e

        Cheryl Je►se~~~, Busl~SSrS~ ~2XIp~C)}'ITi~llt   ~~ic;~s Manager                     ~7~t~


          Kitt Lee, Fiscal &Information Services                                            Date


FAR THE Union
Service Employees International Union (SEN), Local, 1O21,CTW, CLC

By:   Stephen Curiy, Field Representative                   °' ' ~ ~""°
                                                                           Signature

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                                              Workforce Investment Board of Salano County

                                                               SEIU Covered
                                                     Classifications and Salary Ranges
                                                          Program Year 2012-13
       Classification           Ste 1     Step 2     Ste 3      Ste 4      Ste 5      Step 6     Step 7     Step 8     Step 9     Step 10
Admin/Pro ram Specialistll     $45,921     $47,069    $48,246    $49,452    $50,688    $59,955    $53,254    $54,586    $55,950     $57,349
AdminlPro ram S ecialist 1     $4'i,329    $42,362    $43,421    $44,507    $45,699    $46,760    $47,929    $49,127    $54,355     $51,614


       Classification           Step 1    Sfep 2     Ste 3      Ste 4      Ste 5      Ste 6      Ste 7      Ste 8      Ste 9      Ste 10
AdminlPra ram Technician ill   $38,665    $39,632    $40,622    $41,638    $42,679    $43,746    $44,84Q    $45,961    $47,11Q     $48,287
Admin/Pro ram Technician II    $35,15Q    $36,429    $36,929    $37,853    $38,799    $39,769    $40,763    $41,782    $42,827     $43,898
Admin/Program Technician t     $31,634    $32,425    $33,235    $34,066    $34,918    $35,791    $36686     $37,603    $38,543     $39,507

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           n~er Together
   Sin Yee Pooh                     Mr. Rgpet# 81ocm
   Chief Elected t~~tcer            Executive Director
   lto~c~arrne Sanchez              ~~~¢orce Investment Boar
   Pr~siden[                        320 Campus lane
                                    Fairfield, CA 94534
   Geary Jimenez
   3 st Vice President
   Crawford Johnson                Dear Mr. 8ioom:
   Zr~d Vice Pxes~denr
                                   phase consider this letter as tnitia#ing the Formal E~~►tution Process for ifie
  ~~'~'Y ~~'~dg~                   below listed g~ievsnces. The Collective Bargaining Agreement requires you or
  3rd Vice President               your designated representative to schedule a mee~ng to hear the grievance
  ~~~~i~ ~Q~~~..~~~~,~             within the ten {1fl) working days afiter receiving it. Section XIX Qrisvance
  ~~~.~t~~,                        Procedure {C) Step 1. I ~m avail~bte a#the fot{owing #Ernes and dates within the
                                   next 90 wartdng days: April 28, 20'!3 at 9:{1R am, 9 pm er 3 pm; April 29, 2013
  Kathy O'Neal                     at 9.00 am, 1 pm or 3 pm; April 3Q, 2013 at 9:fl0 am,1 pm or 3 pm; May Z,
  TrQasurer                        2043 at 9;00 atn; May 2, 2013 a# 9:00 am, 9 pm or 3 pm; May 3, 2013 at 9:00
  Alysabeth Alex~r~der             am, 9 pm or 3 pm; May 6, 213 at S;dO am,1 pm or 3 pm; May 7, 2013 at 9:00
  f'oticical Action Comrnitt~e     am, 1 pm or 3 pm; i~ay 8, 2043 of 9:00 am, 1 pm or 3 pm; flay 9, 2093 at 9:00
                                   am, 1 pm or 3 pm; May 'i0, 2013 at 9:00 am,1 pm ar 3 pm. Please contact me
     ~'Y ~• ~~~r                   with the dateltime that is convenient far your agency.
 Urbanizing Committee Chair
 ~X~~~,~ g~~~                      As you arse well au+~re af, the Union has attempted to resolve these grievances
 Scut A3m~nza                     by the informal Resolution process on numerous occasions wi#h your agency
 Nancy ewe►+                      but you have maintained communications are #o be sent only to the Executive
 Harry Baker                      Director or an employee must initiate the grievance in order far it to be valid.
 ~c,my easconc~~o                 We are in disagreement with your inter~sretation end appficatian of the
 Akbar Bibb                       gr~vanae procedure in the Collective Bargaining Agreement. The in#ent of the
  Karen Bishop                    grievance language of the Cailective Bargaining Agreement is for "the parties..;,
 Ken aiorr~berg                   to settle grievances infarmaily and promptly." The position your agency has
 Gina Casti~►arto                 tak+~tt, with respec# to informal grievances, has not been productive for either
 Gayle Ci~~wick                   party and should cease immediately.
 Grt~oty Correa
 S~ei~ ~arve~!                    ~fl~ai t~c~evanae #~'t :Job Placement ~oac~i-LaShunda Norris
 Amy Dooha
 ~~"'d '~~~~""g                   The Union contends Workforce investrnenf Bt~ard has violated the Collective
tj~ocres t~awsor~ ~r,~~~a         Bargaining Agreement Section Xxli Employment Status Changes {E,j "Posting
Gladys M. Gray                    of Open Functional Assignments," Section XXV (S.} "Job Notices and Section
 Qavid ~t+g~ic                    ~~• Managemen#Rights by nct pc~s~ng internal nr an external recruitment notice
 wren Jouber~                     for at [east five {5) working days on afftciai Employer Designated bulletin
,gr;c~rez ~.cr~or;~               boards of all functional assignments occurring t~ ciasst€~ca#(ons covered by fhe
.aim rvebe~                       collective bargaining agreement and failed to notify the Union of Job Notices.
 fv9icne~le f~adrigu~s            The Employer has effectively waived its rights to handling the grievance
3acquettne sow~.s                 through the "informal resolution process" by refusing to process the informal
~r~c stern                        reques# an ar abau# April 22, 2~13.The remedy sought by the Union is
Kc~r~ Tam                         reassignment of Ms. Norris to her previous position of Workshop Specialist !!,
~ii,;er rara~                     posting of "Job Placement Coach" as required by the Collec#nre Bargaining
Ren~r2 rer,~=                     Agreement fir all employees to have ample opportunity to apply for the newly
~'~rr'et~P ~arr~
                                  crea#ed position, provide proper notice to the Union of the ,lob opening and to
Celeste Ti,t~mps~r?
t~avid Ti+rt7er                                                    B+~dget & Ffnance Cammtttee
i7enis lriic~nupv~                    ~99Y ~a Rosso Marylane l.bgan Mercedes wggieman Nadeen Roach Dann so~orrron ~,n~chae► Tong
                                   2300 6aynton Avenue. Suite 2Q0 a Fairfie{d, Cr194533 ~ 707-+F3~-9464 •fax 7tl~-4ZZ
                                                                                                                          5107
A'"'~'''                                       Service Em~toyees Intcmational Uniors LtW, CLC ~ w,ivw.seiu142 t.wg
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make whole anylail employees who were affected by Workforce Investment Board violation of the
Collective Bargaining Agreement.

Farmal Grievanee #Z: Ch~i~ae In Vdork Hours-Disparate Treatment

The Union contends Workforce Investment Board has violated the CoNeckive Bargaining Agreement
Secfion XI Hours of Work (B.), Section XX {B.) No t?iscriminafiion and Section 13. Management R~gtrts by
restricting certain employees from entering premises prior to their shift while allowing other employees
unrestricted access to the same facilities. Additic~nai~+, the
Employer has not negotiated changes of pas# practices in reporting time by employees. The Employer
has effectively waived its rights to handling tine grievance through the "infr~rmat resolution processp by
refusing to process the informal regues# on ar about Aprtl 22, ~a13. The remedy sought by the !lnion is
standard and unffermed language applicable to all employees covered by the Collective Bargaining
Agreemen#and uniformed application of repncting rimes.

Formal Grievance #3• Emplo~ver maid lUie~dic~t Bents Loretta Dawson

The Anion contends 1Norkforce invest►nent board has vialatet! the Goilective Bargaining Agreement
Secfion X3CN Fringe Benefits (A.) Medicef Benefits and Section I1. NAanagement Rights by failing to pay
medical insurance premium of ~.oretia Dawson wh~e on a Worker's Compensation injury and placing Ms.
Lawson on "Unpaid Leave° staters while receiving compensation. The Employer has effectively waived Its
righfs to handling the grievance #trough the "informal resolut~~n process" by refusing to process the
informal request on or abr~ut A~rii 22, 213. The remedy sought by the Union is ~e reimbursement of
anylali payrnenfis made by Ms, Dawson to Workforce investment Board fo maintain her health insurance
wh91e on woricePs compensation.

Formal Grievance      :Job I~c~nnen~ Coach ~4Qr~1 ~c~amek:portitb

The Union contends Workforce investment Board has violated the Collective Bargaining Agreement
Section XXiI Employment Status Changes {E.) "Postjng of t7pen Functional Assignments,° Sec~on XKV
{8.) "Job Notices and Sscti~n !1. Management Rights by got pasting intemai or an e~emai recruifiment
notice for at least five (5}working days on official Emptoyet Designated bulletin boarcls of all functicsnal
assignments octxaarring in classifications covered by fihe collectivv~ #~argaining agreement and failed to
nati~y #ire Urrion of Job Notices. The Employer has effectively waived its rights to handling the gr►evance
through the "informal resplution process" by refusing #o process the informal request ~n or about April 22,
2013.7he remedy soughfi by the Union is reassignment afi Nis. Zo~mek-Partilio to her previous posi#ion of
Business Services Representative, posting of "Job Placement Coach° as required by tl~e Collective
Bargaining Agreement for all employees to have ample opportunity to apply for the newly crea#ed
position, provide proper notice to the Union of the Job opening and to mike whole anylaH employees who
were affected by Workforce lnves#ment Board violation ~f the Collective Sarrr~aining Agreement.

Formal Grievanc+a #5: 8herul Cutler's Personnel Fla$

The Union contends Workforce tnvestrnent Board has viofi~ted the Caltective Bargaining Agreement
Section XVit {A.~ Personnel File and Section ii. Management Rights by not allowing tt~e Union access to
file for insp~etion and copying in a timely manner in order to process grievance ►elated to adverse
~mpioyment action by Workforce Investment Board. The remedy sought ~s the pradue#ion of the
personnel fete of Sheryl Curler.


Formal Grievance #6: Loretta l}awson's Aersanne11Fi1~

The l3nian contends Workforce tnves#finen# Bcsard has violated the Goliective Bargaining Agreement
Section XV11 {A.) ~'ersannel file and Section II. Management Rights by not allowing the Union access to
file far inspection and copying in a timely ►Wanner in order to process grievance rely#ed to adverse
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    employment act#on by Workforce lnvestmen# Board. The remedy sought is the productio
    personnel fife afi Lorefta Dawson.                                                  n of the

   Formal Grievanc~#~ tn~rm~~ Grjevance Peoces~

    The Union contends Workforce Investment Boarrl has violated tha Gotlective BargaEning
    Section XtX Grievance Procedure (A) Definition, (B) Eligibility, (C} Procedures-Informal Agreement
    Process, Section XX {B.j No Discrimination and Section II Management Rights by             Ftesotutian
                                                                                        reft~s(ng #o pmaess
   grievances Qn an "inf+prmal basis" in a timely manner to resolve issues at the lowest ~ossibl~
   remedy sought by ire Umm~ is the ignition by Workforce Investment Board of the                   level. The
                                                                                            righ#s of Union
   Representative to present grievances to management by the "Infiorrnal Resolution Process"
   in the Coliecfive Sargatning Agreement.                                                         as sp~clfied

   ~omroal Grievance #8: Shervt Cutler's Adverse Ems#ovrr~en# ActEon

   The Union contends Workforce Investment Board hes viatated the Collective Bargaining
   Section XVI11(8.} Disciplinary Procsdur~s, Section XVI {A) & (8) Staff Reduction or Layo#f   Agreement
  Proc:~dures, ~rtd Secction II AAsnagement Ri~h#'s by misclassif'yying Ms. Cutler's disciplina and
  ~detrimentai to clients," and °entailing gross misconduct" thus depriving Ms. Cutler a       ry aeon as
  improve her performance under the terms and cxinditions of the Collective &~rgaining     reasonab le time to
                                                                                             Agreeme
  remedy sought by the Union is #fie reinstatement of Ms. Cutler as an Empi~yability Specialist nt. The
  made whole for ar~yloll eronomlc tosses inciud€ng benefits minus interim wags received by il, to be
  and to provide 45 work day pion of corre~ion as aut~ined ~n the Coilecfiave Bargaining Agreeme   Ms. Gutl~r
                                                                                                     nt

 1f you have any questions conceming the above grievances please oantact me immediately a#
 sfer~hen.cuttv{s~seiul ~21.o,~q or by phone at {707} ~2?-7209.



 Sincerely,



Stephen Catty
~'teld Representative
S~lU i.c~ca! 1021




Cc:      Ms. Sonja Rockwall-Jackson, Chief Steward WIB
         Ms. An#Dinette Smitfi, Stewarad WIB




s,tc {cwa.saoa}
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                        ...   ...        ~4.   .`..   .:........
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                                                                                                     `;%v f .          t              r~r               .




                     May 3,2fl13                                                                     y~~~~~~~/~
                                                                                                     ~ oa                       v
                     Mr. Stephen Cutty                                                                                               „~
                     Field Representative                                                                       ~. ,`, a ~~ `~~1~
                     Se~rvvice Employees International Union, Local 1421                                            ~~~aa.s+seewo~saaONY
                     2300 Boynton Avenue, Suite 2~0
                     Fairfield, CA 94533

                     SUBJECT:           1) Fortk~co    g Response to Your Apri12~, 2013 Letter; anti
                                        2) Need t~ Redirect Stour Communicakion Contained in
                                        April 29, 2013 ~..,etter

                    Dear Mr. Catty,

                    Iwish to provide you an update on the follow-up steps necessary to be taken with each of
                    the above referezaced letters (which are attached.)

                     Apa~i~ 25, 2013 Letter
                    Our agency attorney Mr. Randall Barnwn is preparing a response to this lefter that will be
                    provided to both you and y+~ur attorney — putting in to proper perspective the various
                    issues you continue to repetitively raise in: a) requests tome; b} attempts at filing formal
                    grievances; and c} direct NLRB filings.

                    You will be receiving a copy of this correspondence shortly.

                  April 29, 2013 Y,etter
                 In accordance with the current Collective Bargaining Agreement (CBA) 7 have no role in
                 helping with an issue an SEILJ-covered employee may have regarding work-xelated issues
                 or any purported violation of the C$A at this stage -based on the information you briet~y
                 raise in this 4/29113 letter.

                Should you know of a covered employee with a cozacezn please direct that individual to
                contact his/her supervisor to discuss t12e matter and seek clarification and hoped-fox
                resolution.

                If that employee has concern for a possible violation of any provision of the CBA then
                the prescribed Secction XIX. C. Procedures —Informal Resolution Process would be
                iu~dertaken. This specifically crafted, negotiated, and mutually-agreed-to/signed-off-
                upon controlling language of the CBA only calls for the mattez to be brought up
                verbally; the employee, supervisor, and Business and Employment Services Manager
                {Ms. Cheryl Joseph} would then meet in an attempt fo settle the xnattex on an informal
                baszs.
                                 d Nortb•county Once                                     D South•county 0(tice
                                   32(? Carr~us Lane                                         1440 Mffiin Street
                                   Fairfield, CA 9d53A                                       Val~jo, CA9459(i
                          (l07) 864337(1 FAX (7t17j 864-3386                       {701} 649-3604 FAX {70~) 549-36i9


L   i   n   k   i     n   g         E     m     p     !    o   y   e   r   s   w   i   t   h            E       m     p     1   a     y     e   s   s
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  Mr. Stephen Cutty                                                            Page 2
  May 3, 2013


  Failure to resolve the matter at that level could then pt~ornpt a writien ct~~unicaiic~n to
  me as Executive Dire~tar {within 7 working dlays of com l~tio~a of this prescriribed
  Informal Resolution Process), thus elevating the issue tv ~e next Prr~scrib~d step in the
  CBA {under Section XIX.C. Procedures -Formal Resolution Process.) Qnly at the
  Formal Resolution stage wouldIbe allowed to become directly involved, to carry out
  various presc~zbed obligations from that pflint forward.

  To rx~y knowledge no part of this Tnforrnal Resolution Process has been initiated (for the
  issue you raise in this x/29 letter) and no case can be made that "the ,grievance is no#
  resolved" via this ~xes~xil ed initial process, This ~t ~ premature for any party to start
  issuing wr►tten comz~unic~i~ons and ~+etting ~dti~tio~al parties involved. Parties should
  simply follow the clear language a~~he SSA d trot in any way attempt to side-step or
  overlook applicable steps in the grievance procedures.

  Again,Ihave no allowable dizect role in the Infoxmal Resolution Process underwritten
  terms of the SBA. Further,Ihave no intention to violate terms of the CBA by becoming
  directly involved in the prescribed three-party meeting/discussions at the in:~ormal stage.

  A direct parallel exists here. There is sunilarly no allowable role for an agency SE~U
  Steward or you. as ui 5EN Field Representative to sit in upon or participate in the CBA-
  prescribed three-party meeting to attempt informal resolufson.


  Please advise your SEIU-covered employee of these critical guitlzng sections of the CBA.

  Sincer ly,
           ...~       -
      erl L. Io
  President

  Attachranents

  cc     Cheryl Joseph
         Randall Barnum
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 Pert=r~Y



                                  May 7, 2x13
 Str+~nger Together
 Sin Yee Poon                     Mr. Robert Bioom
 Chief Elected Officer            Executive Director
 Roxanne Sanchez                  Workforce Investment Board
                                  320 Campus Lane
 President
                                  Fairfield, CA 94534
 Gary Jimenez
 1st Uce President
 Crawford Johnsare                Dear RAr. Bloom:
 2nd Uce President
                                  i am in receipt of your May 3, 2013 letter respond9ng to my letter of Apri129,
tarry Bradshaw                    2013 cancerni~g the first step of the grievance process for several unresolved
3rd Uce President                 issues. It is my belief your letter satisfies the requirement as a step 1 response
Parr9ela F~olmes-Morton           to the formal grievance procedure.
Secretary
                                  !t is obvious the several disputes have not been resolved through the grievance
Kathy Cf'Ne,6                     process. I am requesting the appointment of an "Adjustment Board" as defined
Treasurer                         in step 2 of the grievance process to hear the matter ansi issue a "written
Alysabeth A1e~caracier            advisory Qpinion." The Collective Bargaining Agreement states "the adjustment
Political Action Committee        shall convene within twenty-five {25} working days of the timely request to the
                                  Executive Director, i believe this request is timely and appropriate as the next
Miry S. Tucker                    step in the formal process.
Organizing Committee Chair
Executive Board                   if you disagree or wish #o deny this step of the grievance process, pease notify
 Saul l~Imanz~                    me immediately of your decision so I may take appropriate actions in another
Nancy Atwell                      Venue.
Harry Baker
Kathy Bascon~illo                 Ifi you have any questions concerning the above grievances please contact me
Akbar Bibb                        immediately at s#eghen.cutty a~"'iseiu1021.orq or by phone at {707) 427-7209.
Karen Bishop
Ken Blomberg
Gina C~stillano
Gayle Chadwick
Gregory Correa                   Sincerely,
Sheila D~rveti
Amy Dooha
David Fleming
John Gales
Dolores Dawson Gholar
                                Stephen Cutiy
Dav~dHi htr~y                   Field Representative
         g
Karen Jaubert                   SEIU Lora! 1021                   '
Mdrea Longoria
Jim Nebe!
Michelle Rodrigues
J~cque►ine Sowers
Eric Stern
Ken Tam                         Cc:     Ms. Sonja Rockwall-Jackson, Chief Steward WIB
O)iver Tarap                            Nis. Antoinette Smith, Steward Wi6
Renita Terry
Mynette The~rd                  SJC (cwa 94D4}
Celeste Thompson
David Turner                                                      budget &Finance Committee
                                      Peggy La Rosso Mary Jane Login Mercedes Poggleman Nadeen Roach Dann Solomon Michael Tong
Denis Villanueva
                                   2340 Boynton Avenue, Sui[e 20d    Fairfield, CA 94533    707-422-9464 •Fax 707-427-5107
     ~~                                       Senrite Employees ~niernatianal Union CtW, CLC ~ wv~+wseiu 102 i org
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                                                    1~l       ORC INVESTMENT                    D
                                                                  OFSOLANO COUNTY

                    May 15, 2013

                    Mr. Stephen Gutty, Field Representative
                    Service Employees International Union, Loca11021                                                         -"
                    2300 Bo}nrton Avenue, Suite 200                                                                         '` ~# r ~y
                    Fairfield, CA 94533                                                                                                   '~ :,`

                    SUBJECT:          1) Iteject~o~a of'Ymur 1VI~y ~, X013 egne~t #o Join In on VioA~tic~t►s of
                                      the Curre~a8 C~llect~ve ~rgainin~ Agreement; and                                              ,;,
                                      2~ N~t~ce liven: ]Plan to Reject X11 Future ~ucl► Requests

                Dear IVLr. Gutty,
                Iam once mare in receipt of a letter from you (dated 1Viay 8, 2013 —attached) which: a)
                proposes violations to the terms of our curreni Collective Bargaining Agreement (CBA);
                and b) asks ine to be a co-conspirator in such a violation. This is to state unequivooaliy
                thatIwill not be a paxty to such viola#ions.

                    On a number of occasions now you have sent me correspondence asking for me
                    personally to get involved in the "informal Resolution Prooess°'step of the grievance
                    procedures. Further you have laid aut an expectation that both you and an agency union
                    steward would likewise be involved in the Informal Resfllution process.

                    As you are fully aware the freely negoriated, agreed-to, and sigi3ed-off-upon language of
                    the CBA prescribes what is involved in the Informal Process step for the grievance
                    proceduxes. There is simply no role for you, a steward, or me in that Informal step.

                    It must be noted that you personally agreed to the language of this current CBA, as
                    attested to with your signature of January 18, 2t?13. And yet now you refuse to live with
                    what you contractually botuid yourself to.

                    It will continue to be my practice to fully comply with alt provisions of the CBA. All
                    future requests from you forme to violate the CBA, on any basis, will be summarily
                    rejeoted fQr that cited reason.

                    ~i~~t<~ely>
                          ..~_,a.r,, ~~, _ .~
                    ~t~il~~rl 1,. ~~lr~~ ti~
                    President

                    Attachment

                    cc      Cheryl Joseph
                            Randall Barnum

                                  i~ Norttf~cou~rOffice                                        Gl south-courtly Office
                                     324 Cart~us lane                                              1440 Mari Strut
                                     Faitheld, CA 94534                                            VaUeja~ CA 94590
                           (707) 86d-3370 FAX (70i) ~4-3386                             (707} 849-3604 FAX (707j 649.3619



L   i   n   k   i     n    g         E    m     p     1   o   y   e   r   s         w   i   i       h      E     m     p    i   o     y     e      e   s
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    f                           -~;
    ~ ~~           r µ
                    ^^      F


        t.~ ~ _~     _ _~_ -    _            May 23, 2073

  ~_ ___ ~ __ ~                             Mr. Robert Bloom
   :-tE~[~~:;'aF''~te~[ ~~'                 Executive Director
                                            Workforce investment Board
   Sin Yee Poon                             320 Campus Lane
   Chief Elected Offrcer                    Fairteld, CA 94534
   Raxanne S~nc~ez
   President
                                            Dear Mr. Bloom:
   G~r,~ lirnenea
   ~ st Vice President                      i am in receipf of your May 15~', 2413 letter which i consider it another refusal
  Cra~ors! .lohrsso~r                       by your agency to process outstanding grievances as required by the
  Znd Viee President                        Collective Bargaining Agreement. it is my belief your letter satisfies the
                                            requirement as a step 2 response to the formal grievance procedure on aN
  i,~rry ~rac~sh~~                          outstandingQriev~nces your agency now has in its possession.
  3rd ice President
  P~r~e~a ~alrv~~s-~ta~tor~               am requesting Step 3 Arbitration for all grievances. The Collective Bargaining
  Secre~ry                              Agreement states "Upon receipt of a written request far arbitration of a
                                        grievance under this procedure, the Employer and the Union sha0 attempt to
  1t~t~zy Q'~teit                       select a mutually acceptable impartial arbitrator. In the event that the parties
  Treasurer                             cannot agree on an impartial arbitrator within fifteen (15} days after receipt of
  ~~~~~~~~ ~e~~~~~~,                    the written request, either party may request the Amerit~n Arbitration
  Political Action Committee            Association to submit a Lis# of five (5} representative arbitrators.° I am available
                                        on the following da#es and times to pink an impartial arbitrator: May 24, 2013 9
 ~~~ ~~ T~~~~~'                         am; May 28, 2013 9 am or 1 pm; May 29, 2013 9 am or f pm; May 30, 2U13 9
 Organizing Committee Chair             am or 1 pm; May 31, 2073 9 am or 1 pm; June 3, 2013 9 am or 1 pm; June 4,
 Ex~~ea~Fve o~r~i                       2013 9 am ar 1 pm; June 5, 2013 9 am or 1 pm; June 7, 2013 9 am or 1 pm.
 Saul Alm~nza                           Please let me know which date is convenient to pick an impartial arbitrator.
 Nancy Atwe(I
 Harry Baker                            It' You disa9ree ar wish to denY this steP of the 9~nevance Process, please noti~Y
 ~~,y ~S~an~;~J~                        me immediately of your decision so I may take appropriate actions in another
 ~cb~r Bibb                             venue.
 Karen Bishop
 xen $iomberg                           If you have any questions concerning the above grievances please contact me
 ~~na casriiiana                        immediately at stephen.cuttvCa7seiu1021.ara or by phone at (7~7) 427-72Q9.
Gayle Chadwick
Gregory Correa
Sheila Darvelf
Amy Doaha
David Flertting
                                       Sincerely,
John Gales
Dolores Dawson Gholar
Gladys M. Gray
~av;d t~;ght
Karen Joubert                         Stephen Cutty
Andrea ~ongorla                       Field Representative
Jim tvebef                            SEIU Local 1021
 Michelle Rodrigues
.lacqueline Sowers
Eric stern                            Cc:       Ms. Sonja Rockwall-Jackson, Chief Steward WIB
Ken Tam                                         Ms. Antoinette Smith, Steward W16
Oliver Tarp
Renita Terry                          SJC
Lynette Theard
Celeste Thompson
David Turner                                                               Sudget &Finance Commfittee
Denis Ultanueva                               Peggy la Rosso lvkiry Jane Logan Mercedes Riggiemsn N~cleen Roath Dann Solomon
                                                                                                                             Michael Tong
                                        230 Boynton Avenue, Suite 2~0     Fairfield, CR 94533   707-422-9464 ~ Fax 707-422-5107
~' ~~`~                                           Service Employees international Union CtW. CSC e wv~nv seiu 1X21 org
